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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERI\I DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

PRECISION TACTICAL                          ) Case No.: 3 :23-CY -077 52
ARMS COMPANY,LLC,                           )
                                            )
              Petitioner,                   )
                                            )
       v                                    )
                                            )
AARON GERBER,                               )
In his Official Capacity as Director of     )
Industry Operations for the Tampa Field     )     PETITION FOR
Division of the Bureau of Alcohol, Tobacco, )     JUDICIAL REVIEW
Firearms & Explosives                       )
                                            )
              Respondent.                   )


      Petitioner, Precision Tactical Arms Company files its Petition     for Judicial
Review of Respondent's March 7, 2023 Final Notice of Denial of Application,

Revocation Suspension andlor Fine of Firearms License, and sets forth as follows:

                                  INTRODUCTION

      1.      This is a petition for de novo judicial review of the revocation of   a


federal firearms license   ("FFL"). This action is being timely   brought pursuant to

18 U.S.C. $   923(0(3) and its related regulations

                                      PARTIES

      2.      Plaintiff, Precision Tactical Arms Company, LLC ("PTAC") is           a


Florida limited liability company, active and in good standing, with its principal
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place of business located at 5155 South Ferdon Blvd., Unit A, Crestview, Florida

32539. PTAC maintains a Type 7 FFL number 1-59-091-07-58-26145 which

allows it to act as a manufacturer and dealer of firearms.

       -1    Respondent, Aaron     R. Gerber ("DIO Gerber") is the Director of

Industry Operations for the Tampa Field Division of the Bureau of Alcohol,

Tobacco, Firearms   & Explosives ("ATF"), which is the ATF Field Division        that

regulates the Petitioner's business premises and is sued in his official capacity as

Director of Industry Operations for the Tampa Field Division of the ATF. DIO

Gerber is presently enforcing the laws, customs, practices, and polices that form the

basis of this action and issued the revocation of PTAC's FFL, which is at issue in

this case.

                    JURISDICTION AND VENUE

       4.    This Court has jurisdiction over this action pursuant to 18 U.S.C.   $


e23(f)(3).

       5.    Venue for this action is properly in this District pursuant to 18 U.S.C.

$ 923(0(3), as PTAC's principal place of business is located in Crestview, Florida.

              REGULATORY BACKGROUND FACTS

       6.    Pursuant to 18 U.S.C. $ 923(a), an FFL is required for any person who

wishes to engage in the business of dealing firearms

       7     To receive an FFL, a person must submit an Application for a Federal



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Firearms License (ATF Form 7) to the        ATF. 27 CFR    $$ 478.41;478.44

       8        ATF will issue an FFL if all licensing requirements are met.27 CFR    $


478.47.

       9.       As a requirement of maintaining an FFL, licensees are required to

follow numerous laws and regulations including, but not limited to, the Gun Control

Act ("GCA"), its implementing regulations 27 CFR $ 478 et seq., and the National

Firearms Act ("NFA").

       10.      Key regulatory requirements are that licensees must maintain   a record


of   acquisitions and dispositions     of   firearms   in a required format called   arr

Acquisition and Disposition Record ("A&D Record") (27 CFR $ 478.I25) and must

complete ATF Forms 4473 when transferring firearm(s) to a non-licensee (27 CFR

5 478.124)

       11.     ATF conducts regular compliance inspections of licensees to evaluate

compliance with the GCA and NFA and their related regulations. 27 CFR                 $


478.23(b)(2).

       12.     On June 23, 202I, the Biden-Harris Administration announced a

"Comprehensive Strategy to Prevent and Respond to Gun Crime and Ensure Public

Safety." A copy is attached hereto as Exhibit A.

       13.     As part of the new Policy, there was to be"zero tolerance for rogue gun

dealers that   willfully violate the law" ("Zero Tolerance Policy"). Ex. A.



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       14.      On January 28,2022, in response to the Zero Tolerance Policy, the

United States Department of Justice, through the Bureau of Alcohol, Tobacco,

Firearms and Explosives issued Order ATF         O   5370.1E (the   "Order")l. A copy is

attached hereto as Exhibit B.

       15.      Pursuant   to the Order, "revocation is the    assumed action, unless

extraordinary circumstances exist" when a licensee fails to contact the National

Instant Criminal Background Check System ("NICS") for a background check prior

to transferring a firearm to a non-licensee." Ex. B.

       16.      The Order unlawfully presumes revocation based solely on whether a

violation occurred and completely and improperly ignores whether the violation

was, in fact,   willful.   Essentially, ATF has shifted the burden of proof from itself

(i.e., to show "willfulness") to licensees (i.e., to show o'non-willfulness").

       17.      Under the Zero Tolerance Policy, FFL revocations have increased

dramatically despite no changes to the GCA, NFA or their implementing regulations.

       18.      Against this regulatory background, the ATF has proceeded to revoke

PTAC's FFL.




1
 Keene, H. (2022) Internal ATF docs show 'zero tolerance' guidelines        for shutting
down gun stores, FoxNews. Available at:
https://www.foxnews.com/politics/internal-atf-docs-show-zero-tolerance-
guidelines-shutting-down-gun- stores (Acces sed : April 5, 2023).



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                               CASE SPECIFIC FACTS

       19.     PTAC was formed in 2013 and is owned 50%by Ward Lewis and 50Yo

by Jay Carter.

       20.     PTAC obtained an FFL in 2013 and sells firearms and firearm related

accessorles.

      2r.      PTAC currently maintains Type 7 FFL number 1-59-091-07-5E-26145,

which allows it to operate as a manufacturer and dealer of firearms

      22.      PTAC is also a Special Occupational Taxpayer ("SOT"), which

authorizes   it to sell firearms regulated by the NFA (i.e., silencers,     short-barreled

rifles, machine guns, etc.).

       23.     PTAC has five full-time employees and three part-time employees who

rely on the income from the business to support their families

      24.      PTAC was first audited in20l8, and ATF issued      a   Report of Violations

documenting 17 categories of violations and over 4000 total instances of violations.

      25.      ATF conducted   a   warning conference as a result of the audit.

      26.      Following the 2018 audit, at the recommendation of ATF, PTAC

implemented compliance software to improve its compliance

      27.      PTAC also forced its store manager to resign and focused its efforts on

improved compliance.

      28.      PTAC was audited again in 2019, and ATF issued a Report of



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Violations documenting 13 categories of violations and327 instances of violations,

a dramat\c improvement from the 2078 audit.

        29.   ATF conducted another warning conference as a result of the audit.

        30.   ATF began   a   third audit of PTAC on September 14,2021.

        3t    Industry Operation Investigator Thomas McCarthy led the audit fbr

ATF.

        32    On November 3, 2021, ATF issued a Report of Violations based on the

findings of the audit. A copy is attached as Exhibit C.

        33.   Even though PTAC's sales volume had nearly quadrupled from the

2018 audit, the instances of violations from the 201 8 audit to the 2021 dropped over

92%.

        34    This improvement was no accident, as PTAC invested a great deal of

time, energy, and capital into improving compliance.

        35.   On or about September 1,2027, PTAC promoted a new store manager

        36.   In November 202I, PTAC hired a compliance manager whose sole

focus is ATF compliance.

        37    In January 2021, PTAC hired an inventory manager to manage the

firearm inventory and conduct audits to identiflr effors

        38. After the 2019 audit, PTAC implemented a standard operating
procedure    to implement regular audits and inventories of its firearms and ATF



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required records.

       39.     Soon after   the202l audit, this standard operating procedure was further

revised and updated to address issues identified during the 2021 audit.

       40.     Soon after the 2021audit, PTAC implemented formal training policies

to improve compliance

       41.     Despite all of PTAC's compliance focused efforts, all of which show

that the licensee is willing to do what is necessary to comply with applicable law and

regulations, on August 4,2022, DIO Gerber issued a Notice to Revoke or Suspend

License andlor Impose a Civil Fine ("Notice") notiffing the Licensee of ATF's

intent to revoke its FFL based on the results of the 202I audit.

      42       The Notice was based on five categories of violations detailed in five

numbered paragraphs of the Notice.

       43.     PTAC requested a hearing to review the Notice pursuant to 27 CFR       $


478.74.

       44.     DIO Gerber held    a hearing on the   Notice on January 26,2023

      45       At the hearing, the ATF 'dropped' the allegations contained in       the

second paragraph of the Notice.

       46.     Mr. Ward Lewis, owner and Responsible Person on the FFL, testified

that all ofthe violations were the result of accidental and inadvertent human mistakes

rather than   willful violations of the law.



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      47.    DIO Gerber issued   a   Final Notice of Denial of Application, Revocation

Suspension and/or Fine     of   Firearms License ("Final Notice") which revoked

PTAC's FFL in just 15 days from receipt based on paragraphs 1,3,4, and 5 of the

Notice.

      48.    At the time the Final Notice was received, PTAC had nearly           1000

firearms in inventory and approximately 371 NFA firearms in inventory

      49.    15 days was insufficient to permit PTAC to prepare an appeal or

liquidate its inventory, including NFA firearms, which require the submission of

forms that ATF must approve, often taking more than nine months.

      50.    On March 15,2023, PTAC through counsel, asked DIO Gerber to stay

the revocation until May 9,2023 (the same day the 60-day appeal window expired),

giving PTAC an opportunity to request an unconditional stay pending the outcome

of this Petition. A copy of the email is attached as Exhibit D.

      51.    On March 20,2023, DIO Gerber granted, via email, a60-day stay upon

the condition that PTAC not acquire any additional firearms unless'oordered prior to

the issuance of the Final Notice". A copy of the email is attached as Exhibit E

      52.    However, the Final Notice was issued on March 7, 2023, which was

three days before PTAC even received the Final Notice as Exhibit F.

      53.    Prior to receiving the Final Notice and while operating under the 15-

day period before the revocation was effective, PTAC continued to operate which




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included acquiring and ordering firearms (all of which it was authorized to do so

long as it held its FFL).

       54.      PTAC informed the ATF that it would comply with the conditions of

the limited 60-day stay and cease acquiring new firearms not ordered prior to the

granting of the 60-day stay, explaining that it had ordered and acquired after March

7, 2023 as it was fully authorized to do under applicable law and regulations. A

copy of the email is attached as Exhibit G.

       55. ATF Division Counsel Amy Freyermuth                  requested additional

information regarding the number of firearms the licensee acquired and ordered after

May   1Oth,   and PTAC informed her that it had acquired eleven total firearms and two

additional were ordered at the request of customers but not yet received. A copy of

these communications are attached as Exhibit H.

       56.      However, on March2I,2023, without cause and without specifuing a

reason,   DIO Gerber arbitrarily retracted the 60-day stay and issued a 30-day stay

(via email), which was prejudicial to PTAC's ability to consider its options and to

prepare an appeal to this Court within its 60-day statutory deadline, as well       as


causing irreparable harm to its ability to operate without disruption while exercising

its legal right to seek judicial review. A copy of DIO Gerber's email is attached   as


Exhibit I.




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                          COUNT lz 27 CFR 478.102(c)

      57.   Paragraphs 1-56 are incorporated as   if restated in full herein.

      58.   The first numbered paragraph of the Notice, which coffesponds to

violation category 12 from the 202I ROV, provides that PTAC violated 27 CFR        $


478.102(c) by transferring a firearm after the NICS background check expired.

      59.    27 CFP* $ 478.102(c) sets forth that aNICS background check is only

valid for thirty (30) days, and that in the event more than thirty (30) days have

passed, a licensee must initiate a new NICS check.

      60.   In one instance, PTAC transferred a firearm after the NICS background

check approval expired.

      61.   Specifically, PTAC ran a NICS background check on a customer on

January 23,2021, and it was approved on the same day.

      62.   The customer came to the store to pick up the firearm within thirty (30)

days, but at the last minute he decided to have PTAC add a custom optic to the

firearm

      63.   The customer then came to the store on March 15,2023 to pick up the

firearm and PTAC transferred the firearm without conducting a new NICS check.

      64.   PTAC did not commit this violation willfully.

      65    This violation occurred when despite training and safeguards,        an

employee mistakenly transferred a firearm and did not catch that the NICS approval




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was expired.

      66       PTAC had compliance software, which should not have allowed              a


transfer   if a NICS background check approval was expired.

      67.      Upon discovering the violation, PTAC contacted Luke Coldiron, the

developer of the software, who confirmed that the software should have prevented

he transfer. However,    Mr. Coldiron determined there was   a   glitch in the software's

code that stopped the software from working as intended.

      68.      Mr. Coldiron subsequently issued a patch to fix the issue. PTAC

presented an affidavit detailing   Mr. Coldiron's version of events at the revocation

hearing. A copy is attached as Exhibit    J.


       69.     Director Gerber wrongfully found that this violation showed "disregard

of or plain indifference to the GCA" sufficient to constitute willfulness.

       70.     However, PTAC had software, training, and procedures in place all

designed to prevent the    error. Thus, PTAC was not showing disregard of or plain

indifference to the law, but rather the opposite.

       71.     Additionally, this elror occurred one time over the audit period, which

included the transfer of over 2000 firearms (an error rate of less than .05%). This is

further evidence that the license was not showing disregard or plain indifference to

the law.

      72.      Therefore, this violation was not willful.




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              COUNT 2z 27 CFR         SS 478.121(c),   478.123,478.128(c)

       73.    Paragraphs 1-56 are incorporated as if restated in full herein.

       74.    The third and fourth numbered paragraphs of the Notice, which

partially coffespond to violation categories 5 and 6 from the 202I ROV, state that

PTAC violated 27 CFR $$ 478.121(c),478.123,478.128(c) by entering an incorrect

address for the transferee in its   A&D Record in2l     instances.

       75.    When transferring a firearm to a non-licensee, a licensee is required to

enterthe address of the transferee in its A&D Record (27 CFR $ 478.123), and a

licensee cannot enter false information in its   A&D Record (27 CFR $$ 478.l2l(c),

a78.128(c))

       76.    In   2l   instances PTAC entered its own address for the address of the

transferee.

       77     When a licensee accepts a firearm for gunsmithing work such repair,

the licensee is not required to enter the firearm in its A&D Record         if it will be
returned to the person from whom        it was received on the same day. 27 CFR $$

47 8.123 (a) 47   8.r25 (e).

       78.    However, if the firearm is not returned to the person from whom it was

received on the same day that the licensee took possession of the ftrearm, then the

licensee must enter the firearm as an acquisition in its      A&D Record. 27 CFR $$

478.123(a) 478.r25(e)




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      79. In 2l       instances, customers that were meant    to have their firearms

retumed the same day did not pick up their firearms before the close of business.

Thus, PTAC was required to enter the firearms as acquisitions in its A&D Record.

      80.       Unfortunately, PTAC did not have the owner's addresses because they

did not anticipate being required to make an entry in the A&D Record.

      81.       PTAC was forced to enter its own address into the A&D Record as its

electronic compliance software would not allow the transaction to save with missing

information.

      92.       PTAC was faced with the choice of either not recording an acquisition

in its A&D Record as required by law or to enter the incorrect address information

in its A&D Record for correction at alater date

      83.       PTAC believed that making the A&D entry with incorrect address

information was preferable to not making the entry at aII.

      84.       The information was carried over when the firearms were disposed

back to the owners

      85.       Prior to the audit, PTAC obtained aIl 27 customers addresses and

corrected the   A&D Record

      86.       However, during the audit PTAC mistakenly provided IOI McCarthy

with the uncorrected version of the A&D Record.

      87   .    IOI McC arthy proceeded to audit the uncorrected version of the A&D



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Record

        88    Other than prior A&D Record violations in different circumstances,

DIO Gerber cited no evidence to show these violations were willful.

        89. The violations were the result of           inadvertent and unforeseen

circumstances which have now been corrected

        90.   PTAC has implemented a policy to always collect all information

needed to make an entry in the   A&D Record before taking possession of a firearm,

even   if the firearm is meant to be returned to the owner on the same day.

        91.   Therefore, these violations were not willful.

                         COUNT 3z 27 CFR $ 478.124(cX4)

        92.   Paragraphs 1-56 are incorporated as if restated in full herein.

        93. The fifth numbered paragraph of the Notice, which partially
coffesponds to violation category 7 from the 202I ROV, states that PTAC violated

27 CFR g 47S. na@)@) by failing to properly identifu firearms being transferred on

ATF Form 4473s.

        94.   27 CFP. $ 478.12a@)@), requires a licensee to properly identifu the

firearm being transferred on ATF Form 4473 by including the including model

name, manufacturer, importer    (if any), type, and serial number.

        95. ln 66 instances PTAC recorded an incorrect manufacturer,            importer,

model, or type of firearm.




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        96.     Importantly, PTAC correctly recorded all serial numbers.

        91      IOI McCarthy testified that even with the mistakes, all firearms would

still be traceable.

        98.     PTAC does not contest that these violations occurred, but they were

will not willful.

        99.     When an FFL takes a completed firearm and manufactures         it   into

another type of firearm) for example from a receiver into a rifle, the FFL must ensure

the firearm type is properly reflected on ATF 4473 when it is transferred.

        100. Many of the violations   occurred when PTAC manufactured firearms by

converting them from one type to another and failed to properly update the new

firearm information

        101     The Final Notice provided no evidence to justifu its finding of

willfulness except that these were repeat violations.

        102. Tlre mere facl that violations were repeated is not sufficient to

demonstrate willfulness. Jim's Pawn Shop, Inc. v. Bowers,2008 U.S. Dist. LEXIS

97   t99,124.

        103     Prior to the 2021audit, PTAC implemented many changes in an effort

to comply with all ATF laws and regulations.

        t04. PTAC      employees made inadvertent human errors which have been

corrected and new policies and employees are now           in place to prevent such


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violations in the future.

       105. Therefore,      the violations were not   willful.

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court:

       1.    Issue an immediate temp orary restraining order and injunction staying

the Final Notice until this case is concluded;

       2.    Accept and review the complete record of proceedings related to the

revocation of PTAC's FFL;

       3.    Allow discovery and supplementing of the factual record and legal

arguments by Petitioner prior to conducting de novo review;

       4.     Conduct a de novo review and hearing on the underlying facts and DIO

Gerber's decision to revoke PTAC's FFL;

       5.     Conclude DIO Gerber erred, did not have adequate grounds, and, thus,

was unauthorizedto revoke PTAC's FFL;

       6.     Order the DIO to withdraw the Final Notice; and

       7.     Award such other relief, including costs and attorneys' fees, as this

Court deems appropriate.




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                   Respectfully Submitted by:


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                  /s/ Derek A. DeBrosse
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                  Qtro hac vice to be submitted)
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                  EXHIBIT A
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Fact Sheet: Biden-Harris Administration Announces Comprehensive St...nd Respond to Gun Crime and Ensure Public Safety I The White   House   415123, 3:15 PM




                                                                    JUNE 23,2021




                                                     Fact Sheet:
                                            Biden-Harris
                                           Administration
                                             Announces
                                  Comprehensive
                                Strategy to Prevent
                                and Respond to Gun
                                 Crime and Ensure
                                   Public Safety
                                            President Biden believes that the surge
                                            in gun violence that has affected
                                            communities across the country over
                                            the last year and a half is unacceptable,
                                            and his Administration is moving


https://www.whitehouse.gov/briefing-room/statements-releasesl212llO..,a|egy-to-prevent-and-respond-to-gun-crime-and-ensure-public-safety/ Page      1   of 33
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                                            decisively to act with               a   whole-of-
                                            government approach                   as   we enter the
                                            summer months when cities typically
                                            experience a spike in violence.


                                            Today, the Biden-Harris Administration
                                            is announcing a comprehensive strategy
                                           to combat gun violence and other
                                           violent crime. This strategy implements
                                           preventative measures that are proven
                                            to reduce violent crime, and attacks the
                                            root causes - including by addressing
                                            the flow of fi.rearms used to commit
                                            crlmes.


                                            This strategy will use the Rescue Plan's
                                            historic funding levels and clear
                                            guidance to help state, local, territorial,
                                            and tribal governments get the money
                                            they need to put more police officers on
                                            the beat      - with the resources, training,
                                            and accountability they need to engage
                                            in effective community policing - in
                                            addition to supporting proven
                                            Community Violence Intervention
                                            programs, summer employment
                                            opportunities, and other investments
                                            that we know will reduce crime and
                                            make our neighborhoods safer.



https://www.whitehouse.gov/briefing-room/statements-releasesl2O2llO...ategy-to-prevent-and-respond-to-gun-crime-and-ensure-public-safety/ Page 2 of 33
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Fact Sheet: Biden-Harris Administration Announces Comprehensive St...nd Respond to Gun Crime and Ensure Public Safety I The White   House   4/5/23, 3:15 P[/



                                            The strategy will also address the direct
                                           link between gun violence and the rise
                                           in violent crime by taking immediate
                                           steps to keep guns out of the wrong
                                           hands, including by strengthening
                                           ATF's efforts to stem the flow of
                                           firearms used in crimes, and by
                                           launching multijurisdictional firearms
                                           trafficking strike forces to stop illegal
                                            gun trafficking across state lines.


                                            C   ombined, the Administration's
                                            comprehensive strategy will:

                                            o    Stem the flow of firearms used to
                                                commit violence, including by
                                                holding rogue firearms dealers
                                                accountable for violating federal
                                                laws;

                                            .   Support local law enforcement
                                                with federal tools and resources to
                                                help address summer violent
                                                crime;

                                            o Invest in evidence-based
                                                community violence interventions;

                                            .   Expanding summer programming,
                                                employment opportunities, and
                                                other services and supports for
                                                teenagers and young adults; and

https://www.whitehouse.gov/briefing-room/statements-releasesl2}2llO...ategy-to-prevent-and-respond-to-gun-crime-and-ensure-public-safety/     Page 3 of 33
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Fact Sheet: Biden-Harris Administration Announces Comprehensive St...nd Respond to Gun Crime and Ensure Public Safety lThe White   House   415123,3:15PM



                                            .   Help formerly incarcerated
                                                individuals successfully reenter
                                                their communities.

                                           Now is the time to act. With the
                                           secondary consequences of the
                                           pandemic and the proliferation of
                                           illegal guns over the same period, we
                                           have seen increased violence over the
                                           past year and a half. Homicides rose
                                           3oyo, and gun assaults rose 87o                     in large
                                           cities in2O2O. The number
                                           of homicides in the first quarter of
                                           2D2lwas         24Yo    higher than the number
                                           of homicides in the first quarter of
                                           2o2o, and +g%, higher than in the first
                                           quarter of zotg. Black and brown
                                           Americans are disproportionately
                                           harmed by the direct and indirect
                                           consequences of gun violence.


                                           As the President has repeatedly said, we
                                           are experiencing an epidemic of gun
                                           violence in this country. This violence
                                           robs us of loved ones and causes life-
                                           altering physical injuries. It causes
                                           lasting trauma, with cascading
                                           consequences for children, families,
                                           and communities.               It steals our freedom,
                                           our sense of belonging and security, and


https://www.whitehouse.gov/briefing-room/statements-releasesl2O2llO...aIegy-to-prevent-and-respond-io-gun-crime-and-ensure-public-safety/ Page 4 of 33
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                                            has ripple effects for our economy.


                                            The President continues to call on
                                            Congress to take action to end this gun
                                           violence epidemic. But he knows we
                                            cannot afford to wait a single day while
                                            lives are being taken, which is why he
                                           has already announced a set of                        initial
                                            actions to prevent gun violence                       -
                                            including toughening regulations on
                                           ghost guns and moving historically
                                            quickly to nominate                a   permanent ATF
                                           Director - in addition to the steps
                                           announced today as part of this
                                           strategy.


                                            Stem the Flow of Firearms Used to
                                           Commit Violence


                                           The Biden Administration is taking
                                           action to help stem the flow of guns into
                                           the hands of those responsible for
                                           violence by:


                                           Establishing zero tolerance for rogue
                                           gun dealers that willfully violate the
                                           law. Gun dealers across the country are
                                           regulated by federal law that is
                                           enforced by the Bureau of Alcohol,
                                           Tobacco, Firearms and Explosives


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                                            (ATF). Dealers that fail to comply with
                                            their obligations under the law create
                                            risks for all of us. Today, the Justice
                                            Department is announcing a new policy
                                            to underscore zero tolerance for willful
                                            violations of the law by federally
                                            licensed firearms dealers that put
                                            public safety at risk. Absent
                                            extraordinary circumstances that
                                            would need to be justified to the
                                            Director, ATF will seek to revoke the
                                            licenses of dealers the first time that
                                            they violate federal law by willfully 1)
                                            transferring a firearm to a prohibited
                                            person, 2) failingto run a required
                                            background check, 3) falsif ing records,
                                            such as a firearms transaction form, 4)
                                            failing to respond to an ATF tracing
                                            request, or 5) refusing to permit ATF to
                                            conduct an inspection in violation of
                                            the law.


                                            In addition, ATF will notify every
                                            firearms dealer whose license is
                                            revoked about how to lawfully transfer
                                            any remaining inventory as well as the
                                            potential criminal consequences of
                                            continuing to engage in the business of
                                            buying and selling guns without a
                                            license. The prior Administration


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                                            stopped this important notification
                                            practice that helps deter future
                                            unlawful activity.


                                            Maximizing the efficacy of ATF
                                            resources to crack down on rogue gun
                                            dealers violating our laws. The
                                            Administration continues to call on
                                            Congress to increase funding for ATF to
                                            hire additional personnel necessary to
                                            increase the number of inspections and
                                            enforcement actions taken against
                                            dealers in violation of federal law. The
                                            President's FY 22btdget request would
                                            allow ATF to add inspectors in every
                                            field division around the country. In the
                                            meantime, ATF is announcing the
                                            following actions to increase the
                                            efficacy of its existing, limited
                                            resources:

                                            o Better coordination with state and
                                              local officials with on-the-ground
                                                knowledge of which dealers are
                                                supplying firearms that show up at
                                                crime scenes. ATF has designated a
                                                specific point of contact in every field
                                                division for mayors, police chiefs, or
                                                other local leaders to report
                                                concerns about particular dealers'


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                                                 compliance with the law. This
                                                 information may provide valuable
                                                 leads for ATF investigations and
                                                 serve as a source of information that
                                                 helps focus inspection resources on
                                                 the places that need them most.


                                             .   Formalizingthe use of data-driven
                                                 prioritization of inspection
                                                 resources. Starting today, ATF will
                                                 make clear to investigators in every
                                                 field division-through trainings and
                                                 guid ance-that when identifiiing
                                                 inspection priorities they must
                                                 consider a number of factors related
                                                 to public safety, including the extent
                                                 to which firearms sold by the dealer
                                                 are later used in criminal activity; the
                                                 time between the sale of a firearm
                                                 and its use in a crime; the number                          of
                                                 recoveries associated with shootings,
                                                 domestic violence, and other violent
                                                 offenses; and additional information
                                                 developed by local law enforcement
                                                 partners. This data-driven
                                                 prioritization will allow ATF to
                                                 target its limited inspection
                                                 resources to ensure compliance with
                                                 federal law.


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                                            .   Equipping states that have their
                                                own gun dealer licensing systems
                                                with data from ATF
                                                inspections. Sixteen states license or
                                                regulate firearms dealers themselves,
                                                and their inspection systems can be
                                                force multipliers in protecting public
                                                safety. Starting next month, ATF will
                                                begin sharing inspection data with
                                                these states so that officials there can
                                                determine whether to take their own
                                                steps to shut down dealers that fail to
                                                live up to their obligations under
                                                state law.


                                           Launching multijurisdictional
                                           firearms trafficking strike forces. The
                                            Biden-Harris Administration
                                            recognizes that the federal government
                                                                     in
                                            has a critical role to play
                                            coordinating multijurisdictional
                                            enforcement efforts to stop the illegal
                                           flow of firearms across state lines.
                                           Yesterday, the Justice Department
                                            announced that it is launching five new
                                            law enforcement strike forces focused
                                            on addressing significant firearms
                                           trafficking corridors that have diverted
                                           guns to New York, Chicago, Los
                                           Angeles, the Bay Area, and Washington,


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                                           D.C. These strike forces, which                       will
                                           launch within the next 3o days, will be
                                           led by designated united States
                                           Attorneys who will coordinate not only
                                           with ATF but also with state and local
                                           law enforcement partners in places
                                           where firearms originate and where
                                           they are used to commit crimes. The
                                           strike forces will share information and
                                           otherwise coordinate their efforts
                                           across districts where firearms
                                           trafficking schemes cross state or
                                           jurisdictional boundaries. As part of
                                           this effort, ATF is issuing a best
                                           practices guide for law enforcement
                                           agencies that          will include specific
                                           questions that officers should ask
                                           unlawful firearm possessors to help
                                           identifii sources of trafficked crime
                                           guns.


                                           Providing the public with additional
                                           data to promote transparency and
                                           accountability in enforcement of
                                           federally licensed firearms dealer
                                           policies. ATF will publicly post more
                                           detailed information about inspection
                                           findings and enforcement actions. For
                                           the first time, this publicly posted data
                                           will be disaggregated to show the

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                                            number of inspections conducted in
                                            each field division, the number                       of
                                            inspections that identified violations,
                                            and actions taken by ATF to implement
                                            the willful-violation policy discussed
                                            above (including any application of the
                                            extraordinary circumstances
                                            exception). This data will promote
                                            transparency and accountability for the
                                            enforcement of our existing gun laws.
                                            Stemming the proliferation of "ghost
                                            guns" and modified firearms. During
                                            the April address in the Rose Garden by
                                            the President and Attorney General, the
                                            Justice Department announced that                             it
                                           was beginning the rulemaking process
                                            to help stop the proliferation of
                                            dangerous firearms that are currently
                                            circumventing our gun laws. The
                                            Justice Department has since issued
                                            two proposed rules to follow through
                                            on this commitment. First, the Justice
                                            Department issued a proposed rule to
                                            help address the proliferation of "ghost
                                            guns," which are homemade firearms
                                            that are increasingly ending up at crime
                                            scenes and often cannot be traced by
                                            law enforcement due to the lack of a
                                            serial number. Second, the Justice
                                            Department issued a proposed rule to

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                                            make clear when a device marketed as a
                                            stabilizing brace effectively turns a
                                            pistol into a short-barreled rifle subject
                                            to the requirements of the National
                                            Firearms Act. Modirying a pistol with
                                            an arm brace can make a firearm more
                                            stable and accurate while still being
                                            concealable.


                                           Convening state legislators and
                                           Attorneys General regarding policy
                                           strategies to hold gun dealers and
                                           manufacturers accountable for their
                                           contributions to the flow of crime
                                           guns. The President continues to call
                                           on Congress to repeal the Protection of
                                           Lawful Commerce in Arms Act
                                           (PLCAA), which gives gun dealers and
                                           manufacturers special immunity from
                                            certain liability for their products. In
                                            the meantime, the White House                          will
                                            convene state legislators and Attorneys
                                            General to discuss strategies for
                                            enacting and employing state liability
                                            laws that can be used to hold dealers
                                            and manufacturers accountable                          for
                                            improper conduct not covered by
                                            PLCAA.


                                            These actions are part of the Biden-


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                                            Harris Administration's comprehensive
                                            strategy to reduce gun violence through
                                            executive action and legislation. For
                                            example, earlier this month the Justice
                                            Department issued model state "red
                                            fl^g:'or "extreme risk protection
                                            order," legislation. Extreme risk
                                            protection order laws allow family
                                            members or law enforcement to
                                            petition for  court order temporarily
                                                                a
                                           barring people in crisis from accessing
                                           firearms if they present a danger to
                                            themselves or others. The President
                                            urges Congress to pass an appropriate
                                            national "red flag" law,                as   well   as

                                            legislation incentivizing states to pass
                                            their own versions of these laws.

                                            The President again strongly urges the
                                            Senate to ban assault weapons and
                                            high-capacity magazines, and pass the
                                            three House-passed, bipartisan pieces
                                            of legislation which would strengthen
                                            our gun background check system.


                                            Provide law enforcement the tools
                                            and resources needed to tackle gun
                                            violence

                                            As part of the Justice


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                                            D   epartment's         C   omprehensive
                                            Strategy for Reducing Violent Crime,
                                            the Justice Department is committed to
                                            supporting law enforcement in local
                                           communities in addressing gun
                                           violence. In preparation for a possible
                                            increase in violence typically seen over
                                            the summer months, where needed and
                                            appropriate, the Justice Department is
                                            providing the following law
                                            enforcement support:

                                            .   The FBI is making available cutting-
                                                edge analytical resources to sttpport
                                                state and local law enforcement
                                                efforts to identifi'the most violent
                                                offenders and most dangerous
                                                criminal or ganizations in
                                                communities. The FBI is also
                                                deploying agents to assist with
                                                enforcement operations targeting
                                                these entities.



                                            .   Where feasible, the ATF is
                                                embedding with local homicide units
                                                and expanding the availability of its
                                                National Integratedallistic       g

                                                Information Network (NrerN)
                                                Correlation Center, which matches
                                                ballistics from crime scenes to other

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                                                ballistic evidence nationwide.


                                            o The DEA is focusing its efforts, in
                                                coordination with state, local and
                                                Tribal law enforcement, to disrupt
                                                the activities of the most violent drug
                                                trafficking gangs and egregious drug-
                                                traffi ckin g organizations operating in
                                                the highest-crime areas.


                                            .   The United States Marshals Service,
                                                in coordination with state and local
                                                authorities, is conducting fugitive
                                                sweeps throughout the country
                                                focused on individuals subject to
                                                state or local warrants for homicide,
                                                aggravated assaultwith a firearm,
                                                aggravated robbery, robbery with a
                                                firearm, rape or aggravated sexual
                                                assault.


                                            Guidance on Using ARP Funds to
                                            Reduce Violence. Today, the Treasury
                                            Department is highlighting that
                                            communities experiencing                       a surge     in
                                            gun violence as a result of the pandemic
                                            may use the American Rescue Plan's
                                            $35o     billion in state and local funding
                                            for purposes such              as:


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                                            o Hiring law enforcement officials -
                                              even above pre-pandemic levels - or
                                                paying overtime where the funds are
                                                directly focused on advancing
                                                community policing strategies in
                                                those communities experiencing an
                                                increase in gun violence associated
                                                with the pandemic.

                                            .   Additional enforcement efforts to
                                                reduce gun violence exacerbated by
                                                the pandemic, including prosecuting
                                                gun traffickers, rogue dealers, and
                                                other parties contributing to the
                                                supply of crime guns,                 as   well   as

                                                c   oll   ab   orative / state/ lo cal
                                                                         fe d er al

                                                efforts to identifir and address gun
                                                trafficking channels.

                                            o Investing in technology                      and
                                                equipment to allow law enforcement
                                                to morc efficiently and effectively
                                                respond to the rise in gun violence
                                                resulting from the pandemic.


                                            In addition, the Treasury Department is
                                            clarifying that any community may use
                                            ARP state and local aid for the above
                                            strategies and any other public safety
                                            programs, up to the level of revenue
                                            loss the       jurisdiction experienced during

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                                            the pandemic. And any community may
                                            use ARP funds to rehire police officers
                                            and other public servants to restore law
                                            enforcement and courts to their pre-
                                            pandemic levels.


                                            Byrne JAG Funds. Applications for the
                                            Justice Department's FY2f $276 million
                                            Byrne Justice Assistance Grant program
                                            are open now. Byrne JAG provides
                                            critical support to State and territory
                                            local, and Tribal governments across a
                                            range of program areas, including crime
                                            prevention and education, law
                                            enforcement, prosecution, indigent
                                            defense, courts, corrections and
                                            community corrections, drug treatment
                                            and enforcement, technology
                                            improvement, crime victim and witness
                                            initiatives, and planning and evaluation.
                                            C   ommunity violence               in   terventi on
                                            programs are eligible uses of the
                                            funding.


                                            In soliciting grant applications for this
                                            program, the Department has
                                            emphasized the importance of
                                            addressing the backlog of cases created
                                            when courts at every level were forced
                                            to cancel or scale back proceedings due

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                                            to COVID-f9. It has made clear that
                                            funds could be used, for example, to
                                            purchase technology that would
                                            facilitate virtual outreach                 and            l



                                            appearances, to enhance case
                                            management systems, to build tools to
                                            support diversion and alternatives to
                                            incarceration as part of the review of
                                            backlogged cases, or to retrofit
                                            courthouses to mitigate risks to staff.


                                            The President is also seeking a $3OO
                                            million increase for the Community
                                            Oriented Policing Services (CoPS)
                                            Hiring program in his recent budget
                                            request. These funds will advance
                                            community policing and give police the
                                            resources they need to keep their
                                            communities safe.


                                            Invest in evidence-based community
                                            violence interventions


                                            Community violence intervention
                                            (CVI) programs have been shown to
                                            reduce violence by as much as 60%".
                                            These programs are effective because
                                            they leverage trusted messengers who
                                            work directly with individuals most
                                            likely to commit gun violence,

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                                            intervene in conflicts, and connect
                                            people to social, health and wellness,
                                            and economic services to reduce the
                                            likelihood of violence as an answer to
                                            conflict.


                                            Last month, the Treasury Department
                                            annollnced that the American Rescue
                                            Plan's $eSo billion in state and local
                                            funding can be used to invest in
                                            evidence-based community violence
                                            interventions. The Department of
                                            Education also released guidance
                                            clarifying that ARP's $I22 billion in K-
                                            D funds can be used for CVI strategies
                                            To date, the Administration has
                                            transferred more than $190 billion of
                                            state and local recovery funds and $81
  Top
                                            billion in education funds, and
                                            additional support is on the way.


                                            Today, the President is announcing that
                                            the Administration will convene and
                                           support a CVI Collaborative of r5
                                           jurisdictions that are committing to use
                                            aportion of their ARP funding or other
                                            public funding to increase investment
                                            in their CVI infrastructure, including to
                                            anticipate and respond to the potential
                                            rise in violence this summer. These


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                                           jurisdictions include:

                                            o Atlanta, GA

                                            o Austin, TX

                                            o Baltimore, MD

                                            o Baton Rouge, LA

                                            .   Chicago,IL

                                            o Detroit, MI

                                            .   King County, WA

                                            r   Los Angeles, CA

                                            o Memphis, TN

                                            o Minneapolis & St. Paul, MN

                                            o Newark, NJ

                                            .   Philadelphia, PA

                                            .   Rapid City, SD

                                            o   St. Louis, MO

                                            .   Washington, DC


                                            Over the next 18 months, the
                                            Administration will convene meetings
                                            with officials from these communities,
                                            facilitate peer-to-peer learning, and
                                            provide technical assistance. This effort

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                                           will support both proven and new
                                           strategies that reduce gun violence and
                                           strengthen community-based
                                           infrastructure to enhance public safety
                                           for children, families, and communities
                                           and to advance equity. A group of
                                           philanthropies that have been leaders
                                           on this issue will support this
                                           collaborative learning network by
                                           deploying CVI experts to provide
                                           training and technical assistance,
                                           identifli best practices, integrate proven
                                           and innovative public-health
                                           approaches, and help local community-
                                           based organizations scale CVI efforts
                                           this summer and beyond. This group
                                            includes:

                                            .   Arnold Ventures

                                            o The California Endowment

                                            .   Annie E. Casey Foundation

                                            o Emerson Collective

                                            .   Ford Foundation

                                            o Heising-Simons Foundation

                                            o Joyce Foundation

                                            o W.K. Kellogg Foundation


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                                            .   Kresge Foundation

                                            o The John           D. and Catherine T.
                                                MacArthur Foundation

                                            o Microsoft Corporation

                                            .   Open Society Foundations

                                            .   Charles and Lynn Schusterman
                                                Family Philanthropies


                                            Domestic Policy Advisor Susan Rice and
                                            Director of Intergovernmental Affairs
                                            Julie Chavez Rodrigue z will convene
                                            the first meeting of the CVI
                                            Collaborative soon. The President is
                                            calling on mayors across the country to
                                            follow the lead of these local officials by
                                            using their ARP funding or other public
                                            funds to launch and strengthen CVI
                                            programs in their communities.


                                            Additionally, the Biden-Harris
                                            Administration will convene the first
                                            CVI Webinar Series event on June 23.
                                            The webinar series will bring together
                                            subject matter experts to discuss
                                            immediate steps communities and local
                                            organizations can take to reduce
                                            violence.



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                                            The Administration is continuing to
                                                               billion investment
                                            seek a historic $5.2
                                            in new grant funding for CVI programs
                                            through the American Jobs Plan and its
                                            FY22 discretionary budget request. The
                                           Administration is also executing on its
                                            annolrnced changes to 26 programs
                                            across five agencies to make federal
                                            dollars and technical assistance
                                            available to CVI practitioners in the
                                            immediate term. For example, this
                                            month the U.S. Department of Housing
                                            and Urban Development (HUD) will
                                           publish guidance encouraging
                                           jurisdictions to use part of their
                                            Community Development Block Grant
                                            funds to support CVI efforts needed to
                                            combat violence as a result of the
                                            coronavirus pandemic. In July and
                                           August, the Department of Education
                                           will publish guidance explaining that
                                            school districts can draw upon the $f .zz
                                           billion in Student Support and
                                           Academic Enrichment grants and $1.26
                                           billion in 21st Century Community
                                            Learning Centers grants to support CVI
                                           programs that serve students. This
                                           funding will supplement American
                                           Rescue Plan funds, providing CVI
                                           programs with multiple potential


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                                            funding streams to expand their work.


                                            Expand summer programmingt
                                            employment opportunities' and other
                                            services and supportsr especially                           for
                                            teenagers and young adults


                                            American Rescue Plan Funds. The
                                            Administration released guidance from
                                            the Department of the Treasury today
                                            and from the Department                      of
                                            Education last week explaining how
                                            two buckets of American'Rescue Plan
                                            funding-$3so billion in state and local
                                            funding and the $L22 billion in school
                                            funding-can be used for a variety of
                                            public safety strategies. Within the
                                            parameters explained in those guidance
                                            documents, State and territory, local,
                                            and Tribal governments can:


                                             .   Hire support personnel such as
                                                 nurses, counselors, and social
                                                 workers;

                                             .   Pay court personnel and operations
                                                 costs to return to pre-pandemic
                                                 operation levels;

                                             .   Provide and expand employment
                                                 services, including summer jobs for

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                                                young people and programs that
                                                provide training and work
                                                experience for formerly incarcerated
                                                persons and other individuals who
                                                live in communities most impacted
                                                by high levels of violence;

                                            .   Provide and expand summer
                                                education and enrichment programs,
                                                including summer camp;

                                            .   Scale up wraparound services-such
                                                as housing,         medical and mental
                                                health care, trauma-informed care,
                                                substance use disorder treatment,
                                                food assistance, and job placement
                                                services-for victims of crime, young
                                                people, formerly incarcerated
                                                persons, and individuals and
                                                households facing economic
                                                insecurity due to the pandemic; and

                                            o Establish or expand full-service
                                                community schools.

                                            The President urges jurisdictions to use
                                            these resources now for strategies to
                                            prevent violence.


                                            Youth Workforce                 D   evelopment
                                            Funds. Young people are
                                            disproportionately likely to be involved

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                                            in gun violence, either as perpetrators
                                            or victims. We also know that Youth
                                            employment programs, including
                                            summer jobs programs, can reduce
                                            their involvement in violence by as
                                            much as 35Yo or 45%". The Biden
                                            Administration is committed to funding
                                            workforce development programs to
                                            keep young people safe and give them a
                                            path to success.


                                            On June 10, the Department of Labor
                                            awarded $89 million through its
                                            YouthBuild program to provide pre-
                                            apprenticeship opportunities for young
                                            people ages 16-24. 68 grantee
                                             organizations will serve more than
                                            5,ooo youth in dozens of cities. The
                                            young people will split their time
                                            between workplace training and the
                                            classroom, where they earn their high
                                            school diploma or equivalency degree
                                            and prepare for postsecondary
                                            opportunities. The grants support
                                            training and employment in in-demand
                                            industries, including construction,
                                            healthcare, information technology,
                                            manufacturing, logistics, and
                                            hospitality. YouthBuild includes a
                                            significant wrap-around support

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                                            system, such as mentoring, trauma-
                                            informed care, follow-up education,
                                            employment, and personal counseling
                                            servtces.


                                            The Department of Labor on June lO
                                            also awarded $20 million through its
                                            Workforce Pathways for Youth program
                                            to expand workforce development
                                            activities that serve youth ages 14'21
                                            during "out of school" time (non-school
                                            hours). Through these grants, four
                                            national grantee organizations will
                                            serve approximately 7,OOO participants
                                            in multiple cities across the country.
                                            The organizations will provide career
                                            exploration services; work readiness
                                            training; career counseling; work
                                            experience (internships, summer and
                                            year-round employment, pre-
                                            apprenticcships, and registered
                                            apprenticeships); mentoring; and
                                            assistance in placing youth in
                                            employment, education, or training.


                                            Help formerly incarcerated
                                            individuals successfully reenter their
                                            communities

                                            Forrherly incarcerated individuals face

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                                            an   uphill climb in landing a job. Many
                                            employers are reluctant to hire them
                                            out of stigma, feaq, or concern that they
                                            lack the skills needed for the job. eut
                                            employment is             a key     to formerlY
                                            incarcerated individuals' successful
                                            reentry into their communities.
                                            Individuals who secure employment
                                            after release have much lower
                                            recidivism rates than those who do not.
                                            Good, stable jobs promote public safety,
                                            That is why the Administration is
                                            taking concrete steps to facilitate
                                            employment and associated services,
                                            such as housing assistance, for people
                                            who are formerly incarcerated.


                                             Investments to help formerlY
                                            incarcerated individuals find quality
                                            jobs. On June 2l,the DePartment of
                                            Labor awarded $85.5 million to help
                                            formerly iucarcerated adults and young
                                            people in28 communities transition out
                                            of the criminal justice system and
                                            connect with quality jobs. This includes
                                            $60 million for Pathway Home projects
                                            that will serve approximately 6,000
                                            adults. By enabling services to begin
                                            while participants are still incarcerated
                                             and continue services post-release, the

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                                            Pathway Home initiative eliminates the
                                            gap between release from incarceration
                                            and enrollment into a reentry program.
                                            Participants are taught job readiness
                                            and job search strategies and receive
                                            apprenticeships and occlrpational
                                            training. The Department also awarded
                                            $25.5 million in Young Adult Reentry
                                            Partnership grants to organizations that
                                            will help provide education and
                                            training services to young adults
                                            between 18-24 who were previously
                                            involved with the justice system or who
                                            left high school before graduation. The
                                            program will serve approximately 3,000
                                            young people, offering accelerated and
                                            work-based learning such as registered
                                            apprenticeships in high-demand
                                            occupations with living wages.
                                            Grantees reduce barriers to labor
                                            market entry by providing career
                                            exploration activities, case
                                            management services, legal and other
                                            supportive services, and both job
                                            preparation and placement. Priority
                                            was given to organizations serving
                                            communities with high rates of poverty
                                            and crime.


                                            Expanding Federal Hiring                       of

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                                            Formerly Incarcerated Persons: The
                                            Office of Personnel Management (OPM)
                                            will evaluate the existence of any
                                            barriers faced by formerly incarcerated
                                            persons in accessing federal
                                            employment and consider whether the
                                            federal government should take further
                                            action as appropriate, including
                                            creating   new "schedule lf'excepted
                                                           a

                                            service hiring authority for formerly
                                            incarcerated persons. This Schedule A
                                            hiring authority would allow federal
                                            agencies to hire qualified individuals
                                            for any job opening through the non-
                                            competitive, excepted service hiring
                                            process. Schedule A appointments are
                                            one:year temporary appointments with
                                            good benefits that can be extended                          for
                                            an additional year. Schedule A positions
                                            equip people with the skills and
                                            experience to become more
                                            competitive in the job market. Schedule
                                            A hiring authority has previously been
                                            created for veterans, people with
                                            disabilities, individuals on work release
                                            from incarceration, and people hired in
                                            direct response to the effects of the
                                            COVID-19 pandemic.


                                            Implementing "ban the box"

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                                            policy. OPM will also publish proposed
                                            regulations to implement the Fair
                                            Chance to Compete for Jobs Act                         of
                                            2Ol9's "ban the box" policy. The Fair
                                            Chance Act prohibits federal employers
                                            and federal contractors in all three
                                           branches of government from inquiring
                                           into arrest and conviction history until
                                           they have made a conditional job offer.


                                           Hiring Second Chance Act Fellow. The
                                           Department of Justice plans to post an
                                            application next month for a formerly
                                            incarcerated individual to work at DOJ
                                            as a Second Chance Act  visiting
                                           fellow. This is a unique opportunity to
                                           draw on the expertise of a formerly
                                           incarcerated person as a policy
                                            advocate, legal or social services
                                           provider, or academic focusing on the
                                           successful reintegration of people
                                           returning home to their communities
                                           after incarceration. The fellow will
                                           develop innovative strategies that build
                                           upon and improve DOJ's investments in
                                           reentry and reintegration.


                                           Leveraging tax credits to incentivize
                                           hiring of formerly incarcerated
                                           individuals. The Department of Labor

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                                           and Department of the Treasury                          will
                                           help employers leverage the Work
                                           opportunity Tax Credit (WOTC),
                                           which includes incentivizes to hire
                                           formerly incarcerated individuals.
                                           Under WOTC, employers can receive
                                           up to a$2,4OO credit against federal
                                           income taxes for hiring a person within
                                           one year of their conviction or release
                                           from prison for a felony offense. The
                                           Departments of Labor and Treasury
                                           will encourage employers to take up
                                           this opportunity to hire formerly
                                           incarcerated individuals. Specifi cally,
                                           within      9O days,       the Departments will
                                           issue guidance, provide technical
                                           assistance to state workforce agencies,
                                           and release materials on ways
                                           employers can leverage this tax credit
                                           and other resources, such as the Federal
                                           Bonding Program and the American
                                           Rescue Plan's Employee Retention
                                           Credit (ERC). For example, a small
                                           business that hires someone who was
                                           released in the last twelve months and
                                           employs them through the second half
                                           of the year could qualify for a credit of
                                           up to $16,400 per worker by claiming
                                           both the WOTC and the ERC. The
                                           Department of the Treasury will also

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                                            revise online materials to make it easier
                                            to claim the tax credit.


                                            Addressing the housing needs of
                                            returnin g citizens. To d ay, HUD
                                            Secretary Marcia L. Fudge is issuing
                                            a letter outlining actions that HUD is
                                            taking to improve public safety by
                                            addressing the housing needs of
                                            returning citizens, including through
                                            the recently awarded 7o,oo0 emergency
                                            housing vouchers funded by the
                                            American Rescue Plan. The letter
                                            clarifies that returning citizens that are
                                            at-risk of homelessness are among the
                                            eligible populations for these
                                            emergency housing vouchers and
                                            encourages public housing authorities
                                            and their Continuum of Care partners
                                            to ensure that eligible returning
                                            citizens are given consideration for
                                            these vouchers. The letter alscl
                                            discusses additional steps that HUD is
                                            taking to improve access to housing for
                                            returning citizens and people with
                                            criminal records.

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                         a.        Thi$ i$ a natlonal Policy for detarmining
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              c.     pursuant to ltl u.li.G. $ g?il(s), A1F nroy ravoke a fadofsl tiroann$ licsns€ lot willltJl
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         6.   t-lEtEitENl]Es.
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              3.     ATF O 1100.166C, Del€galion Order-Oolegstion ol Authorllies within
                     Aicoho!, Tobacco, Firearms and Explosives' dat€d 1 1/5/18'

              b.     ATF O 3200.18, Monitored Case Program, daled 10120121'

              c.     ATF O 5000'19A, lndustry Oporations Manual, datod 4/4/18'

              d.      Title 27 cFR Pan 478.

              e.      Title 18 U.S.C.   $ 922.

              t.      Titl6 18 U"S.C. S923.

              S.      Title 18 U.S.C. 5 924'

         7    POLICY.

              a.      Unifi€d Administrative Action Policy and Procedur€s'

                      (1)       This order establishos a unified plan of action for resolutlon of violations through
                                administrative action. Tho plan groups types of violatlons inlo categorieG lor
                                which speciftc adminisirativ€ actions ars recommended.

                      (2)       This national policy will assist gpecial Agents ln Chargs (SACs)' DlOs, Ar6a
                                Supervisors (AS), and lndustry Operaiions lnvestigators (lOls) in making
                                appropriate r€cornmendations.

                      {3)       Each inspoction hae uniquo and sometimse complex circumatanc€s. Thsrelore,
                                even in cases where violations appear wlllful, thg field should con$id€r tho
                                following questions when recommendlng admlnlatrative action:

                                (a)      ls the FFL willing/able to achieve and maintiain voluntarycompliancs?

                                {b)      Will the continued operation of the FFL po$e a threal to public safety or
                                         contribute io violent crime andior olh6r criminal acuvitles?

                                (c)      ls the FFL taking responsibility lor violations and wllling to work wilh ATF
                                         to correct lhsm?

                                (d)      ls the FFL'S falluro to proporly completa and maintain r€cords dir€ctly
                                         impacting th6 tfacoabitity of firearms?



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                (1)    A WC ls gcnorally appt(rp.iatc t'rlloil tlr$ FFL lla:; provir:usly be{n tha s,rblac! i,t            t
                       WL or WC, dnd lhe curronl ingpoclion lndicrrlos sknilar rs!]oat vrolalklns. ll ntay
                       also be approprialo to hold a WC hr an FFL without 6 hl3lory ot proviou$
                       violalions or a WL in csrtaln clrcumstancss. The DIO ntty doclcjs ghal a WL or irt
                       adnlinistratlvd srtlon ls dppropriate basod crn the nalure and numbor ot violalacns
                       inrprovonent in compllanL's wllh lirearms krws and r€gulalions, co'}plinnca
                       hisiory, tlnr*r olapsod since 6ny provious 6dministtolive action, and olh&l televant
                       factors.

                       lf tho violatior!s irrvolvc   I   corpurall(,r}, A'l F rnusl             9 oorporalo responsrttlo
                       per$ort to tlr6 WC.                                            'fivllo

                       Durine tho We, ATI'Slroutd prpvlde thrr f:FL willr epaoilic instruclions lci;:t:hisvs
                       GCA conrpllanca snd €rnphasiza lho mulu8l loal of ATf and lho lnrJu:ilry:rr
                       safl:guurd tho public

               i4)     Exarnples of vrolalions thst gensrally m€rit a We as lhe minrrnunr
                       adn]inistrativo action, include but Dre nol limitod lo thstollowiog:

                       {a)      Transfer of a firoarm other than a rillo or sholgun (includlng a
                                lranrs or receiver) to an oul-of-stale resident.

                       (b)      Failuro lo mark imported or manufaclured lir€arms appropriately'

                       (c)      Failure to rsport thett or loss to both ATF and local law eilforcement'

                       (d)      Conducting business at localions noi aulhorized ss an exlertsion ol lhe
                                lic€ns€d business premises.

                       (e)      Failure to obtain a compleled Form 4473 and tailure 10 0onduol a NICS
                                check or obtain Bltemative permit fo.:

                                (i)       The transfer ofa firearm to a law enlorcsmsnt of{ic€r for
                                          personal use, ifths transferee is not prohibited, and is a repeat
                                          violation; ot

                                (ii)      The lran€fer ot a tirearm out ol buslnoss inventory lo an FFL
                                          rssponsible person (other than a solo proprleto4, if tho
                                          transferee is not prohibitad, and i6 a repeai violalion.

                      (0        FFL has previously been lho subi€ct of a WL or WC within the
                                prev;ous 5 years and thg cunent lnspection roveals repeated simila.
                                violation{s) v/ith no significanl lmprovemont'

               (5)    lf the FFL does not respond to lhe WC notification letter and thore is evidence the
                      violalions ere willfut, the DIO should proceed wilh revoklng (or denying a .enewal
                      application for) the Fsderal firsarms licenas.

               (6)    Additionally, the DIO may decid€ afror mosting with the FFL' or afler offering an
                      opportunity for compliance, io procoed wlth revocatlon (denlal) if the DIO boJievEs
                      tti6 public int€rest is besl seiled by revoking or d€nying renewal of lhe Federal
                      fireirms llcense. ln any situation in whioh the DIO sooks rovocatlon or donial of
                      renewal, notificatlon of the proposed course of aolion must be madg th.ough Fi€ld
                      Managament Staff, FISB (fmsigb6atf.qov)'
               (7)    ln lnslancss in whicn it is determinsd lhal tho vlolations wore nol willful and/or tho
                      FFL is likely to come inlo complionce, ths WC shall be the final adnrinlslralive
                      action,


                                                          Page 5
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                                                                                                     4 ir    a7     ';-ilii 1f
                                                                                                            ! ! 1   I'l{,!7l,t/t'

                                                                                                    :l{rrlilrrtl(rte.
              (s)    The WC rnay incluriQ AI F Councol xnd wlll dliieu$$ tlre;rne lfr aohievfr
                                                                                         rtesign+i'J :a {r{:hi9rs
                     Thg AS or Dio lnty  loquost llrs l-Fl' sltblxil wllitotr propr:lrlg
                     GCA complir:nca.

         e.   Be!9!s!e[-ui]ge-il3u.9.a-S-ga3lsl'
              (1)A-l"Frnusiestdl:lishwilllulnosslr;t:lrorldwilltlQv{'csllonur}dBtlSl'tn!"{
                     $?3(c).

              {?)    ATF tlocs not llave lo rr;tablielr a hialq:ry ot prit)l viol8li')n$ lo 'lsilloti:;tt'lla
                     wllllulrre:r*. Actrordhrgly, ATF wlll rovnko e lecl*lral flrearrns licanga, ;rhs*:nt
                     axtrr:ordh:1ry citounilitfltcfi3 on ittltlal v;ol;rllons, it thos6 violtl'nrrs itlri'lre!llly
                     de[]unstrlrtG vlilllulnugs, surlt il: ltqtlslBrll[!J a lir*6rnt to D pl{Jhll]ilrrr'i lJttiil!i'
                     failing to nln o boekground ohad( prior lo llansrorring a flr€arln lo a nan-
                     lir:orrscc: ftllsilyirrg teectrlo. or ttlakltlq fnlso *lalarmantr; failinO l{' ta:tfil4nd ?o;1{'
                     AI l- ttaciri$ i(quet;l; aelusltlu lo lr$tlllit A IF tr: ctrtldtlcl 4n illi;p{ttlitrt!'lt
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                      \]rilliul ll6t-tinlc violalion as il dooms npproprialc,

              (3)     ATf should also considsr revocalion whan an FFL has willful '/iolationlsJ of !lt'i
                      GCA and when {actors are prds€lli that hsve o dlroct impact on
                                                                                     putrlic sa{'rty
                      such as:

                      (a)      A lalge number of crime gun t.ac€s 8s compared to dispositions'

                      (b)      Short tirne to crims lraces'

                      (c)      Traces from violent orime$, or'

                      (d)      lnt€malionaltrac€s'

              (4)     ATF can eslablish the knov/l8dge elsment of viillfulness hl severalways:
                                                                                                and
                      (a)      Estabtislr lne FFL has a history of srmllar, rePeat violations'
                               documenlation tlral an lol discussed them with lho FFL' The
                                                                                                  FFL's
                               compliance history can inclirde other offorts by ATF
                                                                                       (lncludingqualiRcation
                               insp"ctions) to inform the FFL about its legal responsibilities'

                      (b)       Use inspection reporls to establish willftJlness even if the inspection
                                found nb violations (i.e', acknowledgment of Foderal firearn:s
                                regulations)'

                      tc)       Stat€menls or admissions communicat€d by the FFL or it$ employee(s)'
                                as well as aotlons by the FFL or its empioy€8(s) during an inspection- lhat
                                demonstrate knowl6dge of regulatlons and concurrenc€ with lhe iOl's
                                lindings.

                       (d)      Publications and informalion provided to the FFL which €xplain the FFL'$
                                legal resPonsibllities.

                       (s)      Demonsttate thal the FFL. has complisd with the spscific regulalion on
                                other occasions'

                       (0       gemonstrai€ that ihe FFL llas substantial axpsriorlco ss 3n FFL'

                                                                                       sunounding an
               {5)     ATF Field counsel must evaluate tho facts and cilcumgtancos
                       Ff L'g allesed violailon(s). During Counsel's rovlew, a copy of the Industry
                       Operationi Monitorod Caso BileRng Paper will bs submlltsd to F'SB' lt cdn


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                    Divisiorr deeidcs l'!ot to plrsus MCP a|rlorls t:r'lt ot,llttgel dgtstmina$
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                    eil$s dots$ llot sallsry iho clentdnts
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                    guDllc,
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                    tbi        Failule ic conduct a l'llCS clirtck or obtairl altgrnativ€          (e"it'|Utttc ?ttr)r
                               6 NIC$ io. equivalent    Stale   POC   background  cneck  $ystom)
                                                              'fhis includes:
                               to lhe transfor of a firearm.

                                 {1)          R€turn ol consignmenl firearms'

                                 {2)          Pawn redemption of lirearms'

                                 (3)          Accoptanceolaoinvalidaltcl.natepg'miiornonqualityingslt.mati.'/8
                                              permit in iiou ot NICS'

                                 (4)          Transfer of a filearm afier an initial NICS check
                                                                                                30'day expimtlon'
                                              sJithout conductin0 a new NICS checl(,

                                                                                                    response or
                                 (5)          Transfsr of a fir€arm prior to teceiving a final NICS
                                                                                                    three days have
                                              uou-ri.uulu Srutn Poi background r"ipons" whers
                                              noi elapseti since the FFL contactad the system'

                      (c)       Failure to respond tc a tirearm lrace request within
                                                                                         24 hours.aftor
                                i"ceioi ot tns'request. (Conlacl National Tracing C€nter to-obtain
                                            i"f".tation io fLrlly evaluate poteniial failure of FFL to
                                """"!""':v
                                respond to a traco request).
                                                                                              a lalse or lictitious
                      (d)       Falsifioation of records requirod under ihe GCA or fiaking
                                *ii[nn iiuru**"t    in the FFL'$ requir€d records or in applying tor a fi.earms
                                fii"""". W,tnfr"fOing or misropreiantlng mal€rial information h applying for a
                                license.

                                                                               hours of operation al the
                      (e)       Refuse ATF ight of entry and inspection during
                                iicensed premisss.

                      R€VocationisalsoanapP'opriatelioonsingactioninr66pons6tothediscovsryotth€
                      betow willful vlolations:

                      /n
                      \r'       Allow an employets who is a prohibiled person 10 have actual or
                                             p"itession of a lireaffn while knowing or having reasonablo
                                """"i-tt""
                                cause to believe that the employee is a
                                                                        prohibited person'



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                                                                                               AIF   I 53r!.1t
                                                                                                     ,15281't,t2';

                      ts)     Ihe FFl. transf€r's a lireaun knowittg r:r having aeascnablo caus* l* o4lier'e
                              that lhe transferse of reccrd i$ not lh6 tclr.ral buyot {1.a. a slrnw pt:rcltttsti

                      (h)     Failure by lhe FFL te oroato a rct;uiretl GCA record, or disccr rlhruod use of
                              required GCA tecords.

                      (i)     Failurs ts execula an ATF Forrn 4473.

                      (j)    Fallure to accounl lor acqUirad tirearns which rocords indicate were in
                             inventory witlrin lhe previous 5 year$ aller roconcillaliol for lvhioh
                             dispositioD could nol bo accounled tor in rgqulrsd GCA records (e.9.
                             acquisition and dispositlon record, Fr:rrn 4473) and ls a repgal vigiation ot
                             jrrc.eds0d ftequgrlcy,

                     (k)     Diccovery of a firearm with an obliieraled s€rial numDer in FFL'$ rr{rent.rry

                     O       Transfer o{a lirearm to an und€rage per3on.

                     (m)     Tha FtL has boen the sub.Ject ol a WC rn lieu of Revocation within lhe
                             previous 5 years and lhe currenl inspection reveals repealed similar
                             violations(s) vr'ith no significant imp.ovemenl.

                      (n)    Any other GCA violation not cpeclfically addressed in this ord€r whore
                             revocation may be appropria{G.

         f.   Fines/Suspensions/Revocatton       under   1   E U.S,C, qg 922(t) or   922(z).

              (1)    ATF may revoke, suspend, and/or impose a civil Jine for certain knowing
                     violatlons ol the tlrady Handgun vlolence Pr€venllon Act and the Child Safely
                     Lock Act of 2005. See 18 U.S.C. $5 922(lL 922lz) and 924(p). ln each
                     situation, ihe proposed sanction (rcvocaticn, suspension, and/or fine) must be
                     specifically spelled out ln the Notice to Revoke or Suspend License and/or
                     lmpose a Civil Fino. The FFL has the same rigills to .eview as in olher GCA
                     admlnistratlve hc,arings.

              (2)    ATF can revoke, suspend, and/or fine an FFL pursuanl to        1 I U.S.C. $ 922(tXS).

                     This allows tor revocation, suspsnsion for not more than 6 months, and/or a civil
                     line for lhe lransfer of a lireaffn and {ailure to conduct a NICS check required by
                      18 U.S.C. S 922(tX1), wher€ NIC$ was operating, and the pe.son would have
                     been doniod had a NICS check beon conducled. The lransferoflhe tirearm and
                     the failure to conduct the NICS check musl be done knowingly.

              (3)    ATF can revoke, or suspend, and/or line an FFL pu.suant to 18 U.S.C. $ g?c(p)
                     for failure to cr:mply with 18 U.S.C. $ 922(zX1) (providing a secure gun storage or
                     safety device lritlr each transfer ot a handgun). With cenain exceptions, $ 924(p)
                     allows for tho revocation, susp8nsion for not nrora tlran 6 nloilths, and/or a civil
                     fine tor tne knowing lransfer of a handgun 10 a non-licensee wlthout a secure gun
                     storage or safeq, device.

              (4)    A Notice to Revoke or Suspend License and/or lmpose a Clvll Fine will he issued
                     when vlolatlons ol 1S U.S.C. 922(tX1), 922(z) andlot 924(p) are clted. Excopt in
                     sltustlons approvod by tho DAD (lO), all thtee options on the form will be s€lectsd
                     and ths maximum fine and suspension will be proposod. All ssttlements prior to
                     or aftor a hoaring, muet bo approvod by the DAD (lO) and Doputy Chiei Counsel
                     prior to finalizing any agre€menl.




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               {1}          An irppliintion for a Federsl firsarrrls llcRltse may                          I
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                                                                   cCe   and  the  same   criteria and ptstad't9s
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                ',21        ATF will deny applicalrons in which an appllcanl:                                           tild' a
                                                                                   applicant is iess thon 21 la"is
                            in{ormation                                                                                   prior
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                            "hidden ownersh'pt,:JJ"'"iliopi[ll[nt';               titn      usuollv involve
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                                                                p*hibitta    psttons    aro  responsrble partica but are
                            where past willfur uii'fuioo'ot                                 refenal io ATF Criminal
                                                                 ce'tain  situations'    a
                             not listed on the application' ln
                             Enforcement may be appropriate'
                                                                                                                       ar'
                (3)                                                      tacts and.circumstances surroundtrrg
                             ATF Field Counsol musl evaluato the
                                                   ;i;l"t;;;t):;";';e/     counsef     s.review' a copv of the lndustry
                             applicant's
                                           "ll"g"d
                             Operationspronno'ei'6ai"tdi"[qt""utut"nteriefinaPaoerwillbesubmittedto
                                                                                                 Division decides not to
                             FlsB. ll can be later r€moved irom the MCP^if the f ie]O
                             pursue denial' tsu"     i o'<l{s) tot Regional    ACC    concurence')


          h    Aiternale ActioLq-
               (1)          For inspections that merit consideration of
                                                                        revocalion for violalions outlined in
                                                                                          €xist oelore the Dlo
                            paragrapn z.e.(aXartei, eii'ooioinuty circumstances.must
                                                                                 exvaordlnary circumstances
                            nroooses an altgrnatg t'ecom*"nCation' and those
                                                           in the Dlo's rscommandation' NOTE:
                                                                                                    one
                            X#ffii*;il;ii**pr*in"c                                      above does not
                            in"tun". oiu ui6r"ion b'tlin"t in paragraph 7'e'(6xa)-(e)
                                                                                 will rioi be an acceptable reason for
                            constitute extraotdi"d;;;;;;iJn""inrio
                            an alternale recommendalion'
                                                                          revocatlon lnclude an AS led Warning
                el          Appropriate atternate recommendations to
                                        or  a oro rJwaining     Conference'     Who conducls the wsrning
                            Conferenoe
                                             aup"ni on tire toiality of the circumstances  surounding the
                            conference will
                             indiJltid" t"*rrts'A waning lett€r is rarely an acceptabl€ altsrnats
                             recommendation to revocation'

                (3)F0.inspectlonsthatmeritconsideralionofrsvccationinwhichth€Dloploposes
                                                                      is roquir€d to be subnritted to the
                        an slternale ,"ao*r,,"io"lion, the rnspection
                                                                          Monitored Case Progtam')
                             ftlCp ior OnO (lO) approval' {ATF O 3200'1B'

                Olhor pdminlstlalive RBsolutions'
                (1)           Pursualrt lo 27 CFR 478'72'74' lhe
                                                                 DIO may allord lho FFuspplicant the
                \ I |
                                           i" ttomlt racts  arguments for review and c0nsideralion and
                             "t*nrt',t                              "nc
                                                                    Pi:q;   g
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                         msk€ oftel3 of settlornsnt or oftets nl a liltRl ro&olution involving an qgrood uporl
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                         sottlantilllt cnuld irrt,.l!,rio '! request lor €l td:tnpollry closura porlnd vlillin lhc I-Fl
                         irrslrtrt{os r o:ncrlinl fi 80$ur{rs.

                 {.1     Follcrvinp tile lssuitilcu of tll(] Nuilr:a 10 ll*v$hd{Jslty n OIO may ct.rtt*iclstr
                         altcrnulivos tr) i$suing a Fin.ll Nollrrtr ul Dertial r.rf Appllcaliolr, Rsvocallon'
                         SriSpenSion, 3nd/Ot Fins af a FOdt:ritl lir*tlil)ts litlrniat Yr'lth lha cut!{xxt{}rl{:i}.rf llti
                         nAil (10). The DlO sh$uld cotlst.ill irnd work clr:sely wllh FinkJ couilasl clrl lhg
                         n*llotiatacn cl tGiln6 und conditiotls l.r wltich A"IF nlay appr.lprlolely aljr€irt lo
                         sstile orr(.,sol\,d. I he DAD (lO) nrust approvs lh6 {lnal wrllten s€til6m*}nt
                         docurnsnl and if th$ revocation is b.lsed on tho violatlon$ outlkted in pat;tgtopl,
                         7.€.iCXa)-{€), q€t n'}pruval lronl llte llir8ctor prk}r io the fiBid proceoditrq.
                         Settl*rrenrs. bilriina extrsorali*3ry !rou/ citcurnslances being pr*sr:nt*:t1. aro nol
                         appropriilte ior cases lhat ii)voive l,snsferring to a prohibited porson, f*illng lo.!ln
                         a backgrouno checti, falsiiying recerds, or making {alse ctaternents, iailing to
                         respond io an ATF lracing requesl, and/or refusing to permlt A'lF lo conducl atrd
                         insp$ction.

         GENERAL GUIDANCE. The Divis,on ni:nagenlont toam nay considcr the appropriate
         edminisrrative actions. Ths DIO will seek advice of Fisld Counsel and the ACC
         (East/CentralMest). rvlren seeking Administrativ€ Actions for DAD (lO) approval and thc
         Assistant Dlrector, Faeld Operalions (FO) when considering tne approprlate administrativeaction.

         a.      This order does not mandate doing any adminislrative aclion in a sequential or
                 consecutive order. For example, a WC may ba hotd oI rsvocation sought aff€r lhe
                 tirst inspection if violations impact public sa{aty or obstruct firearms traceabilily.
                 Conversely, a WL may be i$sued ovsn if the pricrinspBction resulled in a WC.

         b.      The DIO or AS will conduct WC6.

         c.      The DIO witl ensure the timely initlation of nciminislrative action. For in$psctions that €re
                 alternate$ !o revocation ior items sp€cifiod in paragraph 7.e.(6Xa)-{ei above, the actions
                 need lo occur within 30 days of the nolice from lhe DAD (lo) that ihe Difsclor has been
                 brieled and concurs vrith the action. Tho posr-conl'erenCe l€tler for Cases requiring a WC
                 should be issued no later than 90 days after nnal Dlo review unless lhefe arc mitigating
                 circumstances. The AS shoilld issue I WL withil] 15 days of his or her review.

         d.      The area office should submlt ceses invol'ring poten{ial denials/revocatlons to the DIO
                 within 30 days of the inspection subrnissiorr ciato. Tho DIO has 120 dsys, inolusive of
                 Counsel roview. upon rocoipt of the inspection io issue ths Notice to Revoke/D€ny' Field
                 counsol will have a fnaxir.nurTr crf 60 days Io rsview and pf€p:r€ thc Notice hl final folm
                 for submisslon to the Dlo for revlew and issuance. The DAD (10) lvill be notilied t y the
                 DIO via FISB if these periods are not nl€l

         e.     criminal violelions and violations that pose a dang€r io the publlc should be grounds for
                revocaiion, and tho field mus: immediately notify ATF criminal onforcement. This nlay
                inciudo situations whsrs fir€arms are subjoct to soizuro and forfolturo. This ordor does nol
                orevent division management from pursulng simUltaneous rogulatory and criminal actions
                wllh the concurrence ot the u.s. Allorney's office' There may be instances where the
                Govilmm€nl rcsolves tho case through a revocation and a criminAl plca. lf ATF pursues
                revocation, it will follow pfocedur€s, including those requirod by ATF O 3200.18, Monitored
                Case Program.




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                       iclil.!.ts ltld{ nt(rr}t llis                  t''!                t!!                                                                         l'q :e
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                                                                                                                             end
                                     ttre vrota:icns rverQ !l'il[ul. inclurling copies of Forms 4473 and Acquisjtion
                                                                                                                     lhe f.lDtlse.
                                     Disposiiion rQco!-ds since oniy doc;mented violations will be cited in
                                                                                                                        guidclines
                                     The lOt witi lhen make the appropri€te tecommendation bessd on ihe
                                     contailred herein and fon#ad the inspoclion to the AS'

                                      n4ust communicate witn and notiiy the AS of vlolations' ltndlngs'
                                                                                                        stld                                            oihe'
                                      cii cumst6nces impacting public safety upon discovery.

                        A,rs Ssoervisot. -lhe AS:
                                                                                                                                                                               I

                 b.
                                                                                                          maintsrned
                         i1j          Will reviel all fiiearms inspection reports and associated exhibits
                                      withiB Ule app.oved casa mansgement system to ensure the lol's
                                      recornnlendation nresis astabli&$O guioelines and ovldentiary rsqUirAments'
                                      they aoequalely pertorrned all relevant lnspeclion work steps, ?nd they
                                      cotreclly entsrec ell n€ce:isary data

                         tl)          l\4usi cumnlunicale with the D'O and notify the OIO af violations' fitrdirrg$' etld
                                      1)lher cirtrrnlsianc€s inlpacting public saf€rly upon discov€ry'

                         {3}           lndependenlly e'/aluate tne lols rccomrn€ndalion and inssrt thair
                                       recomrnendaiion in the approvecl case nanag€ment sysiem l{ they disagree
                                       wilh ura lol recomrnendaiion, the AS will document lhe reason(s) within the
                                       re;omrnendation section of the case manag€menl system. The AS musl submit
                                       ceses meriting Yy'C, revocation, denial, fine, or susp€nsion io the DtO within 30
                                       days of the lOi submission date'

                 c,      Di.ecior of lndusfy Ouerati-ons. The DIO shall:

                          (1)          Revieyr atl inspeclions tllat tecommend a Ylc and/or alt€rnale lherecf. The DIQ sllall
                                       tcnl!..lgi. i.a i-ejfr$;m4ri{iaalcit in 11: a?prcyg.l a3:le ma|]agement syileln 3[J i?l$lll t]
                                       ihe Ari     ;'"'illrrr-' 15   czlenuer i3:;5.

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                                       srsCens,Dn. f'ne, or altgrilslG :o r*vccatiof' tnc colnplclg a f*uurnmulxlrrtiun lll
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    Case 3:23-cv-07752-TKW-HTC Document 1 Filed 04/06/23 Page 64 of 108
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                                 an : L\lllOi,'rlrIlrlIljlriltlvr'r':s(,1[llrtrr'

                        i5)      Follorvin0 a h*irin0 rsqusslarl pursutitlt lo eltllsr 27 C'l'n'SS
                                     415.72;471t.14 lhs Ol0 nrugl cotrclurJo whollter lho Governmanl
                                 l]gs rnet ils bttldell oi praot tly a preponc,orancs of the evidsrnco thal
                                 llle el.:nlent,q r{lquiri'}d tt issur: a Firl:-tl Noikc lJt U*nlal ol Applic:lltr:r:'
                                 ll.l\,ccalron. l*$ljerrsioll andlert F:rre ol Firosrr}la Lioonso, ATF l:ottn
                                 5301]. 13. lf tlts DIO bQliev€s sucn sl8nlsnt$ havs not troen
                                                                                                         ptoven'
                                 iirciutting the rvillfttlness requlretl io eustein a denial under'18 U'S'C
                                                                                            923(oJ, the Dlo mu$l
                                 $ s23(di(1)(c) or revocation und{rr 1B U.S.C' $
                                 tutly triiii tt e DAD (iO) 85 to th€ basis for this determinatlon'

               .i.      -tlli]lgCl
                        11)AilneIeques!oftheDlO'Fie|dcounselwillreviewallirrspectionleport'ancedhibltg
                                                                                            in all
                                     in the applov€d case,llanagelrienl syslem and plovide legal advlce
                                     a0nlirrish'aiive ecliorl$.

                         t2)TheDlOandaotrilseislloulciusedlsr;trtlonil)delerminlnqurhichviolatior]s-to uncler 18'U'S'C'                              $
                               allege ano oniy allege vrilllul violations irr iire nic'iice ic Revcike
                               g23{e). As noiuc ,6ou", ATF may alsc revoke or suspend 9]l9.else or-T?:ss                                             a

                               eivit fine for certain viotaiions of 1e U.S.C. $S 922(tX5) and 924(P) in."1u11"
                                                                                                                        lvillful
                                     itlslilt]oe6 it *uy        i^ the rnie,.e,:r ol !l-ie-(iovefnmrnt to cite isolated
                                                         ""in"are adequale srilifir! vlolal:ons to sJttain a ievocation'
                                     violaiions,"lreiie lhere
                                                                                                               prcposed
                        {3)          The ACC iot ihe applicable Fielc Sivrsir:n Yvili ref iew an'] approve all
                                     Notices and aCnrinistrative resolullLrlts for legal soundness and compliance
                                                                                                           or lnese
                                     with this policy priot lo final submission tc MCP and irnplemonlallon
                                     aclions.

                       Special Aaent rr|g!]afgg. The SAc rres uitinraie dhrision respo|tstbiliiy
                                                                                                         io ensure thal lhis
               e.                                                                                      addiliona' controls in
                       national  polioy   is prop6iir. errforced.   To  this e.!d, rri€y mry establish
                       lheir divrsion
                                 'i-he iorms ollllinsLl in tllit or'lar are availal:le at ATFi'lonn"'ct>iorms gnd
         11    A!?1U=ABI!ITY
               pofiCy"fo.rn.s" Tlle manual odtlineC rn this order is evallabli; ill
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               ATF6onnect>Directorates>Field Operations>ltrdustry Operations>lOl
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               retained ifi accordance wilh ATF O 134                     Rscords ldanag€m€nt Progranl arrd ATF O
                134A.7 A,llTF Recorcis Contrcl Scheduie'

                                                                    regarding tnis ofcier' please conta'l Fleld
         11    alESLlgNS, lf you have any questions
               Managoment Stafl, 202-648-8400
                                                                             O'!il.lltd!nsb   GtOEr
                                                     cEORGE LAUDf R $,,$L,r,.,",,",*,.0r*
                                                              AEslstant Director
                                                         (Offfoe of Fleld OPeralions)

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                   EXHIBIT                   C
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U.S. Department of Justice
Bureau ol Alcohol, Tobacco, Firearms and ExplosiYcs                                                                          Report of Violations



FFL: PRECISION TACTICAL ARMS COMPANY LLC
Inspection: FCI-27293
Date Generated: I l/3i2021
RDS Key: l-59-26145
L€ad Industry Operations Invstigator: Thomas McCarthy




                  Regulation                               Corrective Action(s)                            Nuhher of Forhs                    Number oflnstances

        l8 U.S.C. 923(g)(5)(A): Failure      In the future, complete and submit required                                             I
       to timely file required AFMER         ATF Form 5300. I I , Annual Firearms
                                             Manufacturing and Exportation Report. by
                                             April I forthe previous calendar year ending
                                             on December 3 1.




       27 CFR 478.92(aX IXii):               Properly identify each firearm marrufactured
       Failure to properly mark              by engraving, casting, starnping, or otherl'ise
       firearm(s) with certain               conspicuously placing on the firearm a serial
       additional information                number, model (if designated), caliber/gauge,
 2                                           narne of the manufacturer. and city and state
                                             of the manufacturer.

                                             ATF Ruling 2013-3 allows licensed
                                             manufacturers to adopt the serial nunrber,
                                             nrodel, and/or caliber/gauge already identified
                                             on a firearm without seeking a markiDg
                                             variance-


       27 CFR 4'78.92(a)(2): Failure to     A firearrn frarne oI receiver that is rot a                                             3
       properly rnark firearm frame(s)      component part of a cornplete weapon rnust
       or receiver(s) u,ith required        be properly identified with a serial number,
       nrarkings                            rnodel (if designated), caliber/gauge (if
 3                                          designated), narne of the manufacturer, ard
                                            city and state of the rnanufacturcr.

                                            ATFRuling 2012-l allows      the manufacturer
                                            to omit the model designation and caliber or
                                            gauge without a 1'ariarce if that iuformation
                                            is unknown at the tirne the frarne or rrceiver
                                            is marked.


       2'7 CFR  47A.123(b): Failure to                                                                                              31
                                              Accurately, cornpletely & tirnely record all
       maintain an
                                              required future firearrn dispositior
       accurate/complete/ti mely
                                              information.
       licensee disposition record
 4                                          Per ATF Ruling 2016-3, when a manufacturer
                                            makes changes to the model. type, caliber,
                                            size, arrd/or gauge of a lrame. receiver. or
                                            assembly of a firearm, the firearnr must be
                                            logged out of the A&D record to itself on the
                                            date of the change or conversion. The new
                                            firearn information shall then be recorded on
                                            a separate line of the A&D record-


       27 CFR 478.123(d): Failure to                                                                                                2a
                                              Accurately, cornpletely & timely rrcord all
       maintain an
 5                                            required future fi rearm disposition
       accurate/complete/ti mely
                                              information.
       nonlicensee disposition record




       27 CFF 47a.123(a): Failure to                                                                                                414
                                              Accurately, completely & timely record all
       mailtain an                            required future fireann acquisition
       accurate/complete/ti rnely             irformation.
 6
       manufacture or acquisition
                                            Per ATF Ruling 201 6-3. when a rnanufactulcr
       record
                                            makes changes to the model, type, caliber,
                                            size, and/or gauge of a frame, receiver, or
                                            assembly of a firearm, the licensee mnst
                                            record the new firearm information on a
                                            separate line of the A&D record.


       27 CFR 47 a. 124(c)(4) : Fai I ure   Ensure all required firearm identification           90                                 105
       to record firearm informalion        infonnation is obtained and accurately
       on an ATF F 4473                     recorded on all future ATF Fornrs 4473,
                                            Section A,



                                                                                          Page   of   18
            Case 3:23-cv-07752-TKW-HTC Document 1 Filed 04/06/23 Page 67 of 108


     27 CFR 47 a. | 24(cX I ) : Failure   Ensure all required ATF Form 4473 Section           3         3
     to obtain a completed ATF F          B items are completed/provided by the
8    4473                                 transferee on all future transactions.

                                          Ensure the transferee provides required
                                          sigDature and date, Section D, for all
                                          transactions taking place on a date different
                                          frnrn when Section B was cenified.


     27 CFR478.2l(a): Failure to          Ensure all ATF Form 4473 items, as required         33        34
     complete forms as prescribed         by form headings and instrlctions, are
9                                         accurately conrpleted on all future
                                          tr?nsactions.

                                          Ensure the transferee provides required
                                          signature and date, Section D, for all
                                          transactions taking place on a date different
                                          frorn when Section B was cenified.


     2i7 CFR 47 L t 24(c) (3) (i)   :     Ersure all required transfetee/buyer                26

     Failure to verify or record          identification information is obtained and
     Identification doctlment on ATF      accurately recorded on all future ATF Forms
l0   F 4473                               4473- Section C.

                                          Ensure to record the transferte's ntilitary
                                          identification card in box 26.a and official
                                          military PCS orders in box 26.c when the
                                          transferee is a member of the armed forces on
                                          acdve duty. but has a driver's license or
                                          identilicatioD card from ano[her state.


     27 CFR 4?8. 1 24(c)(3)(iv);          Ensure all required NICS/POC backgrourd             6         7
     Failure to record NICS contact       check infonnation is obtained aud accutately
11
     information on an ATF F 4473         recorded on all future ATF Forrns 4473,
                                          Section C.




     27 CFR 478.1O2(c): Failure to          Execute and accur?tely rccold (on an ATF
     initiate a new NICS check after        Form 4473) a new NICS/POC background
l2   30-day lapse of initial check          check, after any 30-day expiration of a
                                            previously conducted NICS/POC check. on
                                            all future over-the-counter firearm
                                            transactions.




                                                                                     Page 2   of   18
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Slgnature(s)


My signature b€low certifi6 that   on   Wednsday, November 3, ZOZ! ATF tot   thomt   Mccarthy reviewed the above information with me   id   aswered my questions rgarding this infomation.   I
md regulations governing my licensedipermitted businms.




  PriDted   Nule:
  WARD GRAHAMLEWIS
  Signaturc Dafe:
  Wednesday, November 3, 2O2l
                               JT.
                                                                              A^"




                                                                                        Page 3   of   18
                  Case 3:23-cv-07752-TKW-HTC Document 1 Filed 04/06/23 Page 69 of 108

                                                                                                                             Report of Violations Instance Details



Report of Violations Instance Details




                      Regulation/Yiolation                                                             Instance D€tails                                 Vereion
      A U.S.C. 923(gX5XA): Failure to timely file required The Annual Firearms Manufactudlg and Exportation Report (AFMER) for calendar yeas 2019 ard
      \FMER                                                2020 were not subrnitted tirnely. Both rePorts were submitted via ernail ort 4l24l2o2l




      ,:7 CFR478.92(a)(l)(ii): Failurr to properly mark        PRECISION TACTICAL, SLR-B15, 0I387, RIFLE, 6MM
      'irearm(s) with certain additional infortnation          PRECISION TACTICAL,AM-I5, 21 I23652, RIFLE, 5.56
                                                               PRECISION TACTICAL, AM-15, 2I I23653, R]FLE,5.56
                                                               PRECISION TACTICAL, AM-I5, 2I I23654, RIFLE,5.56
                                                               PRECISION TACTICAL, AM-I.5, 2I I23655, RIFLE, 5.56
                                                               PRECISION TACTICAL, AM-I5, 2I I23656, RIFLE, 5.56
                                                               PRECISION TACTICAL, AM'15, 21 I23658, RIFLE, 5.56
                                                               PRECISION TACTICAL,AM-I5, 2I I23660, RIFLE, 5.56
                                                               PRECISION TACTICAL, AM-I5, 21 123665, RIFLE, 5.56

  2                                                            PRECISION TACTICAL, AM-I5, 2I 123666, RIFLE, 5.-56
                                                               PRECISlON TACTICAL, AM-I5, 2I 123675,RIFLE, 5,56
                                                               PRECISION TACTICAL, AM-15, 2I I23692, RIFLE,5.56
                                                               PRECISION TACTICAL, AM- I 5, 2I I23693, RIFLE, 5.56
                                                               PRECISION TACTICAL,    AM.l5,      21 123695,   RIFLE, 5.56
                                                               PRECISION TACTICAL, AM-15, 2I I23696, RIFLE, 5,56
                                                               PREC]SION TACTICAL, AM-I5, 21 I23697, RIFLE, 5.56
                                                               PREC]SION TACTICAL, AM- I 5, 2I I 23699, RIFLE, 5.56
                                                               PRECISION TACTICAL, AM-I5, 6I I237OO, RIFLE, 5.56
                                                               PRECISlON TACTICAL, ST15, SCROT4OIO. RIFLE. 5.56
                                                               PRECISION TACTICAL, M5, US I44328, RIFLE, ,308
                                                               PRECISON TACTICAL, M5, USI51789. RIFLE,6.5
                                                               PREC]SION TACTICAL, M5, USI5I79O, RIFLE,.3O8
       ,7   CFRn8.92(^)(2): Failure to properly mark firearm PRECISIONTACTICAL, NONE, CAD443US, FRAME ONLY, MULTI
       'rame(s) or receiver(s) with reqtired markings        PRECIS]ON TACTICAL, NONE, HRY6O1, FRAME ONLY, MULTI
  3                                                          PRECISION TACTICAL, NONE. UBH443, FRAME ONLY. MULTI




                                     to         an             Disposition Not Recorded (Reconciled), GLOCK GMBH ,27,CAD443US,PISTOL'   40
                                 licensee disposition record
                                                               Disposition Not Rrcorded (Reconciled). GLOCK GMBH, 27, HRY60I , FRAME ONLY' MULTI
                                                               Disposition Not Recorded (Reconciled), GLOCK GMBH, 17, LIBH443, FRAME ONLY'MULTI
                                                               Disposition Not Rrcorded (Reconciled), PRECISION TACTICAL. XPCC MKl. PI9-00024,
                                                               RECEIVER,MULTI
                                                               Disposition Not Recorded (Reconciled), ANDERSON MANUFACTURING,     AM-15'21123652'
                                                               RIFLE,556
                                                               Disposition Not Recorded (Reconciled), ANDERSON MANUFACTTIRING, AM-15,21123653,
                                                               RIFLE.556
                                                               Disposition Not Recorded (Reconciled). ANDERSON MANUFACTURING,     AM-l5'21123654'
                                                               RIFLE,556
                                                               Disposition Not Recorded (Reconciled), ANDERSON MANUFACTURING, AM-15, 2l 123655'
                                                               RIFLE.556
                                                               Dispositiorr Not Rrcorded (Reconciled), ANDERSON MANUFACTURING,    AM-l5'21123656'
                                                               RIFLE,556
                                                               Disposition Not Recorded (Reconciled), ANDERSON MANUFACTURING, AM-15, 21 123658,
                                                               R]FLE,556
                                                               Disposition Not Recorded (Rrconciled), ANDERSON MANUFACTURING,     AM-I5'21123660'
                                                               RIFLE,556
                                                               Disposition Not Recorded (Reconciled), ANDERSON MANUFACTURING' AM-15,21123665'
                                                               RIFLE,556
                                                               Disgnsitiou Not Rrcorded (Reconciled), ANDERSON MANUFACTURING,     AM-15'21123666'
                                                               RIFLE,556
                                                               Disposition Not Recorded (Reconciled), ANDERSON MANUFACTTIRING, AM-l-5' 2l 123675,
                                                               RIFLE,556
                                                                      '                     of
                                                                                   Page 4        18
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                                                       Disposition Not Recorded (Reconciled), ANDERSON MANUFACTURING , AM-I5,21123692,
                                                       RIFLE.556
                                                       Dispositiou Not Rtrorded (Reconciled),ANDERSON MANUFACTLIRING, AM-l5,21123693,
4
                                                       RIFLE,556
                                                       Disposition Not Recorded (Reconciled), ANDERSON MANUFACTURING,              AM-15,21123695,
                                                       RIFLE,556
                                                       Disposition Not Recorded (Reconciled). ANDERSON MANUFACTTIRING, AM-15,211236D6,
                                                       RIFLE,556
                                                       Disposition Not Recorded (Reconciled), ANDERSON MANUFACTIJRING, AM-15,21123697,
                                                       RIFLE,556
                                                       Dislrcsition Not Rrcorded (Reconciled). ANDERSON MANUFACTURING, AM-15,21123699,
                                                       RIFLE,556
                                                       Disposition Not Recorded (Reconciled), ANDERSON MANUFACTURING,              AM-15,2112370o,
                                                       RIFLE,556
                                                       Dislrcsition Recorded, but not Tirnely/Coruect. PRECISION TACTICAL. XPM4 MK4.
                                                       I'I I 5-OO I 6 I, RECEIVER, MLILTI
                                                       Disposition Recorded, but not Timely/Correct, SLR RIFLEWORKS, LLC, SLR-B15,01387,
                                                       RECEIVER, MULTI
                                                       Disposition Recorded, but not Tirnely/Corect. AERO PRECISION INC.. M5,USl4432a,
                                                       RECEIVER, MULTI
                                                       Dislrcsition Recorded, but not Timely/Correct, SPIKE   S   TACTICAL LLC, STl5, SCR074010,
                                                       RECEIVER, MULTI
                                                       Disposition Recorded, but not Tinely/Corect. AERO PRECISION INC.. M5, US 151789,
                                                       RECEIVER,MULTI
                                                       Disposition Recorded, but not Tirnely/Correct, AERO PRECISION INC., M5, US 151790,
                                                       RECEIVER,MULTI
                                                       Disposition Recorded, but trot Timely/Correct, PRECISION TACTICAL. XPM4 MK4,
                                                       W I 5-M442, R ECE]VER. MTILTI
                                                       Disposition Recorded, but not Tirnely/Conect, DICKINSON ARMS, KOMANDO, XX3B,
                                                       203 1 r 1600r, SHoTGUN, 12
                                                       Disposition Recorded, but not Timely/Corrrct. DICKINSON ARMS, KOMANDO. XX3B.
                                                       2031 1 16489, SHOTGUN, 12
                                                       Disposition Recorded, but not Tirnely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                                                       2031 I 16473, SHOTGUN,      l2
    27   CIR 474.123(d): I-ailure to maintarn an       Disposition Not Recorded (Reconciled), PRECISION TACTICAL, SLR-B15,01387, RIFLE,6MM
    rccurate/complete/timely nonlicensee disposition
                                                       Disposition Not Recorded (Reconciled), Precision Tactical, STl5, SCR074010, RIFLE,5.56
    record
                                                       Disposition Not Recorded (Reconciled). PRECISION TACTICAL, M5, US 151789, RIFLE,6.5
                                                       Disposition Not Recorded (Reconciled), PRECISION TACTICAL, M5, US 144328, RIFLE, .308
                                                       Disposition Not Recorded (Reconciled), PRECISION TACTICAL, M5, US 151790, RIFLE, .308
                                                       Disposition Not Recorded (Reconciled), PRECISION TACTICAL, XPM4 MK4,Yf l5-00442,
                                                       RIFLE,.223 WYLDE
                                                       Disposition Not Recorded (Reconciled), PRECISION TACTICAL, XPM4 MK4, PTl5-00161,
                                                       RIFLE.6MM
                                                       Disposition Recorded, but not Tirnely/Correct, REMINGTON ARMS COMPAI'{Y, lNC., 550- l ,
                                                       NSN, RIFLE,22
                                                       Dislrcsition Recorded, but not Tinely/Correct, REMINGTON ARMS COMPAI.IY, INC.,5-50-l        ,
                                                       NSN, RIFLE,22
                                                       Disyrcsition Recorded, but not Timely/Corect, EASTERN ARMS,410,05.94210, SHOTGUN,
                                                       .4to
                                                       Dislrcsition Recorded, but not Timely/Correct, ROCK ISLAND ARMORY INC., VR80, R089921,
                                                       SHOTGUN, I2GA
                                                       Disposition Recorded, but not Tiurely/Corrct, REMINGTON ARMS COMPANY,INC.,870,
                                                       RSO8582E, SHOTGUN, I2
                                                       Disposition Recorded, but not Timely/Corect, SIG-SAUER, P365,66,{1 15858, PISTOL,9
5
                                                       Disposition Recorded, but not Tirnely/Corect. PRECISION TACTICAL, XPM4 MK3, 00252,
                                                       RIFLE..3OO BLK
                                                       Disposition Recorded, but not Tirnely/Corect, GLOCK GMBH,35, BGXSl36, PISTOL,40
                                                       Disposition Recorded, but not Timely/Correct. SAVAGE, CUSTOM, G38990, RIFLE, .300
                                                       Disposition Recorded, but not Tirnely/Corrct, CZ (CESKA ZBROJOVKA), SHADOW 2,
                                                       D2I6638, PISTOL,9
                                                       Disposition Recorded, but rot Tinrely/Corrrct, MEGA ARMS, AR-15, MAB5452, RIFLE, 5.56
                                                       Disposition Reorded, but not Timely/Corect, NORINCO (NORTH CHINA INDUSTRIES), 191               I,
                                                       409340, PISTOL,45
                                                       Disposition Recorded, bur not Timely/Conrct,WINCIIESTER,70,243, RIFLE,30-06
                                                       Disposition Recorded, but not Timely/Conect, PRECISION TACTICAL, XPM4 MK3, 00346,
                                                       RIFLE,5.56
                                                       Disposition Recorded, but not Timely/Corect, PW ARMS, 1895 NAGANT, 06005, REVOLVER,
                                                       7.62X3a
                                                       Disposition Recorded, but not Tirnely/Corrct. GLOCK GMBH, 19, BNKH559, PISTOL,9
                                                       Disposition Recorded, but not Tirnely/Corrrct, GLOCK GMBH, 35, BGXS 136, PISTOL,40
                                                       Disposition Recorded, but not Tinrely/Correct, SPIKE S TACTICAL LLC, TIIE JACK, A21859,
                                                       RECEIVER, MULTI
                                                       Disposition Recorded, but   lot Timely/Corect,   STEVENS, NONE, H1663, SHOTGLIN,20GA
                                                       Disposition Recorded, but not Timely/Conect, PRECISION TACTICAL, XPM4 MK4,
                                                       PT I 5-00579, RECEIVER, MULTI
                                                       Dispositiou Recorded, but not Tirnely/Correct, REMINGTON ARMS COMPA|IY, INC.,550-l          ,

                                                       NSN, RIFLE,22

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       ure to   ntain an             Acquisition Not Recorded (Recouciled), PRECISION TACTICAL, XPCC MKI , PI9-00024,
        manufacture or acquisition   R]FLE,9
                                     Acquisition Not Rrcorded (Rrconciled), PRECISION TACTICAL, SLR-B15, 01387, RIFLE, 6MM
                                     Acquisition Not Recotded (Reconciled), PRECISION TACTICAL, STl5, SCR074010, RIFLE,
                                     5.56
                                     Acquisition Not Recorded (Reconciled),PRECISION TACTICAL, M5, USl5l789, RIFLE, 6.5
                                     Acqrdsition Not Recorded (Reconciled). PRECISION TACTICAL. M5, USi44328, RIFLE, .308
                                     Acquisition Not Recorded (Reconciled), PRECISION TACTICAL, M5, US 151790, RIFLE, .308
                                     Acquisition Not Recorded (Reconciled). PRECISION TACTICAL, XPM4 MK4,PIl5-00442,
                                     RIFLE..223 WYLDE
                                     Acquisition Not Recorded (Reconciled), PRECISION TACTICAL, XPM4 MK4, Pfl5-00161,
                                     RIFLE,6MM
                                     Acquisition Not Recorded (Reconciled), PRECISION TACTICAL, AM-15,21123652,RIFLE,5.56
                                     Acquisition Not Recorded (Reconciled), PRECISION TACTICAL, AM-15,2l 123653, RIFLE,5.56
                                     Acquisition Not Recorded (Rrconciled), PRECISION TACTICAL, AM-15, 21 123654, RIFLE,5.56
                                     Acquisition Not Raorded (Rrconciled), PRECISION TACTICAL. AM-15, 2l 123655, RIFLE,5.56
                                     Acquisition Not Recorded (Reconciled), PRECISION TACTICAL, AM-15,2l 123656, RIFLE,5.56
                                     Acquisition Not Recorded (Reconciled). PRECISION TACTICAL. AM-15, 21123658. RIFI-E,5.56
                                     Acquisition Not Recorded (Recouciled), PRECISION TACTICAL, AM-15,2l 123660, RIFLE,5.56
                                     Acquisition Not Rrcorded (Reconciled), PRECISION TACTICAL, AM-15, 2l 123665, RIFLE,5.-56
                                     Acquisitior Nor Recorded (Reconciled). PRECIS]ON TACTICAL, AM-15. 2l 123666. RIFLE,5.56
                                     Acquisition Not Rrcorded (Reconciled), PRECISION TACTICAL, AM-15, 2l 123675, RIFLE, 5.-56
                                     Acquisition Not Recorded (Reconciled). PRECISION TACTICAL, AM-15,21123692,RIFLE,5.56
                                     Acquisition Not Recorded (Reconciled), PRECISION TACTICAL, AM-15,            21 123693,       RIFLE, 5.56
                                     Acquisition Not Rrcorded (Reconciled), PRECISION TACTICAL, AM-15, 2l 123695, RIFLE,5.56
                                     Acquisition Not Recorded (Reconciled), PRECISION TACTICAL, AM-15, 2l 123696, RIFLE,5.56
                                     Acquisition Not Recorded (Reconciled), PRECISION TACTICAL, AM-1 5, 2l 123697, RIFLE,5.56
                                     Acquisition Not Recorded (Rrconciled). PRECISION TACTICAL. AM-15,21 123699. RIFLE,5.56
                                     Acquisition Not Recorded (Reconciled), PRECISION TACTICAL, AM-15,            21 123700,       RIFLE,5.56
                                     Acquisition Not Raorded (Reconciled), PRECISION TACTICAL, NONE, CAD443US, FRAME
                                     ONLY.MULTI
                                     Acquisition Not Recorded (Recouciled), PRECISION TACTICAL, NONE, HRY60l , FRAME
                                     ONLY,MULTI
                                     Acquisitior Not Recorded (Rrconciled), PRECISION TACTICAL, NONE, UBH443, FRAME
                                     ONLY,MULTI
                                     Acquisitiou Recorded, but not Tirnely/Correct, PRECISION TACTICAL, XPM4           MKI,
                                     PTACOOOO1, RECEIVER, MULTI
                                     Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4           MKl,
                                     I'IACOOOsI, RECEIVER, MULTI
                                     Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK             I   ,
                                     PTACOOOg5, RECEIVER, MULTI
                                     Acquisition Recorded, but not Tinely/Correct, PRECISION TACTICAL, XPM4 MKI                ,
                                     PTACOOO3s, RECEIVER, MULTI
                                     Acquisition Recorded, but not Tirnely/Correct, COLT, GOVERNMENT. CV434O6, PISTOL.45
                                     Acquisition Recorded, but not Timely/Corect, PRECISION TACTICAL, XPM4 MK2, PI-00002,
                                     RECEIVER,MULTI
                                     Acquisition Recorded, but not Tinely/Corect. PRECISION TACTICAL. XPM4 MK2, PT-00003,
                                     RECE]VER, MULTI
                                     Acquisition Recorded, but not Tirnely/Correct, PRECISION TACTICAL, XPM4 MK2, PT-00061                  ,
                                     RECEIVER, XPM4 MKI
                                     Acquisitior Recorded, but not Timely/Correct. SMITH & WESSON.5864. BSE9686,
                                     REVOLVER..357
                                     Acquisition Recorded, but not Timely/Conect, GLOCK GMBH, 27, CADZ|43US, PISTOL,40
                                     Acquisition Recorded, but not Timely/Correct, GLOCK GMBH, 27, HRY601 , FRAME ONLY,
                                     MULTI
                                     Acquisition Recorded, but Dot Timely/Correct, DUCK CREEK ARMORY,INC., PTl5-A,
                                     PTACOOI, RECEIVER, MULTI
                                     Acquisition Recorded, but not Tinrely/Correct, PRECISION TACTICAL, XPM4 MK2, PI-00001,
                                     RECEIVER, MULTI
                                     Acquisition Recorded, but not Tirnely/Correct, SILENCERCO, LLC, MAXIM 9, M9-0557,
                                     P]STOL,9
                                     Acquisition Recorded, but not Timely/Correct, SILENCERCO, LLC, MAXIM 9, M9-0558,
                                     PISTOL,9
                                     Acquisition Recorded, but not Timely/Corrcct, SILENCERCO, LLC, MAXIM 9, M9-0559.
                                     PISTOL,9
                                     Acquisition Recorded, but not Tiniely/Correct, JJCO - JOHN JOVINO CO INC., ENFIELD,
                                     UNKNOWN, F98M, RIFLE, ,303
                                     Acquisition Recorded, but not Tirlely/Correct. PRECISION TACTICAL. XPM4 MK4,
                                     PT I 5-OOI 45, RECEIVER, MULTI
                                     Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                                     PT 5.OOI 48, RECEIVER, MULTI
                                        1



                                     Acquisitiou Recorded, but not Timely/Correct, GLOCK GMBH. 22, ABNC649, PISTOL,40
                                     Acquisition Recorded, but not Tirnely/Correct, JP RIFLES, SCR-l   I,   SCNI60lIT ,RIFLE. .224
                                     VAT,KYRIE
                                     Acquisition Recorded, but not Tinrely/Correct. SAVAGE ARMS COMPAI.[Y, SUN CITY
                                     MACHINERY CO., LTD. STEVENS 3OI . I9,I493J, SHOTGUN, .4IO

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                     Acquisition Recorded, but not Timely/Correct, REMINGTON ARMS COMPAI.IY, INC.,550-l          ,
                     NSN, RIFLE,22
                     Acquisition Recorded, but not Tirnely/Correct, REMINGTON ARMS COMPANY, INC., 550-l          ,
                     NSN, RIFLE, 22
                     Acquisition Recorded, but not Timely/Correct, EASTERN ARMS, 410, 05.94210, SHOTGUN,
                     .4to
                     Acquisition Recorded, but not Tirnely/Correct, BROWNING ARMS COMPANY, MIROKU, AB3,
                     l 50232N358, RIFLE, .243

                     Acquisition Recorded, but not Timely/Corrwt, CZ-USA ,HUGLU,CZ9l2, 19A3459, SHOTGUN,
                     t2
                     Acquisition Recorded, but not Tirnely/Correct, BROWNING ARMS COMPANY, MIROKU, X-
                     BOLT, BRJPO868OYM354, RIFLE, 6.5
                     Acquisition Recorded, but not Timely/Correct, ROCK ISLAND ARMORY INC., VR80, R089921            ,
                     SHOTGUN, I2GA
                     Acquisition Recorded. but not Tirnely/Correct. REMINGTON ARMS COMPAI.IY,INC.. 870.
                     RSO8582E, SHOTGUN, I2
                     Acquisition Recorded, but not Timely/Correct, GLOCK GMBH, 17, BKPD834, PISTOL, 9
                     Acquisition Recorded, but not Timely/Correct, MOSSBERG.500, Vl 121282, OTHER, l2
                     Acquisition Recorded, bur nor Tirnely/Correct, SIG-SAUER, P365,6641 I 5858, PISTOL,9
                     Acquisition Recorded, but rot Timely/Correct, H&R I87l LLC., HAWK INDUSTRIES INC.,
                     H&R PARDNER PUMP, NZ932OI I, SHOTGUN,20
                     Acquisition Recorded, but not Tirnely/Correct, PRECISION TACTICAL, XPM4 MK4,
                     PT I'00251, RECEIVER, MULT]
                     Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                     PI I 5.00272, RECEIVER, MLILTI
                     Acquisition Recorded, but not Tirnely/Correct, PRECISION TACTICAL, XPM4 MK3. 00252,
                     RIFLE,.3OO BLK
                     Acquisition Recorded, but not Tinely/Correct, GLOCK GMBH, 35, BGXS 136, PISTOL,   4.0
                     Acquisition Recorded, but not Timely/Corr@t. SILENCERCO, LLC, OMEGA 36M,
                     OMG36M-7839, FIREARM S]LENCER, .36
                     Acquisitiou Recorded, but not Timely/Correct, SILENCERCO, LLC, OMEGA 36M,
                     OMG36M,784O, FIREARM SILENCER, .36
                     Acquisition Recorded, but uor Tiurely/Correcr, SILENCERCO. LLC, OMEGA 36M.
                     OMG36M-7841, FIREARM SILENCER, .36
                     Acquisition Recorded, but not Tirnely/Correct, SILENCERCO, LLC, OMEGA 36M,
                     OMG36M-7842, FIREARM SILENCER, .36
                    Acquisition Recorded, but not Timely/Correct. SILENCERCO, LLC, OMEGA 36M.
                    OMG36M-7843, FIREARM SILENCER, .36
                    Acquisition Recorded, but not Tirnely/Correct, SAVAGE, CUSTOM, G38990, RIFLE, .300
                    Acquisition Recorded, but not Timely/Correct, CZ (CESKA ZBROJOVKA), SHADOW 2,
                    D216638, PISTOL.9
                    Acquisition Recorded, but not Tirnely/Correct, PRECISION TACTICAL, XPM4 MK4,
                    PI I'OO3O2, RECEIVER, MULTI
                    Acqttisition Recorded, but not Tinely/Correct, PRECISION TACTICAL, XPM4 MK4,
                    I/T I 5.00335, RECEIVER. MULTI
                    Acquisition Recorded, but uot Tirnely/Correct, CENTIIRY ARMS, CANIK, TP9SF, 20AT 19914.
                    PISTOL,9
                    Acquisition Recorded, but not Timely/Corect, PALMETTO STATEARMORY, PA-15,
                    W I 000602, RECEIVER, MT]LTI
                    Acquisition Recorded, but not Tinely/Corr@t, SILENCERCO, LLC, OMEGA 36M,
                    OMG36M.8487, FIREARM SILENCER, .36
                    Acquisition Recorded, but not Timely/Correct, SILENCERCO, LLC, OMEGA 36M,
                    OMG36M-8488, FIREARM SILENCER, .36
                    Acquisition Recorded, but not Timely/Conect, SILENCERCO, LLC, OMEGA 36M,
                    OMG36M-8489, FIREARM SILENCER, .36
                    Acquisition Recorded, but not Timely/Correct, SILENCERCO, LLC, OMEGA 36M,
                    OMG36M-8490, FIREARM SILENCER, .36
                    Acquisitior Recorded, but not Tirnely/Correct. SILENCERCO, LLC, OMEGA 36M.
                    OMG36M-8630, FIREARM S]LENCER, .36
                    Acquisition Recorded, but not Timely/Correct, SILENCERCO, LLC, OMEGA 36M,
                    OMG36M-863 I, FIREARM SILENCER, .36
                    Acquisition Recorded, but not Tirrely/Corrrct, SILENCERCO, LLC, OMEGA 36M.
                    OMG36M-8632, FIREARM SILENCER,,36
                    Acquisition Recorded, but not Tirnely/Correct, SILENCERCO, LLC, OMEGA 36M,
                    OMG36M-8633, FIREARM SILENCER, .36
                    Acquisition Recorded, but not Tinrely/Correct. SILENCERCO, LLC, OMEGA 36M,
                    OMG36M-8634, FIREARM SILENCER, .36
                    Acquisition Recorded, but not Tilnely/Correct, MAVERICK ARMS,88, MV0482706, SHOTGUN,
                    l2
                    Acquisition Recorded, but not Timely/Corrst. MEGA ARMS, AR-15, MAB5452, RIFLE,5.56
                    Acquisition Recorded, but not Tirnely/Corrmt, PRECISION TACTICAL, XPM4 MK3, 00251        ,
                    RIFLE,5.56
                    Acquisition Recorded, but not Timely/Correct, SPRINGFIELD ARMORY, HS PRODUKT, XDM
                    ELITE. BY3O54I 9, PISTOL. 9
                    Acquisition Recorded, but not Tirnely/Correct, NORINCO (NORTH CHINA INDUSTRIES), 191 I ,
                    409340, PISTOL,45
                    Acquisition Recorded, but not Tinely/Correct, SILENCERCO, LLC, OMEGA 36M,
                    OMG36M.979O, FIREARM SILENCER, .36

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                     Acquisition Recorded, but not Timely/Corret, WINCHESTER, 70, 243, RIFLE,30-06
                     Acquisition Recorded, but not Tirnely/Correct, SILENCERCO, LLC, OMEGA 36M,
                     OMG36M.9365, FIREARM SILENCER, .36
                     Acquisition Recorded, but not Timely/Correct, SILENCERCO, LLC, OMEGA 36M,
                     OMG36M-9366, FIREARM SILENCER, .36
                     Acquisition Recorded, but not Timely/Correcr, BENELLI,     S.   PA., SUPER VINCI, CH004O7IP,
                     SHOTGT'N, I2
                     Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                     PT I 5-00376, RECE]VER, MULTI
                     Acquisition Recorded, but not Tirnely/Corret, SILENCERCO, LLC, OMEGA 36M,
                     OMG36M- I OI 67, FIREARM SILENCER, .36
                     Acquisition Recorded, bur not Timely/Correct, SILENCERCO, LLC, OMEGA 36M,
                     OMG36M- OI 68, FIREARM SILENCER, .36
                                1



                     Acquisition Recorded, but not Tirnely/Correct. PRECISION TACTICAL. XPCC MKI . Pf9-00024,
                     RECEIVER,MULTI
                     Acquisition Recorded, but not Timely/Correct, SMITH & WESSON, M&P 40 M2-0 COMPACT,
                     HSV573I,PISTOL,40
                     Acquisition Recorded, but not Tinely/Correct. BROWNING, CITORI 725 , 175272V l3l          ,

                     SHOTGTIN. I2
                     Acquisition Recorded, but not Tirnely/Correct, SPRINGFIELD ARMORY INC, HS PRODUKT,
                     XDM.IO, BY332578, PISTOL, IO
                     Acquisition Recorded, but not Timely/Correct. MOSSBERG, NEW HAVEN 600, H197565,
                     SHOTGUN.20
                     Acquisition Recorded, but not Tirnely/Correct, PRECISION TACTICAL, XPM4 MK3, 00345,
                     R]FLE,5.56
                     Acquisition Recorded, but rot Timely/Correct. PRECISION TACTICAL, XPM4 MK3, 00346,
                     R]FLE,5.56
                     Acquisition Recorded, but not Tirnely/Correct, PW ARMS, 1895 NAGANT,06005, REVOLVER,
                     7.62X38
                     Acquisition Recorded, but not Timely/Correct, REMINGTON ARMS COMPANY, INC., 45,
                     I64184, SHOTGUN, I2
                     Acquisition Recorded, but not Tirnely/Correct. SIG-SAUER, P320, 58Hl 19712, PISTOL,9
                     Acquisition Recorded, but not Timely/Correct, RUGER, PRECISION RIFLE, 84O-134-52, RIFLE,
                     .22
                     Acquisition Recorded, but not Timely/Correct, GLOCK GMBH, NONE, BFPL56l , FRAME
                     ONLY,MULTI
                     Acquisition Recorded, but not Tinrely/Correct, GLOCK GMBH, NONE, BHGLl98, FRAME
                     ONLY,MULTI
                     Acquisition Recorded, but not Timely/Conect, GLOCK GMBH,           19,   BNKH559, PISTOL, 9
                     Acquisition Recorded, but not Timely/Correct, KIMBER, STAINLESS PRO CARRY II,
                     KRl273l9, PISTOL, .4s
                     Acquisitiou Recorded, but not Timely/Correct. PRECISION TACTICAL, MK4 MK4, PI15-0O179,
                     RIFLE..223 WYLDE
                     Acquisition Recorded, but not Tirnely/Correct, MOSSBERG, 500, T80O708, SHOTGUN, l2
                     Acquisitior Recorded, but not Timely/Correct. GLOCK GMBH.22 (UNMARKED), ZMR69l                  ,
                     FRAMEONLY,MULTI
                     Acquisition Recorded, but not Tirnely/Correct, PALMETTO STATE ARMORY, PA-15,
                     SC8016227, RECEIVER, MULTI
                     Acquisition Recorded, but not Tinely/Correct, SMITH & WESSON, M&P 40 PRO SERIES,
                     NEDIT6I, PISTOL,40
                     Acquisition Recorded, but not Tirnely/Corrat, CENTURY ARMS, CANIK, TP-9SF ELITE,
                     2OBHI I I65, PISTOL,9
                     Acquisition Recorded, but not Timely/Correct, SPRINGFIELD ARMORY, HS PRODUKT, XDM
                     ELITE, 8Y254480, PISTOL, 9
                     Acquisition Recorded, but lot Timely/Corrrct, GLOCK GMBH,35, BGXSl36, PISTOL,40
                     Acquisition Recorded, but rot Tinely/Correct, SILENCERCO, LLC, OMEGA 36M,
                     OMG36M-I I I70, FIREARM SILENCER, "36
                    Acquisition Recorded, but not Tirlely/Corrrct, BROWNING ARMS COMPANY, MIROKU. A-
                    BOLT, 70703MX65 r, RIFLE, .30-06
                     Acquisition Recorded, but not Timely/Conect, SPIKE   S   TACTICAL LLC, TIIE JACK,,{21 859,
                     RECEIVER, MULTI
                    Acquisition Recorded, but not Tirnely/Corrct, MOSSBERG. 590,         Vl2l   107, OTHER,   l2GA
                    Acquisition Recorded, but not Tirnely/Correct, MOSSBERG,59O,yl2llO"73, OTHER, l2GA
                    Acqnisition Recorded, but not Timely/Correct, SMITH & WESSON. M&P BODYGUARD 380,
                    NHDOI I7, PISTOL, 380
                    Acquisition Recorded, but not Tirnely/Conect, BRAVO COMPAI.IY MFG INC., BCM4,,{083193,
                    RIFI-E,.223 WYLDE
                    Acquisition Recorded, but not Timely/Correct, ANDERSON MANUFACTURING,AM-15,
                    20102364, RIFLE,556
                    Acquisition Recorded, but not Tirnely/Correct, CZ (CESKA ZBROJOVKA), SCORPION EVO 3
                    s1, c925405, PISTOL, 9
                    Acquisition Recorded, but not Timely/Correct,AERO PRECISION INC., M5, US151789,
                    RECEIVER, MULTI
                    Acquisition Recorded, but not Timely/Correct, AERO PRECISION INC., M5, USl5l790,
                    RECEIVER, MULTI
                    Acquisition Recorded, tlut not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                    PT 5-00434, RECEIVER, MULTI
                       1



                    Acquisition Recorded, but not Tirnely/Correct, PRECISION TACTICAL, XPM4 MK4,
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                     PT   I5.00442, RECEIVER, MULTI
                     Acquisition Recorded, but not Timely/Corrcct, SDS IMPORTS, HUBEI JIANGHUA, LYNX t2,
                     LHOI3693, SHOTGUN, 12
                     Acquisition Recorded, but not Timely/Correct. PRECISION TACTICAL, XPM4 MK4,
                     PIl5-0o4ol , RECEIVER. MUL-TI
                     Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                     PT I 5-00476, RECEIVER, MULTI

                     Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                     PT I 5-00487, RECEIVER. MULTI
                     Acquisition Recorded, but not Tirnely/Corr@t, MOSSBERG,59O,Vl24l5O7, OTHER, l2GA
                     Acquisition Recorded, but not Tinrely/Correct, CANYON ARMS, LANDOR ARMS, LNDI 17,
                     LNDO274O, SHOTGUN, I2
                     Acquisition Recorded, but uot Timely/Corrat, SPIKE   S   TACTICAL LLC, STl5, SCR081813,
                     RIFLE,556
                     Acquisition Recorded, but not Timely/Correct, GFORCE ARMS, RADIKAL ARMS, GFP3,
                     20-31052, SHOTGUN, l2
                     Acquisition Recorded, but not Timely/Conect. DICKINSON ARMS, KOMANDO, XX3D,
                     20331 I 1265, SHOTGUN, 12
                     Acquisition Recorded, but not Timely/Correct, HATSAN USA, HATSAN ARMS CO, ESCORT
                     DFl2, 907881, SHOTGUN, l2
                     Acquisition Recorded, but not Tirnely/Correct, COLT. CARBINE, CR040828, RIFLE,5.56
                     Acquisition Recorded, but not Tirnely/Correct, JTS, CHONGQING JIANSHE INDUSTRY
                     GROUP. MI2AR, MR2OOO62OG. SHOTGUN, I2
                     Acquisition Recorded, but not Tinrely/Correct, CENTURY ARMS, CAMK. TP9SFX, 208C65694,
                     P]STOL.9
                     Acquisition Recorded, but not Timely/Correct, CENTIJRY ARMS, CANIK, TP9SFX, 208C65696,
                     P]STOL,9
                     Acquisition Recorded, but not Timely/Corrrct. CENTURY ARMS, CANIK. TP9SFX, 20BC65698,
                     P]STOL.9
                     Acquisition Recorded, but not Tirnely/Corrrct, PRECISION TACTICAL, XPM4 MK4,
                     PT I 5-00564. RECEIVER, MULT]
                     Acquisition Record€d, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                     PT I 5-00567, RECEIVER. MULT]
                     Acquisition Recorded, but uot Timely/Conect, PRECISION TACTICAL, XPM4 MK4,
                     PT 1'00569, RECEIVER, MULTI
                     Acquisition Recorded, but not Timely/Correct, STEVENS, NONE, H1663, SHOTGUN,20GA
                     Acquisition Recorded, but not Tirnely/Correct, PRECISION TACTICAL, XPM4 MK4,
                     PT 1'00576. RECEIVER, MULTI
                     Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                     PT IAOO577, RECEIVER, MULTI
                     Acquisition Recorded, but not Tirnely/Corrrct, PRECISION TACTICAL, XPM4 MK4,
                     PT I 5-00578. RECEIVER. MTILTI

                     Acquisitior Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                     PI I 5-00579, RECEIVER, MULTI
                     Acquisition Recorded, but not Timely/Correct. PRECISION TACTICAL. XPM4 MK4,
                     PT I 5-OO58O. RECEIVER. MULT]

                     Acquisition Recorded, but not Tirnely/Correct, PRECISION TACTICAL, XPM4 MK4,
                     PI I 5-00581, RECEIVER, MULTI
                     Acquisition Recorded, but not Timely/Correct. PRECISION TACTICAL. XPM4 MK4,
                     PT I 5-00582, RECEIVER. MULTI
                     Acquisition Recorded, but not Tirnely/Correct, PRECISION TACTICAL, XPM4 MK4,
                     PT 5-00583, RECEIVER, MULTI
                          1



                     Acquisition Recorded, but not Timely/Correct. PRECISION TACTICAL, XPM4 MK4,
                     PTI 5.00584. RECEIVER, MULTI
                     Acquisition Recorded, but not Timely/Conect, PRECISION TACTICAL, XPM4 MK4,
                     PT I 5-00585, RECEIVER, MULT]
                     Acquisition Record€d, but not Timely/Corect, PRECISION TACTICAL, XPM4 MK4,
                     PT I 5-00586, RECEIVER. MIILT]

                     Acquisition Recorded, but not Timely/Coruect, PRECISION TACTICAL, XPM4 MK4,
                     PT I 5-00587, RECEIVER, MULTI

                     Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                     I'I I 5-00588, RECEIVER, MULTI
                     Acquisition Recorded, but not Tim€ly/Correct, PRECISION TACTICAL, XPM4 MK4,
                     Pf I 5-00589, R ECEIVER, MLILTI
                     Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                     Pf I'OO59O, R ECEIVER, MULTI
                     Acquisition Recorded, but uot Timely/Corr@t, PRECISION TACTICAL, XPM4 MK4,
                     PI' I 5-OO59I , RECEIVER, MULTI
                     Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                     PT I5-00592, RECEIVER. MULTI
                     Acquisition Recorded, but not Tirnely/Conect. PRECISION TACTICAL. XPM4 MK4.
                     PT I5.00593, RECEIVER, MT]LTI
                     Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                     Pf I 5-00594, RECEIVER. MULTI
                     Acquisition Recorded, but not TiDrely/Correct. PRECISION TACTICAL. XPM4 MK4,
                     I'T ]'00595. RECEIVER. MULTI
                     Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                     PT I 5-00596, RECE]VER, MT]LTI


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                         Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                         PT I'00597, RECE]VER. MTILTI
                         Acquisition Recorded, but not Timely/Corret, PRECISION TACTICAL, XPM4 MK4,
                         r'TI 500598, RECEIVER, MULTI
                         Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                         PTI'00599, RECEIVER, MULTI
                         Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                         PT I'00600, RECEIVER, MULTI

                         Acquisition Recorded, but not Timely/Correct, EAA CORP. - EUROPEAN AMERICAN
                         ARMORY, AKKAR, 612, 20066387, SHOTGUN, I2
                         Acquisition Recorded, but not Timely/Corrrct, EAA CORP. - EUROPEAN AMERICAN
                         ARMORY, AKKAR, 612, 2006648I, SHOTGUN, 12
                         Acquisition Recorded, but not Timely/Conect, COLT, CARBINE, CR043845, RIFLE, 5.56
                         Acquisition Recorded, but nor Tirnely/Conect. PRECISION TACTICAL. XPM4 MK4,
                         PT 5-00626. RECEIVER. MTILTI
                              1



                         Acquisition Recorded, but not Timely/Correct, BERETTA USA, TIKKA, T3X,206'732,FJFLE,
                         308
                         Acquisition Recorded, but not Timely/Correct, ARMALITE. AR l0A. l0-004579. RIFLE, 308
                         Acquisition Recorded, but not Timely/Correct, SPIKE S TACTICAL LLC, ST15, NSL135775,
                         RIFLE,3OO
                         Acquisition Recorded, but not Timely/Correct. DICKINSON ARMS, KOMANDO, CK212TP,
                         20501 186l. SHOTGUN, 12
                         Acquisition Recorded, but not Timely/Correct, SILENCERCO, LLC, OMEGA 36M,
                         OMG36M- I 3249, FIREARM SILENCER, .36
                         Acquisition Recorded, but not Timely/Correct, LSI (LEGACY SPORTS INTERNATIONAL),
                         FRANCOLIN ARMS, CITADEL PAX.20-86060, SHOTGUN. 12GA
                         Acquisition Recorded, but not Timely/Conect, COLT, GOLD CUP NATIONAL MATCH, I 1933-
                         NM. PISTOL,45
                         Acquisition Recorded, but not Timely/Correct, BERGARA USA (BP FIREARMS LLC), DIKAR,
                         B 4, 6l -0G2 I 0878-20, RIFLE, .308
                          1



                         Acquisition Recorded, but not Tirnely/Corrrct, BRAZTECH INTERNATIONAL LC (ROSSD,
                         CB C (COMPANHIA BRAZILIERA DE CARTUCHOS), RS22L. 7CA2 I 07 OzP, RIFI-E,,22

                         Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                         2031 I 16002,   sHorGUN,   12
                         Acquisition Recorded, but not Tirnely/Conect, DICKINSON ARMS, KOMANDO, XX3B,
                         2031 I 1600t. SHOTGUN, 12
                         Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO,     XX3B,
                         2031 I 16489, SHOTGUN, l2
                         Acquisition Record€d, but not Tirnely/Correct, DICKINSON ARMS, KOMANDO,    XX3B,
                         2031 I 16476, SHOTGUN, 12
                         Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO,     XX3B,
                         2031 r 16473, SHOTGUN, 12
                         Acquisition Recorded, but not Tirrcly/Correct, DICKINSON ARMS, KOMANDO.    XX3B,
                         2031 I 16045, SHOTGUN, l2
                         Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO,     XX3B,
                         2031 I t6046, SHOTGUN, 12
                         Acquisition Recorded, but not Timely/Correct. DICKINSON ARMS, KOMANDO,     XX3B,
                         2031 l 16047,SHOTGUN, l2
                         Acquisition Recorded, but rot Timely/Correct, DICKINSON ARMS, KOMANDO,     XX3B,
                         2031 l 16023, SHOTGUN, 12
                         Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO.     XX3B.
                         203t r t6030.SHOTGUN. l2
                         Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO,     XX3B,
                         2031 I 1603l,SHOTGUN, l2
                         Acqnisition Recorded, but not Timely/Corat. DICKINSON ARMS, KOMANDO,       XX3B.
                         2031 1 16032, SHOTGUN, 12
                         Acquisition Recorded, but not Tirnely/Correct, DICKINSON ARMS, KOMANDO,    XX3B,
                         2031 1 16021, SHOTGUN, l2
                         Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO,     XX3B,
                         2031 116022,SHOTGUN, l2
                         Acquisition Recorded, but not Tirnely/Correct, DICKINSON ARMS, KOMANDO,    XX3B,
                         203r l 16024, SHOTGUN, 12
                         Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO,     XX3B,
                         2031 I 15997, SHOTGUN, 12
                         Acquisition Recorded, but not Timely/Corrrct, DICKINSON ARMS, KOMANDO,     XX3B,
                         2031 I 15998, SHOTGUN, l2
                         Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO,     XX3B,
                         2031 l 16451, SHOTGUN, 12
6
                         Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO,     XX3B,
                         2031 I 15450, SHOTGUN, l2
                         Acquisition Recorded, bul not Tinrely/Correct, DICKINSON ARMS, KOMANDO,    XX3B,
                         203lll@9,SHOTGUN,          12
                         Acquisition Recorded, but not Timely/Confft, DICKINSON ARMS, KOMANDO. XX3B,
                         2031 r 16452, SHOTGUN, I2
                         Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                         2031 I 16485, SHOTGUN, t2
                         Acquisition Recorded, but not Tirnely/Correct. DICKINSON ARMS, KOMANDO, XX3B.
                         2031 I 16488. SHOTGUN, l2


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                     Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     2031 I 16487, SHOTGUN, l2
                     Acquisition Recorded, but not Tirnely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     2031I 1986, SHOTGUN, 12
                     Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     2031 I 16505, SHOTGUN, 12
                     Acquisition Recorded, but not Tirnely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     2031 I 16506, SHOTGUN, 12
                     Acquisition Recorded, but   Dot   Tinrely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     2031 I l6s07,SHOTGUN,       l2
                     Acquisition Recorded, but not Timely/Corret, DICKINSON ARMS, KOMANDO, XX3B,
                     2031 I 16508, SHOTGUN, 12
                     Acquisition Recorded, but rot Timely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     203ll1604r,SHOTGUN, l2
                     Acquisition Recorded, but not Timely/Concct. DICKINSON ARMS, KOMANDO. XX3B.
                     2031 I 16042. SHOTGUN, l2
                     Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     2031 I 16043, SHOTGUN, 12
                     Acquisition Recorded, but not Tirnely/Correct. DICKINSON ARMS, KOMANDO. XX3B,
                     2031 r 16044. SHOTGUN, 12
                     Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     2031 I 1644r, SHOTGUN, l2
                     Acquisition Recorded, but not Timcly/Correct. DICKINSON ARMS, KOMANDO. XX3B,
                     2031 I 16442, SHOTGUN, l2
                     Acquisition Recorded, but not Tirnely/Corect, DICKINSON ARMS, KOMANDO, XX3B,
                     2031 I 16443, SHOTGUN, 12
                     Acqtdsition Recorded, but not Timely/Correct. DICKINSON ARMS, KOMANDO, XX3B.
                     2031 l 16444, SHOTGUN, 12
                     Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     2031 I t6000, SHOTGUN, 12
                     Acqnisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO.XX3B.
                     203 l r r6474. SHOTGUN. l2
                     Acquisition Recorded, but uot Tirnely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     2031 I 16475. SHOTGUN, l2
                     Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     2031 I 1650l,SHOTGUN, t2
                     Acquisition Recorded, but not Tirnely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     2031 I 16502, SHOTGUN, l2
                     Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     2031 I 16060, SH0TGUN, 12
                     Acquisiiion Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     2031 I 16499, SHOTGUN, 12
                     Acquisition Recorded, but not Tinely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     2031 I 16500, SHOTGUN, 12
                     Acquisition Recorded, but not Tirnely/Corrcct. DICKINSON ARMS, KOMANDO, XX3B,
                     20311165(X. SHOTGUN, l2
                     Acquisition Recorded, but rot Timely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     2031 I 16048, SHOTGUN, l2
                     Acquisition Recorded, but not Timely/Correct. DICKINSON ARMS. KOMANDO. XX3B,
                     2031 I 16058, SHOTGUN, l2
                     Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     203 I I 16057, SHOTGUN, l2
                     Acquisitior Recorded, but not Timely/Conect. DICKINSON ARMS, KOMANDO, XX3B.
                     203 1 I 16003, SHOTGUN, 12
                    Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                     2031 I t6004,   sHorGUN, t2
                    Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO. XX3B.
                    203r I 16059, SHOTGUN, l2
                    Acquisition Recorded, but not Tirnely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                    2031 I 16503, SHOTCUN, t2
                    Acquisition Recorded, but not Timely/Correct. DICKINSON ARMS, KOMANDO, XX3B.
                    2031 1 15999, SHOTGUN, l2
                    Acquisition Recorded, but not Tirnely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                    2031 I 16029, SHOTGUN, 12
                    Acquisition Recorded, but not Timely/Correct. DICKINSON ARMS, KOMANDO. XX3B.
                    2031 I 16498, SHOTGUN, 12
                    Acquisition Recorded, but not Tirnely/Conect, DICKINSON ARMS, KOMANDO, XX3B,
                    2031 I 16497, SHOTGUN, l2
                    Acquisition Recorded, but not Tinely/Corr@t, DICKINSON ARMS, KOMANDO, XX3B,
                    203 | I I 6492,SHOT GUN, I 2
                    Acquisition Recorded, but not Timely/Correct, DICKINSON ARMS, KOMANDO, XX3B,
                    2031 I 16491, SHOTGUN, 12
                    Acquisition Recorded, but not Tinely/Corrcct, DICKINSON ARMS, KOMANDO, XX3B,
                    2031 I 16490, SHOTGUN, 12
                    Acquisition Recorded, but not Tirnely/Conect, LSI (LEGACY SPORTS INTERNATIONAL),
                    HOWA, 1500, 8603698. RIFLE, 6.s
                    Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                    PT I'00680, RECEIVER, MULTI
                    Acquisition Recorded, but not Timely/Correct, MOSSBERG,   5O0,   L987138, SHOTGUN,   l2
                                          PagelloflS
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                     Acquisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                     PT I 5-00776, RECEIVER, MTILTI
                     Acquisition Recorded, but not Tinrely/Correct, COLT. KING COBRA, RA236623, REVOLVER,
                     357
                     Acquisition Recorded, but not Timely/Correct, GLOCK GMBH, 17, BRMP374, PISTOL,9
                     Acquisitior Recorded, but not Timely/Correct, PRECISION TACTICAL. XPM4 MK4,
                     PTI          RIFLE, .223 WYLDE
                        '00537,Recorded, but not Tirnely/Corrret, BLACK ACES TACTICAL, HAMLE AV
                     Acquisition
                     TUFEKLERI, PRO SERIES IO,2O-PSXI I.58I, SHOTGUN, I2GA
                     Acquisition Recorded, but not Timely/Correct, SILENCERCO, LLC, OMEGA 36M.
                     OMG36M-14661. FIREARM S]LENCER, .36
                     Acquisition Recorded, but not Tirnely/Correct, SILENCERCO, LLC, OMEGA 36M,
                     OMG36M. 14662, FIREARM S]LENCER, .36
                     Acqnisition Recorded, but not Timely/Correct. SILENCERCO, LLC, OMEGA 36M.
                     OMG36M-I.{663. FIREARM SILENCER. .36
                     Acquisition Recorded, but not Tirnely/Conect, SILENCERCO, LLC, OMEGA 36M,
                     OMG36M- 1469, FIREARM SILENCER, .36
                     Acquisition Recorded, but not Timely/Correct, SILENCERCO, LLC, OMEGA 36M,
                     OMG36M-121665. FIREARM SILENCER..36
                     Acquisition Recorded, but uot Tirnely/Corrrct, FOUR PEAKS IMPORTS, TOROS ARMS
                     (TOROS SILAH SANAYT), COPOLLA SA-1212.21SA-oss3, SHOTGUN, r2GA
                     Acquisition Recorded, but not Timely/Correct, MOSSBERG, 590, V l3l44Ol , OTHER, l2GA
                     Acquisition Recorded, but not Tirnely/Corrrct, CHIAPPA FIREARMS LTD, DAYTON, OH,
                     MERAK,60l DPS,2OSAI2S-I I3I, SHOTGUN, I2GA
                     Acquisition Recorded, but not Timely/Correct, DIAMONDBACK ARMS INC., DB-15,
                     D82470609, RIFLE,556
                     Acquisition Recorded. but not Tinely/Correct. MOSSBERG.   5O0.   K802437. SHOTGUN,410
                     Acquisition Recorded, but not Timely/Correct, MOSSBERG, 500, V I 279606, OTHER, I 2GA
                     Acquisition Recorded, but not Timely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2l l 2365r, RIFLE. ss6
                     Acquisition Recolded, but not Timely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2n23652,RIFLE,5s6
                     Acquisition Recorded, but not Timely/Correct. ANDERSON MANUFACTURING, AM- 15,
                     2t 123653, RIFLE. 556
                     Acquisition Recorded, but not Tirnely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2tt23654,RIFLE,556
                     Acquisition Recorded, but not Tinrely/Correct, ANDERSON MANLIFACTURING, AM-15,
                     21 123655, RIFLE.556
                     Acquisition Recorded, but not Tirnely/Corrcct, ANDERSON MANUFACTURING, AM-15,
                     2l I 23656, RIFLE, 556
                     Acquisition Recorded, but not Timely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2n23657,RIFLE,556
                     Acquisition Recorded, but not Timely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2l l 23658, RIFLE, 556
                     Acquisition Recorded, but not Tinely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2r 123659, RIFLE,556
                     Acquisition Recorded, but uot Tinrely/Corrrct,ANDERSON MANUFACTURING, AM-15,
                     2t123660,RIFLE,556
                     Acquisition Recorded, but not Tinely/Correct, ANDERSON MANUFACTURING, AM-15,
                     21 123661 , RIFLE, 556

                     Acquisition Recorded, but not Tirnely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2t t23662,RIFLE,556
                     Acquisition Recorded, but not Timely/Correct, ANDERSON MANUFACTURING, AM-15,
                     21 123663, RIFLE,556

                     Acquisition Recorded, but notTirnely/Corret.ANDERSON MANUFACTURING, AM-15.
                     2l123664,RIFLE.556
                     Acquisition Recorded, but not Timely/Correct, ANDERSON MANUFACTURING, AM-15,
                     21 12366s, RIFLE,556

                     Acquisition Recorded, but not Tim€ly/Correct. ANDERSON MANUFACTURING, AM-15.
                     21 123666, RIFLE.556

                     Acquisition R€corded, but not Tinely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2fi2366'7,RIFLB556
                     Acquisition Recorded, but not Timely/Correct, ANDERSON MANLIFACTURING, AM-15,
                     21 123668, RIFLE.556

                    Acquisition Recorded, but not Tirnely/Conect, ANDERSON MANUFACTURING, AM-15,
                    21123669,RIFLE,556
                    Acquisition Recorded, but not Timely/Correct, ANDERSON MANUFACTURING, AM-15,
                    21 123670, RIFLE.556

                    Acquisition Recorded, but not Tirnely/Corrcct, ANDERSON MANUFACTURING, AM-15,
                    21 123671 , RIFLE,556

                    Acquisition Recorded, but not Timely/Correct, ANDERSON MANUFACTURING, AM-15,
                    21123672,RIFLE, s56
                    Acquisition Recorded, but not Timely/Correct, ANDERSON MANUFACTURING,AM-15,
                    2tt2s6'73,RIFLE,556
                    Acquisition Recorded, but not Tinely/Correct, ANDERSON MANUFACTURING, AM-15,
                    2t t236',74,RIFLE,556
                    Acquisition Recorded, but not Timely/Correct, ANDERSON MANUFACTURING, AM-15,
                    21t23675,FJFLE,556

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                     Acquisition Recorded, but not Timely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2t123676,RIFLE.556
                     Acquisitiotr Recorded, but not Tirnely/Correct, ANDERSON MANUFACTURING, AM-15,
                     21123677,RIFLE,556
                     Acquisition Recorded, but notTimely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2t l2367a,R.IFLE,556
                     Acquisition Recorded, but not Tirnely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2n23679,RIFLE,556
                     Acquisition Recorded, but not Tinely/Corrrct, ANDERSON MANUFACTURING, AM-15,
                     21 123680, RIFLE,556

                     Acquisition Recorded, but uot Tirnely/Correct, ANDERSON MANUFACTURING, AM-15,
                     21 123681 . RIFLE,556

                     Acquisition Recorded, but not Tinely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2t 1236a2,RIFLE,556
                     Acquisition Recorded. but not Tiurely/Corrat. ANDERSON MANUFACTURING, AM-15.
                     21 123683, RIFLE,556

                     Acquisition Recorded, but not Timely/Correct, ANDERSON MANUFACTURING, AM-15,
                     21 123684, RIFLE,556

                     Acquisitior Recorded, but not Timely/Corrcct, ANDERSON MANUFACTURING,AM-15.
                     21 123685, RIFLE,556

                     Acquisition Recorded, but not Timely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2r r 23686, RIFLE, 556
                     Acquisition Recorded, but not Tinrely/Corrcct, ANDERSON MANLIFACTURING, AM-15.
                     2l 123688, RIFLE.556
                     Acquisition Recorded, but not Tirfiely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2l I 23689, RIFLE,556
                     Acquisition Recorded, but not Timely/Correct, ANDERSON MANUFACTURING, AM-15.
                     2l I 23690, RIFLE. 556
                     Acquisition Recorded, but not Timely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2l 123691, RIFLE,556
                     Acquisition Recorded, but not Timely/Correct. ANDERSON MANUFACTURING, AM-15,
                     2tt23692,RIFLE.556
                     Acquisition Recorded, but not Tirnely/Corrrct, ANDERSON MANUFACTURING,AM-15,
                     2l l 23693, RIFLE, 556
                     Acqttisition Recorded, but not Timely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2n23694,RIFLE.556
                     Acquisition Recorded, but not Tirnely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2l r 23695, RIFLE, 556
                     Acquisition Recorded, but not Timely/Correct, ANDERSON MANLIFACTURING, AM-15,
                     2l 123696, RIFLE,556
                     Acquisition Recorded, but not Tirnely/Correct, ANDERSON MANTIFACTURING, AM- 15,
                     21123697   ,RIFLE,556
                     Acquisition Recorded, but not Timely/Correct, ANDERSON MANUFACTURING, AM-15,
                     2l I 23698, RIFLE, 556
                     Acquisition Recorded, but not Tirnely/Correct, ANDERSON MANLIFACTURING, AM-15,
                     2t t73699,RIFLE, 556
                     Acquisition Recorded, but not Tinely/Correct, ANDERSON MANUFACTURING, AM-15,
                     21 123700, RIFLE,556

                     Acquisition Recorded, but not Timely/Correct. MAVERICK ARMS,88, MV0631575, OTHER.
                     I2GA
                     Acquisition Recorded, but not Timely/Correct, MOSSBERG,59O,V 1322791 , OTHER, l2GA
                     Acquisition Recorded, but not Timely/Correct, PW ARMS, PANZER ARMS. AR l2 PRO,
                     MT-2I-00647. SHOTGUN, I2GA
                     Acquisition Recorded, but not Timely/Correct, PW ARMS, PANZER ARMS, AR       12   PRO,
                     MT-2I-00648, SHOTGUN, I2GA
                     Acquisition Recorded, but not Timely/Correct, PW ARMS, PANZER ARMS, AR l2 PRO,
                     MT-21-00649. SHOTGUN. I2GA
                     Acquisition Recorded, but not Timely/Correct, PW ARMS, PANZER ARMS, AR 12 PRO,
                     MT-21-00650, SHOTGUN, I2GA
                     Acquisition Recorded, but notTimely/Correct, CAI (CENTURY ARMS), ROMARM/CUGIR.
                     wASR- 0. 2rA r -88 135, R1FLE, 7 A
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                     Acquisition Recorded, but rot Tirnely/Corrcct, DIAMONDBACK ARMS INC., DB-15,
                     DB2r63086, RIFLE, 556
                     Acquisition Recorded, but not Timely/Correct, SPRINGFIELD ARMORY, HS PRODUKT,
                     HELLCAT, 8,4283325, PISTOL, 9
                     Acquisition Recorded, but uot Timely/Corrrct, GLOCK GMBH, 19, BTNP627, PISTOL, 9
                     Acquisition Recorded, but not Tinrely/Correct, GLOCK GMBH, 19, BTNP628, PISTOL, 9
                     Acquisition Recorded, but not Tirnely/Corrrct, GLOCK GMBH,19,BTYZ529,PISTOL,9
                     Acquisition Recorded, but not Tirnely/Corect, GLOCK GMBH, 19, BTPZ653, PISTOL, 9
                     Acquisition Recorded, but not Timely/Correct. GLOCK GMBH.   19,   BTPZ656, PISTOL. 9
                     Acquisition Recorded, but not Timely/Correct, CHRISTENSEN ARMS, l4,7M13l22,RIFLE,6.5
                     Acquisition Recorded, but not Timely/Correct, COLT, GOVERNMENT MODEL, GV020750,
                     PISTOL,45
                     Acquisition Recorded, but not Tinely/Correct, SPRINGFIELD ARMORY, HS PRODUKT,
                     HELLCAT, 8.4298452, PISTOL, 9
                     Acquisition Recorded, but not Timely/Corrrct, GLOBAL ORDNANCE, GRAND POWER S.R.O.,
                     STIRBOG SP9AI, GSAI6622, PISTOL,9
                    Acquisition Recorded, but not Timely/Corret, BERGARA USA, DIKAR, B14,61-0600893C21,
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                     RIFLE.6.5
                     Acquisition Recorded, but not Timely/Correct, EAA CORP. - EUROPEAN AMERICAN
                     ARMORY, GIRSAN, MC 3 I 2, I 2.121Y T -29 5, SHOTGUN, 2        1



                     Acquisition Recorded, but not Tinely/Correct, DESERT TECH LLC., MDR, MDRO02374, RIFLE,
                     .223   WYLDE
                     Acquisition Recorded, but not Tirnely/Correct, FREEDOM ORDNANCE MANUFACTIJRING,
                     FX-9, 043775, PISTOL. 9
                     Acquisition Recorded, but not Tinrely/Correct, CAI (CENTURY ARMS), ROMARM/CUGIR,
                     wA sR- 1 0. 2 A l -89457, RIFLE, 7 62
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                     Acquisition Recorded, but not Timely/Corrrct, SPRINGFIELD ARMORY, HS PRODUKT,
                     HELLCAT, BA2I4620, PISTOL, 9
                     Acquisition Recorded, but not Timely/Correct, CHIAPPA FIREARMS, NOVA MODUL, RAK-9,
                     RON2r32a99, RIFLE, 9
                     Acquisition Recorded, but uot Tirnely/Corrrct, SPRINGFIELD ARMORY, HS PRODUKT,
                     HELLCAT, BA32MI5, PISTOL, 9
                     Acquisition Recorded, but not Timely/Correct, ROCK ISLAND ARMORY, ALFA-PROJ SPOL
                     S.R.O., AL 3I, ALFA 132624, REVOLVER, .357
                     Acquisition Recorded, but not Timely/Conect, MOSSBERG, 590, V 1338633, OTHER, I 2GA
                     Acquisition Recorded, but not Timely/Correct, MOSSBERG, 590, V I 345327, OTHER, I 2GA
                     Acquisition Recorded, but not Timely/Correct, IMPACT PRECISION, 737R, R3617, RIFLE, .223
                     Acquisition Recorded, but not Tirnely/Conect, KARRI'S GUNS (PODUNK, INC.), KGl5, S01709,
                     RECEIVER, MULTI
                     Acquisition Recorded, but not Timely/Correct. MOSSBERG. 590. V I 352941 , OTHER, I 2GA
                     Acquisition Recorded, but not Tirnely/Corrrct, SPRINGFIELD ARMORY, HS PRODUKT,
                     HELLCAT, 8A6I I05, PISTOL, 9
                     Acquisition Recorded, but not Timely/Correct, SPRINGFIELD ARMORY, HS PRODUKT,
                     }IELLCAT, BA2I 4804, PISTOL, 9
                     Acquisition Recorded, but not Tirnely/Corrrct, GLOCK GMBH,35, RZM602, PISTOL,40
                     Acquisition Recorded, but not Timely/Correct, BERGARA, DIKAR, B 14, 6l-O6-2lOaO7-2O,
                     RIFLE,.308
                     Acquisition Recorded, but not Tirnely/Concct. PWS (PRIMARY WEAPON SYSTEMS), MKI,
                     w06129. RIFLE.556
                     Acquisition Recorded, but not Timely/Correct, REMINGTON RAND INC., M l9l lA I US ARMY,
                     1383454, PISTOL, .45
                     Acquisition Recorded, but rot Tirnely/Correct. SPIKE S TACTICAL LLC. ST 15, DTOMI 1030,
                     RECEIVER, MULT]
                     Acquisition Recorded, but not Timely/Correct, SPIKE S TACTICAL LLC, ST 15. DTOMl 1032,
                     RECEIVER,MULT]
                     Acquisition Recorded, but not Timely/Correct. SPIKE    S   TACTICAL LLC, STl5, DTOMI 1035,
                     RECEIVER, MULTI
                     Acquisition Recorded, but not Timely/Correct, SPIKE    S   TACTICAL LLC, STl5, DTOMl 1044,
                     RECEIVER, MULTI
                     Acquisition Recorded, but not Timely/Correct, SPIKE    S   TACTICAL LLC. STl5, DTOMI 1045,
                     RECEIVER, MULTI
                     Acquisition Recorded, but not Tirnely/Correct, SPIKE   S   TACTICAL LLC, STl5, DTOMI 1046,
                     RECEIVER, MULTI
                     Acquisition Recorded, but rot Timely/Correct, SPIKE    S   TACTICAL LLC, ST 15, DTOMI 1047,
                     RECE]VER, MULTI
                     Acquisition Recorded, but uot Timely/Conect, SPIKE     S   TACTICAL LLC, STl5, DTOMI 1048.
                     RECEIVER, MULTI
                     Acquisition Recorded, but not Timely/Correct, SPIKE'S TACTICAL LLC, STl5, DTOMI 1049,
                     RECEIVER, MULTI
                     Acquisition Recorded, but not Timely/Conect, SPIKE S TACTICAL LLC, ST15, DTOMI 1058,
                     RECEIVER, MULTI
                     Acquisition Recorded, but not Timely/Correct, SPIKE S TACTICAL LLC, STl5, DTOMI 1059,
                     RECE]VER, MULTI
                     Acquisition Recorded, but not Tilnely/Corrrct, COLT, KING COBRA, RA255177, REVOLVER,
                     357
                     Acquisition Recorded, but not Timely/Correct, DDI, AMD65, 01373, RIFLE,7.62
                     Acquisition Recorded, but not Timely/Correct, MOSSBERG, 590. V 354740. OTHER, l 2ga
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                     Acquisition Recorded, but not Timely/Correct, MOSSBERG,590,V 1361457, OTHER, l2ga
                     Acquisition Recorded, but not Timely/Corrrcf , MOSSBERG. 590. V1366960, OTHER, l2
                     Acquisition Recorded, but not Tilnely/Correct, MOSSBERG, 590, V1367148, OTHER, l2ga
                     Acquisition Recorded, but not Timely/Correct, MOSSBERG, 590, V1375450, OTHER, 12ga
                     Acquisition Recorded. but not Tirnely/Corret. MAUSER, UNKNOWN. 56632. PISTOL, .25
                     Acquisition Recorded, but not Timely/Corrct, REMINGTON ARMS COMPANIY,INC., I I-87,
                     PC452589, SHOTGUN, 12
                     Acquisition Recorded, but not Tinrely/Correct, SPRINGFIELD ARMORY, HS PRODUKT.
                     HELLCAT, BA3I378I, PISTOL, 9
                     Acquisition Recorded, but not Timely/Correct, SONS OF LIBERTY GUN WORKS, LLC, EXO 2,
                     177 6- I I N 4, RECEIVER, MULTI

                     Acqnisition Recorded, but not Tinely/Corrrct. CHIAPPA FIREARMS, CIMARRON,
                     PLINKERTON, CFIT2IAOI I I 1, PISTOL, .22
                     Acquisition Recorded, but not Timely/Correct, ROCK ISLAND ARMORY, DERYA ARMS,
                     VR8O. R300259, SHOTGUN, 12GA
                     Acquisition Recorded, but not Timely/Correct, PALMETTO STATE ARMORY, PA-15,
                     SCD75991 6, RECEIVER, MULTI


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                                            Acquisition Recorded, but uot Timely/Correct, SPRINGFIELD ARMORY, HS PRODUKT,
                                            HELLCAT, 842@976, PISTOL, 9
                                            Acquisition Recorded, but uot Tirnely/Correct, PALMETTO STATE ARMORY, PA-15,
                                            SCD688975, RECEIVER, MULTI
                                            Acquisition Recorded, but not Timely/Correct, PALMETTO STATE ARMORY, PA-15,
                                            SCD688976, RECEIVER, MULTI
                                            Acquisition Recorded, but not Tirnely/Correct, PALMETTO STATE ARMORY, PA-15,
                                            SCD688977, RECEIVER, MULTI
                                            Acquisitiol Recorded, but not Tinely/Correct, SHARPS BROS, HELLBREAKER, H09617,
                                            RECEIVER,MULTI
                                            Acquisitior Recorded, but not Tirnely/Correct, CAI (CENTURY ARMS), ROMARM/CUGIR,
                                            MINI DRACO, 2IPF.7355, PISTOL, 762
                                            Acquisition Recorded, but rot Timely/Correct, SPRINGFIELD ARMORY, HS PRODUKT,
                                            XDS-45, 8Y577823, PISTOL, .45
                                            Acquisition Recorded, but not Tinrely/Conect. REMINGTON ARMS COMPAIIY. INC..550-     1.
                                            NSN, RIFLE,22
                                            Acquisition Recorded, but lot Timely/Correct, MOSSBERG, 500, T800708, SHOTGUN, l2
                                            Acquisitior Recorded, but not Timely/Correct, HENRY REPEATING ARMS COMPAI'{Y, H0l0X
                                            XFFSOsI 20, RIFLE, 45.70
                                            Acquisition Recorded, but not Tirnely/Correct,TAYLOR & COMPAT{Y, CHIAPPA FIREARMS
                                            LTD, ALASKAN, CF-IT-2OAOI08I , RIFLE, .35'7
                                            Acquisition Recorded, but not Timely/Corrat. BRAZTECH INTERNATIONAL (ROSSD, CBC
                                            (COMPANHIA BRAZILIERA DE CARTUCHOS), R92,7CRO45I78P, RIFLE, .45
                                            Acquisition Recorded, but not Tirnely/Correct, MAVERICK ARMS, 88, MV0654e13, OTHER,
                                            I2GA
                                            Acquisitior Recorded, but not Tinely/Corret, TR IMPORTS, SILVER EAGLE, MAGNLM,
                                            lEEK-j89, SHOTGUN,.4lo
                                            Acquisitiorr Recorded, but not Tirnely/Correct, AERO PRECISION INC., M4V7,M+O3O 242,
                                            RECEIVER, MULTI
                                            Acqnisition Recorded, but not Timely/Correct, PRECISION TACTICAL, XPM4 MK4,
                                            PT I 5-00268, RIFLE, 5.56
                                            Acquisition Recorded, but not Tirnely/Conect, SAVAGE ARMS COMPANY, KOFS. STEVENS
                                            555, 2lEl I 185. SHOTGUN,410
                                            Acquisition Recorded, but not Timely/Correct, ITALIAN FIREARMS GROUP (IFG-NA),
                                            TANFOGLIO, F.LLI, S.N.C, DEFIANT, IFGOI OTI, PISTOL, 9
                                            Acquisition Recorded, but not Tinely/Correct, HECKLER & KOCH INC., VP9 5K,232-O75965,
                                            PISTOL,9
                                            Acquisition Recorded, but not Timely/Correct, GLOCK GMBH,22, NMC9l4, PISTOL,40
                                            Acquisition Recorded, but not Tinely/Corrrct, HERITAGE MFG. INC.. ROUGH RIDER, 142932,
                                            REVOLVER,22
                                            Acquisition Recorded, but not Timely/Correct, HECKLER & KOCH INC., VP9,22+329 5,
                                            PISTOL,9
                                            Acquisition Recorded, but not Tirnely/Correct. CENTURY ARMS. CANIK. METE SFX,
                                            218Y03130, PISTOL,9
                                            Acquisition Recorded, but not Timely/Correct, TRISTAR ARMS LLC, KRAL, RAPTOR,
                                            KRAIII2TI,SHOTGUN,20
                                            Acquisition Recorded, but not Timely/Correct. EAA CORP. - EUROPEAN AMERICAN
                                            ARMORY, GIRSAN, MC I9I I , T6368-2IAPOOIOI, PISTOL,45
                                            Acquisition Recorded, but not Timely/Correct, FREEDOM ORDNANCE MANUFACTTIRING,
                                            FX-9,049469, PISTOL,9
                                            Acquisition Recorded, but not Timely/Correct. PRECISION TACTICAL. XPM4 MK4,
                                            Pr I 5-00042, RIFLE, 5.56
                                            Acquisition Recorded, but not Tirnely/Correct, REMINGTON ARMS COMPAI'IY, ]NC.,700,
                                            RR92622K, RIFLE,3O8
                                            Acquisition Recorded, but not Tinrely/Corect. SDS IMPORTS LLC, TISAS - TRABZON GUN
                                            INDUSTRY CORP.. ZIG M I 9 1 I, T 0620-212I I 2A2, PTST OL, 45
                                            Acquisirion Recorded, but uot Timely/Correct, WEATHERBY, HOWA, VANGUARD, VB257779,
                                            RIFLE,6.5
                                            Acquisition Recorded, but not Timely/Correct, FIME GROtlP, MOLOT-ORUZHIR LTD, VPRl2,
                                            I6VAP43OO, SHORT-BARRELED SHOTGUN, I 2GA
                               to   rearm   ATF F 4473 Error/Omission, I ,Incomplete, 2791, HALL, CRAIG JR.,lll2l2o2o                 2020
nforrnation on an ATF F 4473                                                                                                          2020
                                            ATF F 4473 Enor/Omissior. I,Incomplete, 3305, OSBURN, ANDREA-l/2O|2O2I
                                                                           l, Incomplete, 3393, DABNEY, JAMES, 3 I 9 12021            2020
                                            NIF   F 4473 Er ror lOmission,
                                                                                                                                      2020
                                            ATF F    4473 Error/Omission, l, Incomplete, 3610, MAYHUE, JOSHUA.3I l9l2o2l
                                                                                                                                      2020
                                            ATF F    4473 Evror/OmissioD, I , Incomplere, 3866, SANTANA-MORENO, YADIEL, 5/15/2021
                                                                                                                                      2020
                                            A'lF F   4473 ErrorlOmission, l,Incorrect, 2924, NORTON, DANIEL,l1l27l2o20
                                                                                                                                      2020
                                            ATF F    44'73 EtrorlOmission, l,Incon'et, 2968, WILLIAMS, JOHN, l2l5l2j20                2020
                                            ATF F 4473 Error/Omission, I, Incorrect, 3004, HUNTER, JEFFREY, I 2l   I O   12020        2020
                                            ATF F 4473 Enor/Omission, I , Incorrect, 3015. PERRY, JEFFREY, 12111/2020                 2020
                                            ATF F 4473 Errot/Omission, l, Incorrect,30l2, RAMER, TIMOTHY,       l2llll202o            2020
                                            ATF F 44'13 Enor/Omission, I , Incorrect, 2986, RODRIGUEZ, JULIO,12112/2020               2020
                                            ATF F 44'13 Eror/Omission, I , Incorrect, 3062, COLLINSWORTH, TYLER,l2ll7/2o2o            2020
                                                                                                                                      2020
                                            ATF F 4473 Enor/Omission, l, Incorrect,3055, HARRELLMADISON, BRANDY, l2/2ll2o20
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                                            ATF F 44'73Etrot/Omission. I , Incorrect. 3l 15. BRADEN, RODNEY    ,l2l24l2l2o
                                                                                                                                      2020
                                            ATF F 44'73 Ereor/Omission, I , Incorrect,3l60, GAY   ,TODD,ll4l2o2l
                                                                                                                                      2020
                                            ATF F 4473 ErrorlOmission, I , Incorrect.3l97. WIEDEMANN. ROBERT, l/8/2021
                                                                                                                                      2020

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                          ATF F 4473 Eror/Omission. I , Incorrect,3l95. STANDISH, SCOTT,llal2OZI                                            2020
                          ATF F 4473 Eror/Omission, l,Incorrect, 3225, SHARP|ON,                      STEVEN,lll2l21?l                      2020
                          ATF F 4473 Enor/Omission, I , Incorr€ct, 3319, METZGER, TREVOR, 1122/2121                                         2020

                          ATF F 4473 EnorlOnission. I, Incorrect,3364, MOXNESS, DAYSON, V2Al2O2l                                            2020
                                                                                                                                            2020
                         ATF F 4473 Error/Omission, l, Incorrect,3406, KILCREASE, HAROLD,2l7l2A2l
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                         ATF F 4473 Error/Onissior. l, Incorrect,3465. NICHOLS. WILLIAM,2llgl2O2l
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                         ATF F 4473 Eror/Omission, I , Incorrect,3493, CLARK, ROBERT, 212712021
                                                                                                                                            2020
                         ATF F 4473 ErcorlOrnission, I , Incorrect. 3495, SIMPSON, CHASE ,3113/2021
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                         ATF F 4473 EtroflOrnissiou, I, Incorrrct,3328, STEWART, TIMOTHY ,3ll5l202l                                         2020
                         ATF F 4473 Error/Omission, l, Incorrect,36o4, DURAN, GILBERT JR., 3/19/2021                                        2020
                         ATF F 4473 Error/Omission. I , Incorrect. 3761 , MOBLEY. PAUL JR .,4DoD02l                                         2020
                         ATF F 4473 Eror/Omission, I, Incorrect,3903, ROBERTS, SAMUEL IR.,5l20l212l                                         2020
                         AT F F 4473 En or lOmission.     l, Incorrect, 3954. HOOD, REBEKAH,                    5l3 l    l2OZl              2020

                         ATF F 4473 Error/Ornission, I , Incorrect, 3965, SANTIAGO, JOSE .6121202l                                          2020
                                                                                                                                            2020
                         ATF F 4473 ErrorlOmission, I , Incorrect, 21035, GIVENS, HENRY, 6/2212021
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                         ATF F 4473 Error/Omission. I . Incorrrct. 4219. FITZPATRICK, JEROME.8|4|7021
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                         ATF F 4473 Error/Omission, I ,Incorrect,4266, FOURTNER, AARON,alrcl2O2I
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                         ATF F 4473 Etror/Ornission,      I,   Incorrect, 4370. SANDEL, JACOB, 9ll3l2o2l
                                                                                                                                            2020
                         ATF F 4473ErcorlOmission,2,Incorrcct,279O,I-AZO,                  PIO JR., I l/3/2020                              2020
                         ATF F   21473   Error/Omission, 2, Incorrect, 2862, STOTWELL, MELISSA, 1l/1312O2O                                  2020
                         ATF F 44'73 Error/Omission, 2,Inconect,3237,IRWN, TERI, ll12l2D2l                                                  2020
                         ATF F 4473 Eror/Omission, 2, lncorrect,3209, SKULSKI, CARA,                       lll6l2oll                       2020
                         ATF F 4473 Error/Omission. 2, Incorrect,3459. HARSCH,                   MICHAEL.Alalzozl                          2020
                         ATF F 4473 Error/Omission, 2. Incorrect, 3473, CARL, LUCAS,2123/2021                                              2020
                                                                                                                                           2020
                         ATF F 4473 Error/Omission, 2, Incorrect,35l6, GERARD, LAtlRA,3/4/2021
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                         AT F F 4473 Enor /Omi ssion, 2, lncorrcct, 3903, ROBERT S, SAMUEL JR.,                           51 20/   2O2'l
                                                                                                                                           2016
                         ATF F 4473 Eror/Omission,2, Incorrect,394l              ,   HOLLEY, BRIAN, 5/2812021
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                         ATF F 4473 EtrorlOmission. 2, Incorrrct. 3954. HOOD. REBEKAH, 5/3 t/2021
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                         ATF F 4473 Enor/ Omissiou, 2, Incorrect, 3972, MIIRDOCK, ANDREW, 6/4/202                                      1
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                         ATF F 4473 Error/Omissior. 2, Incorrect,4189. MANN, MICHAEL, 8/3/2021                                             2016
                         ATF F 44'73 Enor/Omission, 24, Incornplete, 2551 , MILLER, PAUL. 9/4/2020                                         2016
                         ATF F 4473 Error/Omission, 24, Incomplete, 2578, NICHOLS, LAURA ,9/9l2O2O                                         2016
                         ATF F 4473Et'rorlOmission.24,Incornplete.2575. SALDANA, MARILYN.9/l4l2O2O                                         20t6
                         ATF F 4473 Error/Ornission, 24, Incorrect, 2535, NOBLES, JASON, 9/2/2020                                          2016
                                                                                                                                           2016
7                        ATF F 44'73 Effor/Omission. 24, Incorect. 2538, QUEER, JEFFREY JR.,9/3|2O2O
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                         AT F F 4473 ErroilOmission, 24, Iuconect, 2547, COOK, T ODD, 9 / 4 l2O2O
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                         ATF F 4473 Error lOmission, 24, Incorrect, 26 1 2, HOLMAN, BRANTLEY,                             9 I 1 81 2O2O
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                         ATF F 4473 Elror/Omissiol. 24, Incorect. 2748. PETRUS, PH]LIP nI, lO/2Ol2O2O
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                         ATF F 44'73 Error/Omission, 24, Incorrect, 2750, SANTIAGO, JOSE ,IO/ZZ|2O2O                                       2016
                         ATF F 44'73 Enor/Omission, 24, Incorrect. 2751. COOK, TODD, \OI23/2O2O                                            2016
                         ATF F 4473 Enot'/Omission, 24, Incorrect,2774, BINDER, JOHN                     III,    lOl29l2O2O                2020
                         AT F F 4473 Error lOmission, 25, Inconect, 2547, COOK, T ODD,                  9 I 41 2O2O                        2020
                         ATF F 4473 ErrorlOrnission, 25, Inconect, 2577, KLINE, DANIEL, 9/9/2020                                           2020
                         ATF F 4473 Eror/Omission, 25, Incorect,2687, HABEREK, JENMFER , 1O/7/2O2O                                         2020
                                                                                                                                           2020
                         ATF F 4473 Error/Omission, 27, Incorect,2554, BARROETABENA ,MARIO,9/4l2O2O
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                         ATF F 4473ErorlOmission,28,lncoffect, 183 (NFA), FAULKNER,                           WLLIAM, lDlll2O2O
                                                                                                                                           2020
                         ATF F 4473 Enor/Omission,4, Incorect, 2924, NORTON, DANIEL, 1ll27l2020
                                                                                                                                           2020
                         ATF F 44'73 Euor/Ornission,4, Incorrect, 3012, RAMER, TIMOTHY,                          l2llll202o                2020
                         ATF F 4473 Eror/Omission,4,Incorrect,3O94, HUFF, HENRY, 12122/2020                                                2020
                         ATF F 4473 Error/Omission. 4, Incorrect. 3185, JOSEPH, SENN JR., I ll2l2oZl                                       2020
                        ATF F 4473 Error/Omission, 4, Incorrect,       35   I   4, JOURNET,      J   OSEPH,     3 13 I   2021              2020
                         ATF F 4473 Euor/Ornission.4,Incorrect. 3495, SIMPSON, CHASE, 3ll3l2121                                            2020
                        AT F F 4473 Eror /Omission, 4, lncorrect, 3328, STEWART, TIMOTHY,                            3 / l 51   2O2l       2020
                         ATF F 4473 Enor/Omission, 4, Incorrect, 3809, PIPPIN, CHARLES                     lll,    41261202l               2020
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                        ATF F 4473 Elror/Omission, 4, Incoruect, 3888. BROWNING, GAVEN,                             5/ 1 7/202     1
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                         ATF F 44'73 Error/Ornission, 4, Incorrect, 394.5, W ADE, JERAMIE, 5/29l2OZl
                                                                                                                                           2020
                        AT F F 44'73 Enor/Omi ssion, 4, Incorrect. 3949. DALTON, ZA CHARY, 5/ 29 1 2O2 1
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                         ATF F 4473 Etror/Omission, 4, Iucorrcct, 3972, MURDOCK, ANDREW, 6/4/2021
                                                                                                                                           2020
                         ATF F 4473 Enor/Omission, 4, Incorrect, 3987, BROWNE, FTTZROY, 6/8/2021                                           2020
                         ATF F 4473 Euor/Omission,4, Incorrwt,4060, SNOW, ANDREW, 6/2912021                                                2020
                         ATF F 4473 Error/Omission,4, Incorrect,4064, SLIIDER, RILEY, 6/2912021                                            2020
                         ATF F 4473 ErrorlOmission.4, Incorrect,21066, STAFFORD. JAMES, 6/30/2021                                          2020
                         ATF F 4473 Etror/Omission, 4, Incorrect, 4088, HEAN. W]LLIAM,'7|5|2OZ|                                            2020
                         ATF F 4473 Enor/Omission, 4, Incorrect, 42 1 3, BRADLEY, SAMUEL IF.., al 41 2O2l                                  2020

                        ATF F 44'73 Enor/Onrission, 4, Incorrect, 4225, SMITH, THEODORE ,al5l2o2l                                          2020
                                                                                                                                           2020
                        ATF F 4473 Error/Omission, 4, Incorrect, 4254,KLEM, ANDREW, 8/13/2021
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                        AT F F 4473 Enoil Omission, 4, Incorret. 4264. SANDEL.               J   ACOB, 8l | 6/ 2O2l
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                        ATF F 44'13 ErorlOmission, 5, Incon€ct, 2924, NORTON, DANIEL, ll/2712O2O
                                                                                                                                           2020
                        AT F F 44'73 Enor lOmission, 5, Incorrect, 30o4, HUNTER, JEFFREY, I 2/ LO/2OAO                                     2020
                        ATF F 4473 Error/Omissiou, 5, Iucorrect,30l2, RAMER, TIMOTHY,                           l2llll2o2\                 2020
                        ATF F 4473 Enor/Omission, 5,Incorrect,3l 15, BRADEN, RODNEY, 1212412020                                            2020
                        ATF F 4473 Eu or/Ornission, 5, Incorrect. 206 (NFA), EAVES, CODY. l/6/2021                                         2020
                                                Page 16   of l8
               Case 3:23-cv-07752-TKW-HTC Document 1 Filed 04/06/23 Page 82 of 108
                                                                   ATF F 4473 ErvorlOmission, 5, Incorrtct, 209 (NFA), MAYATTE, SHANE, I /7/202 I                             2020
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                                                                   ATF F 4473 Error/Omission, 5, Incorrect, 2l I (NFA), PASION, KRISTIAN                  ,l/l5l212l
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                                                                   ATF F 4473EvorlOmission,5,Incorrect,2l3 (NFA), HEATON,WILLIAM                           IlI,ll27l202l
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                                                                   ATF F 4473 Error/Omission,5,Incorrect, 214 (NFA), BROWN, KIRK, 2/3/2021
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                                                                   ATF F 4473 Enor/Omission,5, Incorrect, 216 (NFA), GARIPAY, ROLAND ,2/l5l2o2l
                                                                                                                                                                              2020
                                                                   ATF F 4473 Etror lOmission, 5, Incorrect, 3495, SIMPSON, CHASE, 3/ 1 3/202               1
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                                                                   ATF F      Error/Omission,5, Incorrect,3328, STEWART, TIMOTHY, 3/15/2021
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                                                                   ATF F 4473 Eror/Omission,5, Incorregt,2Z3 (NFA), DYKES, BRIAN,3/16/2021
                                                                   ATF F 4473 Error/Omission,5, Incorrct, 225 (NFA), CARPENTER, CURTIS,3/2912021
                                                                   ATF F 4473ErorlOmission,5,Incorrect.234 (NFA), GILBERT, RICHARD JR.,4ll3l202l
                                                                   A'lF F 44'73 Error/Ornission,5,lncorrect,24l       (NFA), LEURICK,JAMESlll,41161202l
                                                                   ATF F 4473 Enor/Omission, 5, Incorrect, 246 (NFA), DODGE, KRIS, 4/3OI2OZ|
                                                                   ATF F 4473 Eruor/Omissiou,     5,Inconcct,3        9, DALTON, ZACHARY ,5l29lZo2l
                                                                   ATF F 4473 Error/Omission, 5, Incorrect, 255 (NFA), POTTS, RICHARD, 6/18/2021
                                                                   ATF F 4473 En'otlomissior, 5, Incorr€ct. 259 (NFA). FANA, RAFAEL. 6/291202 I
                                                                   ATF F 4473 Ertor/Otnission, 5,Incorrect,423l, CHAMBERLIN, SETH, 8/6/2021
                                                                   ATF F 447 3 Error lOmission. 5, lncorrcct, 272 (NFA).        WLLIAMS, MARK,            al 25 l2O2 I

     27   CIR 4lA.l24(c)( I ): failure to obtain   a   conpleted   ATF F 4473 Error/Omission, 10, Incorrect,3954, HOOD, REBEKAH,5/3ll2o2l                                     2020
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                                                                   ATF F 4473 Eror/Onission, 22, Blank Itern, 3822, PREPODMK, WILLIAM ,412912021                              2020
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                                                                   ATF F 4473 Error/Omission,30, Blank Item,3305, OSB(jRN, ANDREA, ll2Ol2O2I




     27 CFR 478.2 I (a): l-ailure {o conrplete lorms as            A'lF F 44'73 Error/Omissiou, 16, Inconect, 2687, HABEREK, JENNIFER, l0/7/2020                              2016
     prescribed                                                                                                                                                               2020
                                                                   ATF F 4473 Error/Omission, l8a, Blank Item,3283, HO, HUNG VAN, l/18/2021
                                                                   A'lF   F 44'73 Euory'Omission.21a. Blank Itern.3928. LEWIS, LOGAN,51261202l                                2020
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                                                                   ATF F 44'73 Eror/Omissior, 23, Incorrect,3305, OStsURN, ANDREA               ,ll20l2o2l
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                                                                   ATF F 447 3 Enor/Omissior. 24, Incomplete. 3324. WAYMAN, MATTHEW,                        1   I   22l2o2l
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                                                                   ATF F 44T3EnorlOmission, 24, Incorrect,2'79O,LAZO, PIO JR., lll3l2O2O
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                                                                   ATF F 4473 ErrorlOnrission, 24, Incorrect, 2862, STOTWELL, MELISSA ,                   ll/l3l2o2o          2020
                                                                   ATF F 4473 Error/Omission, 24, Iucorrect, 3004, HUNTER, JEFFREY , l2llOl2O2O                               2020
                                                                   ATF F 4473 ErrorlOmission, 24,Incorrct,3094, HUFF, HENRY. l2l22l202o                                       2020
                                                                   ATF F 4473 ErrorlOrnission. 24, Incorrect, 3225, SHARPTON, STEVEN,                 I   ll2l2o2l            2020
                                                                   ATF F 4473 Eror/Omission, 24,Incorrect,3252, THOMPSON, JEFFREY, ll14l2o2l                                  2020
                                                                   ATF F 4473 Error/Omission, 24, Incorrect, 3209, SKULSKI, CARA, 11161202l                                   2020

                                                                   ATF F 4473 Error/Onission, 24, Inconect, 3294, SMITH, JAMES. I /19/2021                                    2020
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                                                                   ATF F 4473 ErrorlOmission,24, Incorrect,33l0, SMITH, BRANDON, ll20l202l
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                                                                   ATF F 44'13 Error/Omission. 24, Inconect,3315, CORDON, AUSTIN               ,l/2ll2l2l                     2020
9                                                                  ATF F 44'13 Error/Omissiou, 24, Incorrect, 3314, DABNEY, JAMES, I l2l/2021
                                                                                                                                                                              2020
                                                                   ATF F 44'73 Error/Ornission, 24, Incorrect, 3378, LOFRIA, JOSEPH, I l3Ol2OZl                               2020
                                                                   ATF F 44'73 Enor/Ornission, 24, Incorrect,3459, HARSCH, MlCHAEL,2llalzozl                                  2020
                                                                   A'lF   F 4473 Error/Omission, 24, Incorrect,35l4, JOURNET, JOSEPH ,31312021                                2020
                                                                   ATF F 4473 EvorlOlrissiou. 24, lncorrrct, 35 I 6, GERARD. LAURA. 3/4/202 I                                 2020
                                                                   ATF F 4473 Error/Omission, 24, Incorrect,3578, SULLIVAN, LARS ,311612021                                   2020
                                                                   ATF F 4473 Error lOmission. 24, Incorect. 3668, VAUGHN. GARRETT, 3/271202                          1       2020
                                                                   ATF F 4473 EnoilOmission, 24, Inconect,3680. NICOLL, NICKOLAS,3/30/2021                                    2020
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                                                                   ATF F 4473 Enor lOmission, 24, Incorrect, 376 l, MOBLEY,          P   AUL JR.,   41 2Ol2OZl
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                                                                   ATF F 4473 Enor/Omission, 24, Incorrect. 3945. WADE. JERAMIE.5l29l202l
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                                                                   A'lF F 4473 ErroilOmission, 24, Incorrect, 3987, BROWNE ,FITZRQy ,6lal2o21
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                                                                   ATF F 44'73 Enor/Ornission, 24, Inconect. 4060, SNOW, ANDREW, 61291202I                                    2020
                                                                   ATF F 44'73 Enor/Omission, 24, Incorrect,4064, SLUDER, RILEY, 6/2912021                                    2020
                                                                   ATF F 4473 Eror/Ornission, 24, Incorrct, 4066, STAFFORD, JAMES,61301202l                                   2020
                                                                   A'lF   F 4473 Error/Omission, 24, Inconrct,4213, BRADLEY, SAMUEL JR.,Al4l2o2l                              2020
                                                                   ATF F 4473 ErrorlOmission, 24, Incorrect,4225, SMITH, THEODORE, 8/5/2021                                   zo20

                                                                   ATF F 4473 Error lOmission. 24, Inconect. 4254. KLEM, ANDREW. 8/l 3/202 I
                                                                   A'fF F 44'73 Error/Omission,3l, Blank Item, 3305, OSBURN, ANDREA, 1l2ol2o2l
                                                                   ATF F 4473 Error lOmission,   3   l,   Incorrect, 3675, FALKOWSKI, ARTUR, 4/ I /202 I
                                        to                         ATF F 4473ErrorlOmission, l8a, Incompl€te, 179 (NFA), B1LBO,JACOBY,9ll9/2O2O
                      docurnent on ATF F 4473                                                                                                                                   l6
                                                                   ATF F 4473 Elror/Omission, l8a.Incornplete, 2774, BINDER, JOHN III,               1O/2912O2O

                                                                   NIF    F 44'13 ErrorlOmission, l8a, Incorrect, 2577, KLINE,     DANIEL,9l9l202o                            2016
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                                                                   ATF F 44'73 Eror/Omissior. l8a.Incorrect, 2578, NICHOLS, LAURA,91912020
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                                                                   ATF F 44'73 Error/Omission, 26a, Incomplete. 2962, SCOTT, ADAM ,l2Bl2O2O
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                                                                   A'lF   F 4473 Error/Omission, 26a, Incotrect, 3012, RAMER,       TIMOTHY, I2ll          ll2O2O
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                                                                   A'lF   F 4473 Error/Onission. 26a. Inconect, 3185, JOSEPH. SENN JR., ll1212021
                                                                                                                                                                              2020
                                                                   ATF F 4473 ErrorlOmission,26a,Inconect,329l           ,   WIDGEON, HANNAH, lllal2oZl                       2020
                                                                   ATF F 4473 Etror/Omission, 26a. Incorrect,3319,MEIZGER.               TREVOR, I l2A2O2l                    2020
                                                                   ATF F 44'73 ErrorlOmission, 26a, Incorrect, 3364, MOXNESS, DAYSON,                 I   l2a/2021            2020
                                                                   A'lF   F 4473 Error/Ornission, 26a, Incorrect,3455, NICHOLS,      WILLIAM ,2l17l2OZl                       tnto
                                                                   A'lF   F 4473 Enor/Omission,26a,Incorrect,3443, CAGUIOA, CHRISTOPHER,ZII9|2O?I                             2020
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                                                         ATF F 44'73 Error/Omission. 26a, lncorect, 3500, LENZ ,MATTIIEW ,3l2l2O2I                  2020
                                                         ATF F 44'73 ErorlOrnission, 26a, Incorrect, 3585, DIXON, DEMETRIUS, 3/22202 I              2020
                                                         ATF F 4473 ErroiOmission, 26a, Inconect, 3807, cIPSON, D AVID, 4l24l2oZl                   2020
                                                         ATF F 4473 Error/Omission,26a,Inconrct,3822,             PREPODNIK,WILLIAM,4/29/2021       2020
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                                                         AT F F 4473 Error lOmission, 26a, Incorrect,   393, HOOD, REBEKAH,       5/3 I /202   1
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                                                         ATF F 4473 Error/Omission, 26a, Iucorrect,4170, POPE ,WYLY ,712712021
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                                                         AT F F 4473 Eroil Omission, 26a, Incorrect, 4 l 64, NOCHOLS, JAMES JR.,'l l 3 l l 2O2l
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                                                         ATF F 4473 EtrorlOmission. 26b, Blank Item, 3949, DALTON, ZACHARY ,5l29l2oZl
                                                                                                                                                    2020
                                                         ATF F 4473 Error/Onission, 26b, Blank Itern,3979, MANUEL SANDINO,6141202l
                                                         ATF F 44'73EnorlOmission,26b, Blank Item,4168, TODD, EMIR,8/3/2021
                                                         ATF F 4473 Enor/Ourission. 26b, Incorrect,3235, CHASTAIN, JOEL, ll161202l
                                                         NfF   F 4473 ErrorlOmission, 26c, Blank Item,3017, MILLS, JONATHAN,           l2llll202D
                                                         ATF F 4473 Error/Omission. 26c. Blmk Item,3185, JOSEPH, SENN            JR.,lll2l212l
                                                         ATF F 44'73 Enor'/Omission, 26c, Blank Itern,3465, NICHOLS, WILLI Ailll,2ll9/2O21
                                                         ATF F 4473 Error/Omission, 26c, Incorrect, 3493, CLARK,ROBERT, 2127 lzDl
     a'l ClR4'lA.l74(c)(3)(iv): Failure to record NICS   ATF F 4473 Error/Omission, I9a, Incorrect, 2538, QUEER, JEFFREY JR.,9l3l2O2O               2016
     rotrtact information on au ATF F 4473
                                                         ATF F 4473 Enor/Omissiou. l9a. Incorrect, 2896, BOXBERGER, JERRY, I l/20/2020              2016
il                                                                                                                                                  20t6
                                                         ATF F 4473 Error/Omission, l9c,Incorrect,      25-51 ,   MILLER, PAUL,9l4l2O2O
                                                         ATF F 4473 Enor/Omission, l9d, Incorrect, 2538, QUEER, JEFFREY IR.,9l3l2O2O                20t6
                                                                                                                                                    2020
                                                         ATF F 4473 Error/Omission, 27a, Incouect, 3393, DABNEY ,JAMES,3l9l2o2l
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                                                         ATF F 4473 EnoilOmissiol, 27a, Incorrect, 3617, LINTON, JONATHAN, 3l2U2O2l
                                                                                                                                                    2020
                                                         ATF F 44'73 Error/Onission. 27a.Incorrcct, 4225,SMITH. THEODORE, al 5l2o2l
     27 CFR 478.102(c): Failure to initiate a new NICS   NICS Violation, 3328, STEWART, TIMOTHY,31 15l2D2l                                          2020
     rheck after 3O-day lapse of initial check
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                   EXHIBIT                   D
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Subject: Precision TacticalArms Company, LLC; Extension Rcciuc:t'
Date: Wednesday, March t5,2023 at 3:51:13 PM Eastern Dayli;'rrt Tirne
From:     MichaelTruman
To:      Gerber, Aaron R.

Good afternoon Director Gerbe[

The Licensee received the Final Notice of Denial of Application, Revocation, Suspension a nd/or Fine of
Firearms License ("Final Notice") in the referenced matter on March L0,2A23. The Licensee is disappointed
with the outcome and also disappointed that ATF provided no response to its settlement offer, which
included a good faith discussion of the record, the subject violations, its compliance program and offered
serioustermsincludinga30dal,fineandsuspension.           Atthisyroint,thet-r:enseeintendstoappcalATF's
decision to federal court.

The Licensee,s immediate concern is the surprisingly brief wind-up ;reriocl idenLified in tlrc inal Notice,
                                                                                              t             which
was received late on a Friday {meaning that it lost two business days  to act from the gct-ilrl. The Final  Notice
provides the Licensee with only fifteen (i"5) days to wind-up operations, which is ten days from today (March
ZS,2O23l. Historically, it has been our experience that ATF has provided licensees with a minimum of thirty
(30) days to wind-up operations, and often up to sixty (60) days, which we assume is becausc ATF is well-
                                                                                    (and request a stay of
aware that licensees have sixty (60) days to appeal ATF's decision to federal court
revocation from ATF and/or the court).

The l5-day wind-up period has put the Licensee in an extremely difficult and legally
                                                                                        prejudicial position. Such
                                               give the          sufficient time to  evaluate its options, and
a brief period is not reasonable and does not           Licensee
either (1) prepare and file an appeal (obtaining/reviewing the hearing   transcript, analyzing  law/regulations,
                                                                   (2)  wind-up operations   (disposing  of
drafting pleadings and motions/briefs, engaging local counsel) or
inventory, addressing NFA inventory, addressing pending NFA transfers). On that note,
                                                                                           the Licensee currently
has nearly 1000 GcA firearms in inventory. lt also has 371 NFA items in inventory,
                                                                                      of which 31"0 are currently
pending transfer approval from   ATF.


                                                                        justify ATF's departure from its standard
The Licensee is not aware of any public safety-related risk that would
                                                                                                         resulted
policy regarding the wind-up period. The record demonstrates that none of the Licensee's violations
in a transfer to a prohibited person or rendered a firearm  uncraceable.

                                                                                                 be extended until
Under these circumstances, the Licensee requests that the effective date of the revocation
May g, 2023 (the day the 60-day federal court appeal window closes) and asks that ATF
                                                                                              advise the Licensee of
                                                                                   possible under the
its response as soon as possible, so that the Licensee may - as adequately as
circumstances - protect its interests and ensure   that it complies  with  applicable laws/regulations. lf this
request is granted (in full or for a shorter time period than the  full 60 days  requested), the Licensee will agree
                                                                                          particular extension is in
to not acquire new NFA inventory or submit new NFA transfer paperwork while this
place so as to not create an even greater backlog of pending NFA forms.

Thank you,




MichaelA. Truman
MUNITIONS LAW GROUP
Cheshire DeBrosse, P.C.


                                                                                                                Page 1 of 2
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7240 Muirfield Drive, Suite 160
Dublin OH 43017
T: 888.399.7863
F: 888.271.6215
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Cllck HEB"Eto pav inwice.




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                   EXHIBIT E
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Subject:   RE: Precision TacticalArms Company, LLC; Extension Request
Date:      Monday, March 20,2023 at 10:31:53 AM Eastern Daylight Time
Frcm:      Gerber, Aaron R. (ATF)
To:        MichaelTruman, Freyermuth, Amy     L. (ATF), Easterling, Kimberly S. (ATF)

CC:        Husselbaugh, Eileen L. (ATF), Woodliff, Andrew A. (ATF)

Good Morning, Attorney Truman.

ATF will issue a conditional stay that expires May 9th, 2023, for your client to conclude its operations.
Conditions will include no additional acquisitions of firearms not already ordered prior to the issuance of the
Final Notice and a con6nuance in complying with the requirements of the GCA / NFA.

We will send you the official Stay soon. Until then, this e-mailserves as temporary approval.

Thank you,

Aaron


Aoron Gerber
Director lndustry Operotions
Tompo Field Division
813-202-7306
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                  EXHIBIT                    F
                  Case 3:23-cv-07752-TKW-HTC Document 1 Filed 04/06/23 Page 90 of 108


U.S. Department of Justicc
Bureau ofAlcohol, Tobacco, Firearms and Explosives                                                             Final Notice of Denial ofApplication' Revocation
                                                                                                               Suspension and/or Fine of Firearms License

In the mafter of:

      I    fne application for license         as   e/an                                                                                                                        filed by

           of

      []   License Number 1-59-091-07 -58-261 45                                                                                                                                  as a/an
                                                                                                                                                             -,
               Maufacturer in Firearms other than Destructive Devices                                                                                                          , issued to:

Name and Address of Applicant or Licensee (Show nmber. streel, city, slate and Zip Code)

Precision Tactical Arms Company LLC
d/bla Precision Tactical/ P'l-AC,
5155 South Ferdon Blvd.. Unit A.
Crestview. ti'lorida 32539




Notice is Hereby Given'l'hat:

flArequestlorhearingpursuanttolsU.S.C.$923(0(2)and/or922(t)(5)rvasnottimelyfiled                                     Basedonthefindingssetforthintheattacheddocumenl,your

      f    license described above is revoked pursuant to              l8   U.S.C., 923{e),922(t){5) or 924(p), effective:

           f,    I 5 calendar days after receipt      olthis notice,   or n
      I    license is suspended for                                 calendar days,         effective                                       , pursuant   to l8 u.S.c. $ 922(tX5) or924(p)

      I    licensee is fined $
                                                           'paymentdue:,pursuanttol8U.S.C'$922(t)(5)or924(p)
      Alter due considcrltiort tbllowing a hearing held pur$uant to l8 U.S.C. g 921(0(2) and/or 922(t)(5),                     and on the basis offindings set out in the attached copy    of
[t]
"     thc findings   uurJ   conclusiuns, the Director or his/her designee concludes that your


      f,   applicationlorlicensedescribedaboveisdenied,pursuanitolSU.S,C..g23(d).

      f]   application lor rcnewal of license described above is denied pursuant to l8 U.S.C. 923(d), ctrectivc:

           f     l5 calendar days after receipt ofthis notice, or             I
      I    Iicense described above is revoked pursuant to I I U.S.C., 923(e),922(t]{5) or 924(p), effective:

           I     l5 calendar days after receipt ofthis notice,         or I
      f    llcense is suspended for                                 calendar days,         effective                                       , pursuant   to I 8 U'S.C.   $ 922(t)t5) ot 924(p)


      !licenseeisfined$,paymentdue:,pursuanttol8U.S.C.$922(t)(5)or924(p)
If, after the hearing and receipt olthese findings, you are dissatisfied rvith this action you may, within 60 days after receipt ofthis notice, file a petition
pursuantl8U.S.C.g923(0(3),forjudicial reviewwiththeU.s.DistrictCourtlorthedistrictinwhichyouresideorhaveyourprincipal placeofbusiness. If youintend
to continue operations after the effective date       ofthis action while you     pursue   filing forjudicial revjew or otherwise, you must r€qusst a stay ofthe action from the Director of
lndustry operations         (Dlo),   Bureau of Alcohol, Tobacco, Firearms and Explosives,         at 400 NoR'lH ]'AMPA STREET' SUITE 2100' TAYPA' FL 13602


priortotheeffectivedateoftheactionsetforthabove. Youmaynotcontinuelicensedoperationsunlessanduntil astayisgrantedby the DIO.

Records prescribed under 27 CFR Pa* 478 for the license described above shall either be delivered to Al'F within 30 days ofthe dalc the business is
required to be discontinued or shall be docurnented to reflect delivery to a successor. See I 8 U.S.C. 923(dg) and 27 CFR $ 478 I 27

Alter the effective date ofa license denial ofrenewal, revocation, or suspension, you may not tawfully engage in the business ofdealing in firearms.
Any disposition of your firearms business inventory must comply with all applicable laws and regulations. Your local ATF olfice is able to assist you in
understanding an'd implementing the options available to lawfully dispose of your firearms business inventory.

                                                                                                                                                                   ATF Fom 5300. l3
                                                                                                                                                                   Revised September 20 l4
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                                   o

03/0712023         Aaron Gerber, Director of Industry Operations
          att on                                            on     person


          tr   Certified mail to lhe addrcss shown below,
               Tracking Number: 70 r 83090000205208227
                                                                            Or   f   Delivering a copy ofthe notice to
                                                                                     the address shown below

Date Notice Served            Title of Person Serving Notice                                   u*'w:'.':"'x
03107t2023                    Director of Industry Operations
Print Name and Title of Person Served
Precision Tactical Arms Company LLC
Address Where Notice
5155 South Ferdon Blvd., Unit A, Crestview, Florida 32539
Note: Previous Edition is Obsolete




                                                                                                                         ATF Fom 5300,13
                                                                                                                         Rcvised Septcmber 20 l4
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                  UNITED STATES DEPARTMENT OF JUSTICE
          BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSMS


In the Matter of Revocation of Federal               )
Firearms License Under Chapter 44,                   )              TAMPA
Title 18, United States Code, As A Manufacturer      )              FIELD DIVISION
In Firearms                                          )
                                                     )              FINDINGS AND
Licensee:                                            )              CONCLUSIONS
Precision Tactical Arms Company, LLC                 )
DIB/A Precision Tactical D/BlA PTAC                  )
5155 South Ferdon BIvd., Unit A                      )
Crestview, FL32539                                   )
                                                     ')




Precision Tactical Arm Company, LLC (Licensee), doing business as Precision Tactical and
PTAC,5155 South Ferdon Blvd., Unit A, Crestview, FL32539, holds Federal firearms license
# I -59-09 I -07 -58-26145 as a manufacturer of firearms other than destructive devices issued by
the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) pursuant to the Gun Control
Act of 1968 (GCA), as amended, 18 U.S.C. Chapter 44, and the regulations issued thereunder, 27
C.F.R. Part478.

On August 4,2022, ATF issued a Notice to Revoke or Suspend License and/or Impose a Civil
Fine, ATF Form 4500(5300.4), (Notice of Revocation) to the Licensee via certified mail. The
Licensee timely requested a hearing to review that Notice. The virtual hearing was scheduled for
and held on January 26,2023.

The hearing was conducted by ATF Director of Industry Operations (DIO) Aaron Gerber, Tampa
Field Division. ATF was represented by Firearms and Explosives Law Division (FELD) Counsel
Kimberly Easterling, and ATF Industry Operations Investigator (IOD Thomas McCarlhy
appeared as a witness on behaif of the Government. Ward Graham Lewis, Jr., owner of the
Licensee, and Michael Truman and Derek DeBrosse, attorneys for Licensee, appeared at the
hearing. The hearing was observed by FELD Counsel Eileen Husselbaugh, Division Counsel
Amy Freyermuth and Attorney Andrew Woodliff, Tampa Field Division, and Area Supervisor,
Carolyn King. The hearing was recorded and transcribed by the Government through a court
reporler service. Both sides were offered the opportunity to present testimony and exhibits and to
cross examine witnesses. The Government offered testimony and exhibits. The Licensee offered
testimony and exhibits.
  Case 3:23-cv-07752-TKW-HTC Document 1 Filed 04/06/23 Page 93 of 108




Findings of Fact

Having reviewed the record in this proceeding, I make the following findings:

    1.      An inspection of the Licensee's business premises was conducted by IO I Thomas
            McCarthy. The inspection was initiated on or about September t4,2OZl.IOI McCarthy
            testifidd on behalf of the Government.

    2.      IOI McCarthy testified that he assisted IOI Margaret Specht during an inspection of
            Licensee in 2018. The inspection resulted in Liccnsee being cited for seventeen (17)
            violations on July 6,2018.See Government Exhibits 5 and 6. The Government
            introduced a2Ol8 Acknowledgment of Federal Firearms Regulations signed by Licensee
            on July 6, 2018. .lee Government Exhibit 7.

    3.      The 2018 inspection resulted in Licensee attending a Warning Conference, a meeting
            with the ATF Area Supervisor and IOI(s) involved in the inspection to discuss the
            violations cited during the inspection, and procedures to be put in place by the FFL to
            prevent future violations.l A "follow-up" letter dated September 4,2018, documents
            ATF's discussion with Licensee regarding the violations found during the 2018
            inspection and corrective action required. .lee Government Exhibit 9.

    4.      IOI McCarthy testified that Licensee was again inspected and cited for violations on
            November 19 , 2019. As a result of that inspection, ATF issued a Report of Violations
            citing Licensee with thirteen ( l3) regulatory violations several of which were repeated
            violations from the 201 8 inspec tion. See Government Exhibits l0 and I I . The
            Government introduced a 2079 Acknowledgment of Federal Firearms Regulations signed
            by Licensee on October 31,2A19. ^lee Government Exhibit 12.

    5.       The 2019 inspection also resulted in Licensee attending a Warning Conference. The
            violations found during the 2019 inspection were specifically discussed with Licensee,
            and Licensee was reminded that violations, repeat or otherwise, could result in license
            revocation. ^9ee Govcrnment Exhibit 14.

    6.      The inspection conducted by IOI McCarthy in September 2A2l cited Licensee with
            multiple violations of the GCA. Sea Government Exhibit 70. The Government also
            introduced a2021 Acknbwledgment of Federal Firearms Regulations signed by Licensee
            on November 3,2021. See Government Exhibit 69.

    7   .   As set forth in paragraph 1 of the Notice of Revocation, Licensee willfully failed to
            initiate and complete a background check through the National lnstant Background
            Check System (NICS) prior to the transfer of a firearm in violation of l8 U.S.C. $
            922(t)(l) and27 C.F.R. $ 478.102(c). The Government introduced testimony and a
            Firearms Transaction Record, ATF Form 4473 (Form 4473) supporting the violation. See
            Government Exhibits 15 and 16.


lTranscript, pp. lS-19

                                                     2
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 8.     As set forth in paragraph 3 of the Notice of Revocation, on twenty-one (21) occasions
        Licensee willfully sold or delivered a firearm to a person without noting in the records
        required to be kept pursuant to 18 U.S.C. $ 923 the place of residence of such person in
        violation of 18 U.S.C. $ 922(bX5) and27 C.F.R. $ 478.123. See Government Exhibits
        t7-23.

 9.    As set forth in paragraph 4 of the Notice of Revocation, Licensee willfully made a false
       entry in, failed to make appropriate entry in or failed to properly maintain the required
       acquisition and disposition record (A&D) in twenty-one (21) instances in violation of l8
       U.S.C. *922(m),18 U.S.C. $ 92a(aX3)(A),27 C.F.R. $ 478.121(c) and27 C.F.R. $
       478.128(c). The Government introduced testimony and portions of Licensee's A&D
       record supporting the violations. .!ee GovernmentExhibit 24.

 10. As set    forth in paragraph 5 of the Notice of Revocation, Licensee willfully failed in sixty-
       six (66) instances on ATF Forms 44731o properly identify the firearm being transferred
       on the ATF Form 4473 in violation of 18 U.S.C. $ 923(gX1)(A) and 27 C.F.R. $
       478.124(c)(4). The Government introduced testimony and documents to support each of
       the violations cited, See Government Exhibits 15-23 and25-68.

 I 1. Licensee's testimony about its prior policy of not taking address information combined
      with its response to the Government's question about whether correct disposition entries
      were submitted to IOI McCarthy prior to the conclusion of the inspection, specifically
      that the Licensee couldn't remember if it was shown to tOI McCarthy or not, leads the
      DIO to believe the record was maintained as presented to ATF.

 12.IOI McCarthy also testified that the violations cited in the 2021 inspection referenced in
    the Notice of Revocation were repeat violations; that is, Licensee was cited by ATF in
    2018 and 2019, respectively for the same conduct cited in202l. Specifically, the same
    violations were cited as violations on the Report of Violations issued on July 6, 2018, and
    November 19,2019. See Government Exhibits 5, 6, 10 and 11.

 I   3. Licensee acknowledged that it had been in business for eleven ( I I ) years and had been
        made aware of the record keeping requirements as well as requirements for completing
       ATF Forms 4473.

14. Licensee acknowlcdged        it committed a NICS violation when it transferred a fireann after
       the thirty (30) day lapse of the initial check of Timothy Stewart's background. Liccnsee
       acknowledged that it was a clear violation of the Gun Control Act.

15. Licensee acknowledged the violations and acknowledged that it used EZ ArmsKeeper
    software program that has been updated since it received a Notice of Revocation.

16. Licensee acknowledged that it placed the FFL's address in place of the customers'
    addresses in the A&D book but that the errors were corrected. However, Licensee was
    unable to provide an explanation as to why IOI McCarthy had not received a comected
       copy of the corrected version of the A&D book.


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        17, Licensee acknowledged that    it changed its policy regarding how it inputs information into
             the A&D book, specifically that it now logs any firearm into its A&D book regardless of
             how long the firearm is in the possession of the FFL and uses the correct customer
             address.


        18. Licensee acknowledged that the    ATF Form4473 errors were "human error," but could
             not provide any lurther explanation into the discrepancies.




Conclusions of Law

Pursuant to the GCA, ATF may, after notice and opportunity for hearing, revoke a Federal
firearms license if the holder has willfully violated any provision of the GCA or the regulations
issued thereunder. i8 U.S.C. $ 923(e); 27 C.F.R. * 478.73. For purposes of l8 U.S.C, $ 923, "a
showing of purposeful disregard of or plain indifference to the laws and regulations imposed on
firearms dealers shows willfulness" for purposes of Federal firearms licensing. Willingham
Sports, Inc. v. BATF,4l5 F.3d 1274, 1277 (l lth Cir. 2005). Willingham went on to hold a
licensee's "repeated violations after it has been informed of the regulations and warned of
violations does show purposeful disregard or plain indifference." Willingham,4lS F.3d at 1277
(citations omitted). See also, Bryan v. Uniled States,524 U.S. 184,197-198 (1998). In several
instances, the courts have held that ATF may revoke an FFL based on a single willful GCA
violation. Pinion Enters., Inc. v. Ashcroft,3TI F. Supp. 2d 13Ll,1317 (N.D. Ala. 2005); Anzio
Ironworks, Corp. v. Gerber, Case No. 8:20-cv-2132-KKM-AAS, MDFL (2022).It is not
necessary that a licensee act with "bad purpose or evil motive." See Willingham at l2'76.

The documents and testimony presented at the hearing support the contention that Licensee knew
and understood the requirements of the law and regulations but failed to meet those obligations
despite explicit warnings fiom ATF that continued violations could result in revocation of its
license. In addition, there were many instances wherein the Licensee complied with these
provisions in the past, demonstrating the Licensee understood its obligations under the Gun
Control Act, and Licensee is an FFL who has been in business for many years, At the conclusion
of the Government's presentation, Licensee acknowledged at the hearing it committed a "clear
violation of the Gun Control Act" by transferring a firearm to a customet more than 30 days after
the NICS check was conducted,2 Given that Licensee had been cited for precisely the same
violation in both the 2018 and 2019 inspections; had attended a warning conference after each
such inspection at which that violation was discussed; and had assured ATF during each such
conference that procedures were in place to ensure all employees adhered to the 30 day NICS
time limitation, Licensee's continued failure to comply with the law and regulations may
properly be considered purposeful disregard of or plain indifference to the GCA and its
regulations. Although Licensee attempted to lay blame for the violation on a "glitch" initsEZ
Armskeeper software program,3 no software was necessary for Licensee to determine the transfer

2
    Transcript, p. I l   l,   lines l 3-2   1.
I Transcript, p. 113, lines2l-22.

                                                     4
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was contrary to law. In fact, Licensee's employee certified, by signing in item 35 of the Form
4473, that the information on the form had been reviewed prior to transfer, and yet, despite the
"clear violation of the Gun Control Act," Licensee's employee verified the disposition was not
unlawful and transferred the firearm.

As indicated in the Notice of Revocation, ATF also previously cited Licensee for failure to
properly identify on Forms 4473 firearrns sold or transferred. The Report of Violations (ROV)
for the compliance inspections in 2018 and 2019, more specifically violation 5 on the 2018
ROV, and violation 12 on the 2019 ROV, document ATF notifying Licensee of, and educating
Licensee on, the failure to properly identify transferred firearms on Forms 4473.4 During each of
the prior inspections, ATF reviewed the specific Federal laws and regulations with the Licensee
and the Licensee signed an acknowledgment certifying such information was explained to
Licensee. The Acknowledgement also indicates any questions posed by Licensee were answered.
Further, Licensee's failure to properly identify firearms on its Forms 4473 was discussed during
each of Licensee's prior warning conferences, and Licensee was specifically advised that future
violations could result in revocation of its firearms license.s Licensee acknowledged that 66 of
its Forms 4473 contain "mistakes" related to a firearms' rnodel, manufacturer, or type.6
Licensee's only explanation was o'human error, inadvertent human error."7 Although Licensee
asserts the errors were not intentional,s as previously noted, lack of a bad purpose or evil motive
does not relieve a licensee of its obligations to comply with the law and regulations, and such
violations demonstrate purposeful disregard or plain indifference when repeated after wzrning, as
these 66 violations were,

As to the violations associated with Licensee entering its own address for that of customers in the
A&D record, it is unclear whether Licensee is asserting the record was correct at the time of the
2021 inspection or was corrected after the 2021 inspection.

As indicated in the Notice of Revocation, ATF also previously cited Licensee for A&D
violations. The ROV for the compliance inspections in 2018 and2019, more specifically
violation 14 on the 2018 ROV, for failing to include the address of the transferee; and, more
specifically violations 5, 6 and 7 on the 2019 ROV, for failing to record firearm acquisition and
disposition information to which IOI McCarthy reviewed with the FFL on how to properly
identify firearms. Licensee stated that it previously did not collect addresses for gunsmithing
customers and input them in the A&D book.e When Licensee was unable to reach the customers
to enter the information in the A&D book that day, it put in the Licensee's address in order to
complete the acquisition log.l0 Licensee also stated that it corrected the A&D discrepancies prior
to the recall inspection, however, was unable to explain why IOI McCarthy was not provided a
"corrected" record. tl Counsel for the Government questioncd Mr. Lewis about the incorrect
disposition entries. Mr. Lewis stated that the FFL had the correct entries but did not know if or

I   See    Gov't Exhibits 6 and 10,
5
    See    Gov't Exhibits 9 and 14.
6
  Transcript, pp. 120-121.
?
  Transcript, p. l2l,1.5.
8
  Transcript, p. 121,1.6.
e
  Transcript, pp. I l6- I I 8.
Io
     Id.
rrTranscript, pp. I l8-120.

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when they were provided to IOI McCarthy during the inspection. Mr. Lewis testified that
training was put in place after the 2018 compliance inspection, but still was unable to provide a
response as to why incorrect firearm information was uploaded into the electronic system. In
both ROVs, Licensee was made aware of discrepancies in the A&D book. Both inspections
resulted in a warning conference where the importance of accuracy in maintaining Licensee's
A&D was discussed. Most significantly, the law and regulations do not allow a Licensee to enter
false and incorrect information into an A&D record for later "correction." The A&D record calls
for specific information accurately recorded at the time of entry, not at some later date, whether
before or after inspection.

Licensee further acknowledged that it was cited in 2018 and 2019 with violating the GCA, and
that each inspection resulted in a Warning Conference. The documents presented clearly show
that after each inspection, the Federal firearms regulations were reviewed with Licensee, and it
was advised what corrective actions to take to comply. The documents also clearly reflect ATF's
multiple warnings to Licensee that any future violations, repeat or otherwise, could result in
revocation of its firearms license.

A federal firearms licensee has a duty to be cognizant of the rules and regulations issued by ATF
and to follow those mandates. It is apparent that Licensee, a veteran firearms business, knew of
and understood its rcsponsibilities, and was repeatedly adviscd of and periodically complied with
those responsibilities, yet was plainly indifferent to the firearms laws and regulations. ,See
Will.ingham.415 F.3d at 1277.

I find that Licensee willfully violated 18 U.S.C. $ 922(tXl) and27 CFR $ 478,102{c) when it
failed to initiate and complete a background check through the National Instant Background
Check System prior to the transfer of a firearm.

I find that Licensee witlfully violated   18   U.S.C. $ 922(bX5) and27 C.F.R. $ 478.123 when it
transferred firearms without noting in its     A&D records the place of residence of such person.

I find that Licensee willfully violated           922(m),18 U.S,C. g 92a(aX3X A),27 CFR $
                                          18 U.S.C. 5
478.121(c) and27 C.F.R. $ 478.128(c) when it made a false entry in, failed to make appropriate
entry in or failed to properly maintain the A&D records,

I find that Licensee willfully violared l8 U.S.C, $ 923(9)(1)(A) and 27 C.F.R. $ 478. fia@)G)
when it failed to properly identify firearm identification information on the ATF Forms 4473.

As such, I conclude that the Licensee willfully violated the provisions of the Gun Control Act, as
amended, and the regulations issued thereunder. Accordingly, as provided by l8 U.S.C. $ 923(e)
and27 C.F.R. * 478.73, the Federal firearms license held by Precision Tactical Arms Company,
LLC, doing business as Precision Tactical/PTAC license number 1-59-091-07-58-26145, is
hereby REVOKED.




                                                     6
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                                                                              U.S. Department of Justice

                                                                              Bureau of Alcohol, Tobacco,
                                                                              Firearms and Explosives




                                                                              l4/ashington DC

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                                        IMPORTANT NOTICB

              Selling Firearms AFTER Revocation, Expiration, or Surrender of an FFL
Former Federal Firearms licensees (FFLs) who continue to sell firearms after the revocation, expiration, or
surrender of their license are subject to the same rules as persons who have never been licensed in
determining whether they are "engaged in the business" of sclling firearms without a license in violation of
 l8 U.S.C. $ 922(a)(l)(A). Accordingly, former liccnsces who wish to dispose of any remaining business
inventory must adhere to the following guidance:

Business inventory must be disposed of by the former FFL in a manner that, objectively, does not
constitute being engaged in the business of dealing in firearms using the same facts and circumstances test
that would apply to persons who have never been licensed.

The preferred lnanner of disposition is for the former licensee to:


       '   Arrange for another FFL to purchase the business inventory (and other assets) ofthe business; or

       '   Consign the inventory to another FFL to sell on consignment, or at auction.


Should a former FFL decide against those options, he/she should be aware that future sales - whether from
his/her personal firearms collection or otherwise will be evaluated for a potential violation of l8 U.S.C. $
922(a)(l)(A), just as would occur with a person who had never been licensed.

If a fonncr FFL is disposing of business inventory, the fact that no purchases are made after the date of license
revocation, expiration, or surrendcr does not immunize him/her from potential violations of 18 U.S.C. S
922(a)(l)(A). lnstead, business inventory acquired through repetitive purchases while licensed are attributed
to the former FFL when evaluating whether subsequent sales constitute engaging in the business of dealing in
firearms without a license.

ATF remains committed to assisting former Iicensees in complying with Federal firearms laws. If you have
questions, please conlact your local ATF office.



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                                            G IL B   E   RT ?::f,3"':;tr"3'
                                               Curtis Gilbert
                              Deputy Assistant Director (lndustry Operations)
                                             Field Operations
Case 3:23-cv-07752-TKW-HTC Document 1 Filed 04/06/23 Page 99 of 108




                  EXHIBIT                    G
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    Subject: Re: Precision Tactical Arms Company,     LLC; Extension Request
    Date:       Monday, March 20,2023atL!tL7:L3 AM Eastern DaylightTime
    From:       MichaelTruman
    To:         Gerber, Aaron R. (ATF)
    CC:         Husselbaugh, Eileen L. (ATF), Woodlift, Andrew A. (ATF), Easterling, Kimberly S. {ATF), Freyermuth,
                Amy L. (ATF)

Good afternoon Director Gerber,

Thank you very much for granting the stay request and for your quick response.

ln regards not acquiring new firearms, the Licensee will certainly comply with this condition. However, ljust
want to clariff the timing of the prohibition as it pertains to the original Final Notice and a potential updated
Final Notice. As the original Final Notice allowed the Licensee to operate for 15 days with no conditions, the
License did acquire/order firearms after March 10 (the day it received the Final Notice). Thus, the Licensee
would need the prohibition on acquiring new inventory not already ordered to begin today rather than the
original Final Notice date (issued 3f7, received by the License on 3/10). Can you please confirm this is ok?

Thank you again,



MichaelA. Truman
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                   EXHIBTT                    H
     Case 3:23-cv-07752-TKW-HTC Document 1 Filed 04/06/23 Page 102 of 108




Subject: Re: Precision TacticalArms Company,     LLC; Extension Request

Date:      Monday, March 2A,2023 at4;05:34 PM Eastern DaylightTime
From:      MichaelTruman
To:        Freyermuth, Amy L. (ATF)
CC:        Husselbaugh, Eileen L. (ATF), Woodliff, Andrew A. (ATF), Easterling, Kimberly S. (ATF), Gerber, Aaron
           R. (ArF)


Ms. Freyermuth,

I have obtained the requested information from the Licensee.

Since March 10th, the Licensee acquired 1t firearms in its A&D Record. 8 of these were transfer firearms"
facilitating sales from Gun Broker or other private party transactions. 3 were firearms received from specific
customer orders for a firearm (i.e. the Licensee orders a specific firearm at the customer's request). The
Licensee has 2 firearms on order that were submitted after March 10th. These are also customer orders for
specific firearms. The Licensee advised that these orders are usually received in just a couple of days and are
expected to be received and transferred before the original revocation effective date of March 25th.

ln accordance with Director Gerber's instructions, I have advised the Licensee to not acquire any additional
firearms unless they were ordered prior to today. Also as indicated in my original request to Director Gerber,
the Licensee will not submit any new NFA transfers to a non-licensee during this stay period,

lf any further information is required or you would like to speak with my directly, please feel free to call my
direct number which is 614-502-7653.

Regards,




MichaelA. Truman
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I : https ://nnudfislsgrou   p-.ca!n


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From: Michael Tru man <m i chael @m u nitio nsgroup.com>
Date: Monday, March 20,2023 at 1:39 PM
To : Freye rm uth, Amy L. (ATF) <Amy. Freye rmut h @atf.gov>
Cc: Husselbaugh, Eileen L. (ATF)<Eileen.Husselbaugh@atf.gov>, Woodlifi Andrew A. (ATF)
<Andrew.Woodliff@atf.gov>, Easterling, Kimberly S. (ATF)<Kimberly.Easterling@atf.gov>, Gerber,
Aa ron R. (ATF) <Aaron.Gerber@atf.gov>
           Case 3:23-cv-07752-TKW-HTC Document 1 Filed 04/06/23 Page 103 of 108




Subject: Re: Precision TacticalArms Company, LLC; Extension Request

Good afternoon Ms. Freyermuth,

I atternpted to reach you but for some reason it did not go to your voicemail. Do you have a couple of
minutes to briefly discuss via telephone? lf so, please feel free to call my direct number which is 6L4-5O2-
7553.

Best regards,



MichaelA. Truman
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From : Freyerm uth, Amy L. (ATF) <Amy. Freyerm uth @ atf. gov>
Date: Monday, March 20,2023 at 11:58 AM
To: MichaelTruman <michael@munitionsgroup.com>, Gerber, Aaron R. (ATF)<Aaron.Gerber@atf.gov>
Cc: Husselbaugh, Eileen L. (ATF)<Eileen.Husselbaugh@atf.gov>, Woodlifi Andrew A. (ATF)
<Andrew.Woodliff@atf.gov>, Easterling, Kimberly S. (ATF) <Kimberly.Easterling@atf.gov>
Subject: RE: Precision TacticalArms Company, LLC; Extension Request

Mr. Truman,

From reading your email below, I just need some clarification. Can you explain the nature of the
acquisitions/orders that the Licensee placed after he received the Final Notice on March 10th? How
many firearms did the Licensee acquire/order?

Thanks.

Very Respectfully,
Amy Freyermuth
TFD Division Counsel
Office: (8L31202-74LL
Cell: (215)450-8378
Amyfteyemuth@allgov

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                   EXHTBIT                    I
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Subject   RE: Precision TacticalArms Company, LLC; Extension Request
Date:     Tuesday, March 21,2023 at 3:39:55 PM Eastern Daylight Time
From:     Gerber, Aaron R. (ATF)
To:       MlchaelTruman, Freyermuth, Amy      L. (ATF)
CC:       Husselbaugh, Eileen L. (ATF), Woodliff, Andrew A. (ATF), Easterling, Kimberly S. (ATF)

Good Afternoon, Attorney Truman

f'm going to retract the originat stay concluding May 9th and change it to concluding April gth,zCI23,which is
3O-days to conclude operations. Same conditions    will apply.

Thank you,

Aaron


Aoron Gerber
Directot lndustry Operotions
Tompo Field Division
813-202-7306
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                   EXHIBIT J
Case 3:23-cv-07752-TKW-HTC Document 1 Filed 04/06/23 Page 108 of 108




                               AFFIDAVIT OF LUKE COLDIRON

srArE oF          *do/     o
                                       SS


COLTNTY OF         /o 1"4
NOW COMES the Affiant and after being cautioned and duly sworn does state the following

    1.   My name is Luke Coldiron, and the following statements are made upon my personal
         knowledge and belief.

   2.    I am over the age of 18 and of sound mind and memory in making this Affidavit.

   3.    I am the owner and software developer for EZ Arms Keeper

   4.    EZ Arms Keeper is ATF compliance software which consists of an electronic A&D
         Record and e4473 platform.

   5. As part of its e4473 platform, EZ Arms Keeper is designed  to prevent transfers of
         firearms in which NICS was contacted more than 30 days before the transfer date.

   6.     ln September2022,1 spoke with Andrew McEntire of Precision TacticalArms
         Company, and he said that EZ Arms Keeper allowed a transfer where NICS was
         contacted more than 30 days before the transfer.

   7.    I subsequently reviewed the software and discovered it was not functioning as intended
         and did allow transfers even if NICS was contacted more than 30 days befbre the transfbr
         date.

   8.    On September 24,2A22,1 issued a patch to Andrew McEntire to fix the issue and ensure
         thatBZ Arms Keeper would not allow a firearm to be transferred more than 30 days after
         NICS was contacted.

Further I sq)eth Naught.



     Coldiron

         Sworn and subscribed in m           thisJanuary,   Zl ,ron
         Public
                           KARA SCHMIDT
                           Notary Publlc
                           5t.tO of ldrho
                    eommlrllon No, 20214912
